19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 1 of
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  FKDSWHU  FDVHV VXEPLWV LWV )LUVW ,QWHULP $SSOLFDWLRQ IRU $OORZDQFH RI &RPSHQVDWLRQ IRU

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  UHTXHVWV L DSSURYDORIIHHVHDUQHGLQWKHDPRXQWRIDQGH[SHQVHVLQFXUUHGLQWKH

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19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 2 of
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  Order Establishing Procedures for Interim Monthly Compensation and Reimbursement of

  Expenses of Professionals>'RF@ WKH³&RPSHQVDWLRQ3URFHGXUHV2UGHU´ LQWKHDPRXQW

  RI  DQG E  WKH DPRXQWV UHTXHVWHG LQ WKH 0RQWKO\ )HH 6WDWHPHQWV SUHSDUHG LQ

  DFFRUGDQFH ZLWK WKH &RPSHQVDWLRQ 3URFHGXUHV 2UGHU EXW QRW UHFHLYHG IURP WKH 'HEWRUV RU

  DSSOLHG IURP WKH UHWDLQHU DV RI WKH ILOLQJ RI WKLV $SSOLFDWLRQ LQ WKH DPRXQW RI  $V

  GHWDLOHG KHUHLQ DQG VXPPDUL]HG LQ WKH )HH $SSOLFDWLRQ 6XPPDU\ FUHDWHG SXUVXDQW WR 5XOH

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      LQKRXVHDQGE\RXWVLGHVHUYLFHV SRVWDJHGHOLYHU\WUDYHOH[SHQVHVDQGILOLQJIHHV$VVWDWHG

  DERYHFRSLHVRIDOOUHFHLSWVUHODWLQJWRRXWVLGHRUWKLUGSDUW\H[SHQVHVLQH[FHVVRIZLOO

  EH PDGH DYDLODEOH XSRQ UHTXHVW  3XUVXDQW WR WKH 5HWHQWLRQ 2UGHU DQG VXEMHFW WR %DQNUXSWF\

  &RXUWDSSURYDO:DOOHULVHQWLWOHGWRUHLPEXUVHPHQWRIDFWXDODQGQHFHVVDU\H[SHQVHVLQFXUUHGLQ

  WKHUHQGLWLRQRILWVVHUYLFHVWRWKH'HEWRUV,QH[SODQDWLRQRIFHUWDLQH[SHQVHFDWHJRULHV:DOOHU

  VWDWHVDVIROORZV

            D      &RS\LQJ:DOOHUFKDUJHVFHQWVSHUSDJHIRUSKRWRFRS\LQJDQGFHQWV
                     SHUSDJHIRUFRORUSKRWRFRS\LQJ7KHFKDUJHLVUHDVRQDEOHLQYLHZRIWKH
                     IDFWWKDW L WKHUDWHLVWKHVDPHUDWHFKDUJHGE\:DOOHUWRRWKHUFOLHQWVDQG
                      LL  WKH FOHUN RI WKLV &RXUW FKDUJHV  FHQWV SHU SDJH QRW LQFOXGLQJ
                     FHUWLILFDWLRQIRUFRSLHV
  
            E      &RPSXWHU 5HVHDUFK  &KDUJHV IRU XVH RI :HVWODZ DQG RWKHU RQOLQH
                     UHVHDUFKWRROVDUHFKDUJHGRQO\WRFOLHQWVZKRVHVLWXDWLRQUHTXLUHWKHXVH
                     RIVXFKWRROVWKXVUHGXFLQJFRVWVWRWKHFOLHQWVDVPXFKDVSRVVLEOH7KRVH
                     RQOLQH VHUYLFHV DUH LQYDOXDEOH IRU XSWRGDWH UHVHDUFK DOORZLQJ UDSLG
                     DFFHVV WR QXPHURXV UHVRXUFHVWKDW PLJKW RWKHUZLVH EH GLIILFXOWWR REWDLQ


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                     7KH FKDUJHV WR FOLHQWV LV WKH VDPH DV WKDW FKDUJHG WR :DOOHU E\ WKH
                     SURYLGHURIWKHVHUYLFHV
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           F       'HOLYHU\6HUYLFHV2QRFFDVLRQRYHUQLJKWRUKDQGGHOLYHU\RIGRFXPHQWV
                     DQGRWKHUPDWHULDOVLVUHTXLUHGWRH[SHGLWHUHFHLSWRIFULWLFDOGRFXPHQWVRU
                     LQIRUPDWLRQ  6LQFH PDQ\ FOLHQWV GR QRW UHTXLUH VXFK H[SHGLWHG VHUYLFH
                     :DOOHU ELOOV VXFK VHUYLFHV GLUHFWO\ WR WKH FOLHQW QHHGLQJ WKHP LQVWHDG RI
                     LQFOXGLQJWKHVHUYLFHVDVDFRPSRQHQWRIKRXUO\UDWHV:DOOHUFKDUJHVWKH
                     FOLHQWWKHFRVWRIVXFKVHUYLFH7KHUHLVQRFKDUJHZKHQDQHPSOR\HHRI
                     :DOOHUKDQGGHOLYHUVSDFNDJHVDSURFHGXUHZKLFKLVHPSOR\HGZKHQHYHU
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                 :DOOHU KDV PDGH HYHU\ HIIRUW WR PLQLPL]H LWV GLVEXUVHPHQWV LQ WKLV FDVH  7KH

  H[SHQVHVLQFXUUHGLQWKHUHQGLWLRQRISURIHVVLRQDOVHUYLFHVDUHQHFHVVDU\UHDVRQDEOHDQGMXVWLILHG

  XQGHUWKHFLUFXPVWDQFHVWRVHUYHWKHQHHGVRIWKH'HEWRUVWKHLUHVWDWHVDQGFUHGLWRUV

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                 3XUVXDQW WR VHFWLRQ  RI WKH %DQNUXSWF\ &RGH WKLV &RXUW PD\ DZDUG WR

  SURIHVVLRQDOSHUVRQVHPSOR\HGXQGHUVHFWLRQUHDVRQDEOHFRPSHQVDWLRQIRUDFWXDOQHFHVVDU\

  VHUYLFHVUHQGHUHGDQGUHLPEXUVHPHQWIRUDFWXDOQHFHVVDU\H[SHQVHVLQFXUUHG

                 7KH)LIWK&LUFXLWKDV³PDGHFOHDUWKDWWKHORGHVWDUJohnsonIDFWRUVDQG>RI

  WKH %DQNUXSWF\ &RGH@ FRDOHVFH>@ WR IRUP WKH IUDPHZRUN WKDW UHJXODWHV WKH FRPSHQVDWLRQ RI

  SURIHVVLRQDOVHPSOR\HGE\WKHEDQNUXSWF\HVWDWH´In re Pilgrim’s Pride)G WK

  &LU 

                 ³8QGHUWKLVIUDPHZRUNEDQNUXSWF\FRXUWVPXVWILUVWFDOFXODWHWKHDPRXQWRIWKH

  ORGHVWDU´Id7RDSSO\WKHORGHVWDUDSSURDFKWKH&RXUWGHWHUPLQHVDUHDVRQDEOHDWWRUQH\IHHLQ

  D FDVH E\ PXOWLSO\LQJ WKH QXPEHU RI KRXUV H[SHQGHG E\ DQ KRXUO\ UDWH  Pennsylvania v.

  Delaware Valley Citizens’ Counsel for Clean Air86  

                 $IWHUFDOFXODWLQJWKHORGHVWDUWKH&RXUW³WKHQPD\DGMXVWWKHORGHVWDUXSRUGRZQ

  EDVHG RQ WKH IDFWRUV FRQWDLQHG LQ   DQG >LWV@ FRQVLGHUDWLRQ RI WKH WZHOYH IDFWRUV OLVWHG LQ




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  Johnson´Pilgrim’s Pride)GDW TXRWLQJIn re Cahill)G WK&LU

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                 6HFWLRQRIWKH%DQNUXSWF\&RGHLQVWUXFWVWKH&RXUWWR³WDN>H@LQWRDFFRXQWDOO

  UHOHYDQWIDFWRUVLQFOXGLQJ²

           D       7KHWLPHVSHQWRQVXFKVHUYLFHV

           E       7KHUDWHVFKDUJHGIRUVXFKVHUYLFHV

           F  :KHWKHUWKHVHUYLFHVZHUHQHFHVVDU\WRWKHDGPLQLVWUDWLRQRIRUEHQHILFLDODWWKH
                WLPH DW ZKLFK WKH VHUYLFH ZDV UHQGHUHG WRZDUG WKH FRPSOHWLRQ RI D FDVH XQGHU
                WKLVWLWOH
                
         G    :KHWKHU WKH VHUYLFHV ZHUH SHUIRUPHG ZLWKLQ D UHDVRQDEOH DPRXQW RI WLPH
                FRPPHQVXUDWHZLWKWKHFRPSOH[LW\LPSRUWDQFHDQGQDWXUHRIWKHSUREOHPLVVXH
                RUWDVNDGGUHVVHG
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         H    :LWK UHVSHFW WR D SURIHVVLRQDO SHUVRQ ZKHWKHU WKH SHUVRQ LV ERDUG FHUWLILHG RU
                RWKHUZLVHKDVGHPRQVWUDWHGVNLOODQGH[SHULHQFHLQWKHEDQNUXSWF\ILHOGDQG
                
         I    :KHWKHU WKH FRPSHQVDWLRQ LV UHDVRQDEOH EDVHG RQ WKH FXVWRPDU\ FRPSHQVDWLRQ
                FKDUJHG E\ FRPSDUDEO\ VNLOOHG SUDFWLWLRQHUV LQ FDVHV RWKHU WKDQ FDVHV XQGHU WKLV
                WLWOH
                
  Pilgrim’s Pride)GDW TXRWLQJ86& D  

                 7KHWZHOYHJohnsonIDFWRUVLQFOXGHWKHWLPHDQGODERUUHTXLUHGWKHQRYHOW\DQG

  GLIILFXOW\RIWKHTXHVWLRQVWKHVNLOOUHTXLVLWHWRSHUIRUPWKHOHJDOVHUYLFHSURSHUO\WKHSUHFOXVLRQ

  RIRWKHUHPSOR\PHQWE\WKHDWWRUQH\GXHWRDFFHSWDQFHRIWKHFDVHWKHFXVWRPDU\IHHZKHWKHU

  WKH IHH LV IL[HG RU FRQWLQJHQW WLPH OLPLWDWLRQV LPSRVHG E\ WKH FOLHQW RU FLUFXPVWDQFHV WKH

  DPRXQWLQYROYHGDQGWKHUHVXOWVREWDLQHGWKHH[SHULHQFHUHSXWDWLRQDQGDELOLW\RIWKHDWWRUQH\V

  WKH XQGHVLUDELOLW\ RI WKH FDVH WKH QDWXUH DQG OHQJWK RI WKH SURIHVVLRQ RI UHODWLRQVKLS ZLWK WKH

  FOLHQW DQG DZDUGV LQ VLPLODU FDVHV  See Johnson v. Georgia Highway Express, Inc.  )G

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                 8QGHU HDFK RI WKH JXLGHOLQHV :DOOHU VXEPLWV WKH IHHV UHTXHVWHG KHUHLQ DUH IDLU

  DQGUHDVRQDEOH

                                     $33/,&$7,212)*8,'(/,1(6

                 $VUHTXLUHGE\WKHILUVWVWHSRIWKHWZRVWHSDQDO\VLVLPSRVHGE\VHFWLRQ D  

  DQDO\VLV DOO VHUYLFHV UHQGHUHG LQ WKLV FDVH E\ :DOOHU ZHUH QHFHVVDU\ DQG DSSURSULDWH  7KH

  DFWLRQVWDNHQE\:DOOHUZHUHHVVHQWLDOWRSUHVHUYLQJWKHYDOXHRIWKHDVVHWVIRUWKHHVWDWHDQGLQ

  DWWHPSWLQJWRHIIHFWDUHRUJDQL]DWLRQIRUWKHEHQHILWRIDOOFUHGLWRUV

                 /LNHZLVHZLWKUHVSHFWWRWKHVHFRQGVWHSRIWKHDQDO\VLVWKHFRPSHQVDWLRQVRXJKW

  E\:DOOHULVFRPSHWLWLYH:DOOHUSULPDULO\FRPPLWWHGWKHEDQNUXSWF\H[SHUWLVHRISDUWQHUV(ULF

  -7DXEH0DUN&7D\ORUDQGDVVRFLDWH(YDQ-$WNLQVRQZKRGXULQJWKH$SSOLFDWLRQSHULRG

  ZRUNHG FORVHO\ ZLWK WKH 'HEWRUV WR FRQWURO IHHV DQG H[SHQVHV UHODWHG WR WKHVH EDQNUXSWF\

  SURFHHGLQJV E\ ZRUNLQJ WR UHVROYH LVVXHV E\ DJUHHPHQW  :DOOHUDOVR H[WHQVLYHO\ XWLOL]HG QRQ

  ELOOLQJ SHUVRQQHO WR SURYLGH WKH DWWRUQH\V ZLWK VXSSRUW  0DQ\ VHUYLFHV UHQGHUHG E\ :DOOHU¶V

  QRQELOOLQJ SHUVRQQHO DUH UHJXODUO\ DOORZHG DV SDUDOHJDO VHUYLFHV LQ VLPLODU UHSUHVHQWDWLRQV

  :DOOHU¶VVWDIILQJGHFLVLRQVUHVXOWHGLQHIILFLHQWFDVHPDQDJHPHQW7KHLVVXHVLQWKLVEDQNUXSWF\

  FDVHKDYHEHHQDGGUHVVHGSURPSWO\SURSHUO\DQGZLWKQRGXSOLFDWLRQ

                 8QGHUWKHORGHVWDUPHWKRGLQDJJUHJDWH:DOOHUUHQGHUHGKRXUVRIVHUYLFH

  DWDQRYHUDOOEOHQGHGKRXUO\UDWHRI7KHRYHUDOOEOHQGHGKRXUO\UDWHLVKLJKHUWKDQWKH

  UDWH UHFRPPHQGHG LQ WKLV GLVWULFW EHFDXVH :DOOHU GLG QRW OD\HU WKLV UHSUHVHQWDWLRQ ZLWK

  XQQHFHVVDU\SDUDOHJDODQGMXQLRUDWWRUQH\VWRORZHUWKHDYHUDJH+RZHYHUVXFKKRXUO\UDWHLV

  VLJQLILFDQWO\ORZHUWKDQWKHKRXUO\UDWHQRUPDOO\FKDUJHGIRUFDVHVRIWKLVVL]HDQGFRPSOH[LW\

  7KHLVVXHVLQWKLVFDVHKDYHEHHQDGGUHVVHGE\GUDZLQJRQWKHH[SHUWLVHRI0U7DXEHDQG0U

  7D\ORUQRWE\H[WHQVLYHKRXUVLQDOLEUDU\RUOLWLJDWLQJ




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                                     of 138



                 7KH WZHOYH Johnson IDFWRUV DOVR VXSSRUW DSSURYDO RI WKH IHHV UHTXHVWHG LQ WKLV

  FDVH

                     D       7LPHDQG/DERU5HTXLUHG:DOOHUH[SHQGHGKRXUVWRUHSUHVHQWWKH

  'HEWRUV LQ WKH $SSOLFDWLRQ 3HULRG  $SSOLFDQW DWWHPSWHG WR DYRLG RYHUODS DQG OD\HULQJ RI

  DWWRUQH\VDQGVRXJKWWRDVVLJQPDWWHUVWRDVVRFLDWHVRUWRSDUDOHJDODQGRWKHUVXSSRUWVWDIIZKHUH

  SRVVLEOH

                     E       1RYHOW\ DQG 'LIILFXOW\ RI WKH 4XHVWLRQV  5HSUHVHQWDWLRQ RI WKH 'HEWRUV

  DQG WKH VL]H RI WKLV EDQNUXSWF\ FDVH LQYROYHG GLIILFXOW LVVXHV DQG QHJRWLDWLRQV ZLWK PDQ\

  GLIIHUHQWSDUWLHV

                     F       6NLOO 5HTXLUHG  7KLV FDVH UHTXLUHV D KLJK DPRXQW RI VNLOO EHFDXVH RI LWV

  VL]H VSHHG DQG WKH QHHG WR DPRQJ RWKHU WKLQJV QHJRWLDWH D YDULHW\ RI FRPSOLFDWHG LVVXHV WKDW

  DURVHZLWKODQGORUGVFUHGLWRUVDQGWKHIUDQFKLVRUV

                     G       3UHFOXVLRQ RI 2WKHU (PSOR\PHQW  7KLV UHSUHVHQWDWLRQ KDV QRW FDXVHG

  VLJQLILFDQWGLVORFDWLRQRUSUHFOXVLRQRIRWKHUHPSOR\PHQWE\:DOOHU

                     H       &XVWRPDU\ )HH  ,I WKLV FDVH ZHUH QRW RQH XQGHU WKH %DQNUXSWF\ &RGH

  :DOOHU ZRXOG FKDUJH WKH 'HEWRU DQG H[SHFW WR UHFHLYH RQ D FXUUHQW EDVLV DQ DPRXQW DW OHDVW

  HTXDOWRWKHDPRXQWVKHUHLQUHTXHVWHGIRUWKHSURIHVVLRQDOVHUYLFHVUHQGHUHG:DOOHUUHSUHVHQWV

  DQGZRXOGGHPRQVWUDWHWKDWWKHIHHVDUHFRPSHWLWLYHIRUWKLVUHJLRQDQGFXVWRPDU\IRUWKHGHJUHH

  RIVNLOODQGH[SHUWLVHUHTXLUHGLQWKHUHSUHVHQWDWLRQRI'HEWRUE\RWKHUH[SHULHQFHGEDQNUXSWF\

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                     J       7LPH/LPLWDWLRQV7LPHOLPLWDWLRQZDVQRWDVLJQLILFDQWIDFWRU

                     K       $PRXQWV DQG 5HVXOWV  :DOOHU DVVLVWHG WKH 'HEWRUV LQ SUHVHUYLQJ WKH

  'HEWRUV¶DVVHWVPDLQWDLQLQJWKHRSHUDWLRQVRIWKH'HEWRUVQHJRWLDWLQJDQGREWDLQLQJXVHRIFDVK

  FROODWHUDODQGGHEWRULQSRVVHVVLRQILQDQFLQJDQGHVWDEOLVKLQJWKHVDOHSURFHVV:DOOHUKDVDOVR

  EHHQ ZRUNLQJ FORVHO\ ZLWK WKH &RPPLWWHH DQG ZKHQ DSSURSULDWH WKH IUDQFKLVRUV WR HQVXUH DQ

  HIILFLHQW UHVROXWLRQ RI WKH FDVHV  $V GLVFXVVHG DERYH WKH )LUP KDV DVVLVWHG WKH 'HEWRUV LQ

  UHGXFLQJWKHQXPEHURIVWRUHVDQGUHGXFLQJFRVWV

                     L       ([SHULHQFH5HSXWDWLRQDQG$ELOLW\0U7DXEHDQG0U7D\ORUDUHKLJKO\

  H[SHULHQFHGLQFUHGLWRUV¶ULJKWVDQGGHEWRUSURWHFWLRQZRUNDQGKDYHEHHQDFWLYHO\LQYROYHGLQ

  PDQ\EDQNUXSWF\FDVHVLQWKH:HVWHUQ'LVWULFWRI7H[DVDQGHOVHZKHUH7KHDWWRUQH\VDW:DOOHU

  HQMR\ D UHSXWDWLRQ DV SURYLGLQJ TXDOLW\ OHJDO VHUYLFHV ZLWKRXW LQHIILFLHQFLHV DQG GXSOLFDWLRQV

  ZKLFKRFFDVLRQDOO\RFFXULQUHSUHVHQWDWLRQVE\ODUJHUIXOOVHUYLFHILUPV

                     M       8QGHVLUDELOLW\RIWKH&DVH7KHUHDUHQRSDUWLFXODUXQGHVLUDEOHIHDWXUHVRI

  WKLVFDVH

                     N       5HODWLRQVKLSZLWK&OLHQW:DOOHUKDGQRSUHH[LVWLQJUHODWLRQVKLSZLWKWKH

  'HEWRUV XQWLO VHOHFWHG E\ LW IRU SUHSHWLWLRQ FRQVXOWDWLRQ RQ GHEW UHVWUXFWXULQJ DQG EDQNUXSWF\

  7KH'HEWRUVFKRVH:DOOHUEHFDXVHRILWVUHSXWDWLRQLQPDWWHUVRIWKLVW\SH

                     O       $ZDUGVLQ6LPLODU&DVHV7KHFRPSHQVDWLRQVRXJKWE\:DOOHULVWKLVFDVH

  LVWKHFRPPHQVXUDWHUDWHVVRXJKWE\SURIHVVLRQDOVLQRWKHUFDVHVLQWKLVGLVWULFW

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            )RUWKHIRUHJRLQJUHDVRQV:DOOHUUHTXHVWVDSSURYDORIWKHIHHVDQGH[SHQVHVDVVHWIRUWK

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                                                        Attorneys for the Debtors and
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  WKHDERYHFDSWLRQHGGHEWRUVDQGGHEWRUVLQSRVVHVVLRQ WKH³'HEWRUV´ LQWKHDERYHFDSWLRQHG

  FKDSWHU  FDVHV VXEPLWV LWV 6XPPDU\ IRU LWV )LUVW ,QWHULP $SSOLFDWLRQ IRU $OORZDQFH RI

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19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 15
                                     of 138



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           %       5HTXHVWLQJ $SSOLFDQW)LUP  :DOOHU LV WKH 'HEWRUV¶ FRXQVHO LQ WKH EDQNUXSWF\
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                     SHUSDJHIRUSKRWRFRS\LQJFHQWVSHUSDJHIRUFRORUSKRWRFRS\LQJDQGDFWXDO
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           ,       $PRXQW $OORFDWHG IRU 3UHSDUDWLRQ RI WKLV )HH $SSOLFDWLRQ :DOOHU KDV QRW
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                     $V DXWKRUL]HG E\ WKH Order Establishing Procedures for Interim Monthly
                     Compensation and Reimbursement of Expenses of Professionals >'RF @
                     ZKLFKDXWKRUL]HVWKHSD\PHQWE\SD\PHQWIURPWKH'HEWRUVRUIURPWKH5HWDLQHU
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19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 16
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                     DSSOLFDWLRQ IURP WKH 5HWDLQHU   LQ IHHV DQG  LQ H[SHQVHV
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                               &UHGLWRUV

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                               RI FULWLFDO YHQGRUV FRQWLQXDWLRQ RI XWLOLW\ VHUYLFHV DQG SD\PHQW RI
                               SUHSHWLWLRQ DPRXQWV GXH WR HPSOR\HHV DQG RWKHU PDWWHUV UHODWHG WR WKH
                               RSHUDWLRQ RI WKH 'HEWRU¶V EXVLQHVV :DOOHU KDV H[SHQGHG  KRXUV
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19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 17
                                     of 138



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                               VWDWHPHQWVRIILQDQFLDODIIDLUVDQGVFKHGXOHVSUHSDUDWLRQRIGRFXPHQWVIRU
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                               FRQWDFWV ZLWK WKH 8QLWHG 6WDWHV 7UXVWHH DQG DGGUHVVLQJ JHQHUDO FUHGLWRU
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                               RQ SUHSDUDWLRQV RI HPSOR\PHQW DQG IHH DSSOLFDWLRQV IRU VHOI RU RWKHUV
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                                                        Attorneys for the Debtors and
                                                        Debtors in Possession
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                                                    /s/ Mark C. Taylor
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  IT IS HEREBY ADJUDGED and DECREED         that the
  below described is SO ORDERED.         
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  Dated: June 25, 2019.                  
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                                                   __________________________________
                                                              TONY M. DAVIS
                                                  UNITED   STATES  BANKRUPTCY JUDGE
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  QRWLFHRIWKH$SSOLFDWLRQDQGWKHRSSRUWXQLW\IRUDKHDULQJRQWKH$SSOLFDWLRQZDVDSSURSULDWH

  XQGHU WKH SDUWLFXODU FLUFXPVWDQFHV DQG WKH &RXUW KDYLQJ UHYLHZHG WKH $SSOLFDWLRQ DQG KDYLQJ

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  UHDVRQDEOH HIIRUW WR FRPSO\ ZLWK WKH Guidelines for Reviewing Applications for Compensation

  and Reimbursement of Expenses Filed under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11

  Cases Effective as of November 1, 2013 WKH³Revised UST Guidelines´ 

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  Tajay Restaurants Inc.                                                        July 16, 2019
  17774 Preston Rd.                                                             Invoice 10725035
  Dallas, TX 75252                                                              Page 1
                                                                                Bill Through 06/30/19
                                                                                Billing Atty: E. Taube




  Our Matter#     036718.97148

                  Bankruptcy - Chapter 11



 05/19/19       Review motions and orders for first day hearings
                Taylor, Mark C.                                CB13           0.30 hrs.            $171.00

 05/19/19       Review and revise application to employ
                Taylor, Mark C.                                   CB15        0.10 hrs.             $ 57.00

 05/19/19       Draft and revise customer program motion
                Atkinson, Evan J                                  CB12        0.50 hrs.           $ 135.00

 05/19/19       Revise Mastodon retention application
                Atkinson, Evan J                                  CB13        0.10 hrs.             $ 27.00

 05/19/19       Revise Harney retention application
                Atkinson, Evan J                                  CB15        0.10 hrs.             $ 27.00

 05/19/19       Revise Waller retention application
                Atkinson, Evan J                                  CB15        0.10 hrs.             $ 27.00

 05/19/19       Revise omnibus motion to assume/reject leases and franchise
                agreements
                Atkinson, Evan J                             CB12             0.10 hrs.             $ 27.00

 05/20/19       Prepare for and attend first day hearings
                Taylor, Mark C.                                   CB13        1.50 hrs.           $ 855.00

 05/20/19       Confer with U.S. Trustee
                Taylor, Mark C.                                   CB13        0.20 hrs.           $ 114.00

 05/20/19       Meetings with F. White and 0. Misleh
                Taylor, Mark C.                                   CB13        0.50 hrs.           $ 285.00

 05/20/19       Revise orders
                Taylor, Mark C.                                   CB13        0.30 hrs.           $171.00

 05/20/19       Revise joint administration order
                Atkinson, Evan J                                  CB12        0.10 hrs.            $ 27.00


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                                WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036718.97148                                                                     July 16, 2019
   Invoice# 10725035                                                                                  Page 2


  05/20/19    Revise omnibus motion to rejecVassume leases and franchise
              agreements
              Atkinson, Evan J                            CB12                  0.40 hrs.           $ 108.00

  05/20/19    Revise interim cash management order
              Atkinson, Evan J                                 CB12             0.10 hrs.            $ 27.00

  05/20/19    Attend first day hearings
              Nix, William R.                                  CB12             1.00 hrs.           $ 330.00

  05/21/19    Revise first day orders
              Taylor, Mark C.                                  CB12             0.10 hrs.            $ 57.00

 05/21/19     Emails with J. Rose
              Taylor, Mark C.                                 CB12              0.1 O hrs.           $ 57.00

 05/21/19     Review cash collateral motion and order and analysis of lien issue
              Taylor, Mark C.                               CB12               0.20 hrs.            $114.00

 05/21/19     Emails with D. Misleh re: leases, critical vendor and cash management
              issues
              Taylor, Mark C.                                   CB12           0.20 hrs.            $114.00

 05/21/19     Emails with counsel for Mclane
              Taylor, Mark C.                                 CB12              0.1 O hrs.           $ 57.00

 05/21/19     Emails with E. White re: vendors
              Taylor, Mark C.                                 CB12              0.10hrs.             $ 57.00

 05/21/19     Emails with counsel for Mclane
              Taylor, Mark C.                                 CB12              0.10hrs.             $ 57.00

 05/21/19     Emails with E. White and client re: employee and critical vendor issues
              Taylor, Mark C.                                CB12               0.20 hrs.           $114.00

 05/21/19     Review proposed critical vendors
              Atkinson, Evan J                                CB13              0.20 hrs.            $ 54.00

 05/21/19     Revise omnibus motion to rejecVassume leases and franchise
              agreements
              Atkinson, Evan J                            CB13                  0.40 hrs.          $ 108.00

 05/22/19     Confer and correspond with S. Savala and E. White re: preparation of
              schedules and statements of financial affairs for the debtors
              Burke, Cleve R.                                  CB12           0.10 hrs.              $ 39.50

 05/22/19    Attend strategy and status meeting with E. Taube, M. Taylor, T. Nix, and
             E. Atkinson
             Burke, Cleve R.                                CB12              0.30 hrs.            $118.50

 05/22/19    Review and respond to email from interested party re: purchase of
             franchise stores
             Taube, Eric J.                                CB12              0.10 hrs.              $ 66.50




                                                                                             EXHIBIT C-1
                                                                                             Page 5 of 53
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 30
                                     of 138
                         WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036718.97148                                                                    July 16, 2019
   Invoice # 10725035                                                                                Page 3


  05/22/19    Email to R. Hersch re: interested party in purchase of franchise stores
              Taube,EricJ.                                     CB12              0.10hrs.           $ 66.50

  05/22/19    Review response from R. Hersch re: party interested in franchise stores
              purchase
              Taube,EricJ.                                   CB12              0.10hrs.             $ 66.50

  05/22/19    Review emails with counsel for Mclane re: critical vendor motion and
              modifications to same
              Taube, Eric J.                                  CB13             0.30 hrs.           $ 199.50

  05/22/19    Review motion for expedited hearing
              Taube, Eric J.                                  CB13              0.10 hrs.           $ 66.50

  05/22/19    Conference re: schedules and statement of financial affairs
              Taube, Eric J.                                CB 13               0.10 hrs.           $ 66.50

  05/22/19    Conference re: response to information for IDC
              Taube,EricJ.                                   CB13               0.10hrs.            $ 66.50

  05/22/19    Attention to motion for assumption and rejection of leases and
              independent franchise agreements
              Taube, Eric J.                                  CB13              0.20 hrs.          $ 133.00

  05/22/19    Email to R. Hersch re: communication with LJS on franchise and lease
              assumption
              Taube, Eric J.                                CB13             0.20 hrs.             $ 133.00

 05/22/19     Review and respond to email from 0. Misleh re: communication with
              creditors
              Taube,EricJ.                                  CB13            0.10hrs.                $ 66.50

 05/22/19     Conference re: motion to honor customer promotion agreements
              Taube, Eric J.                               CB 13           0.10 hrs.                $ 66.50

 05/22/19     Emails with counsel for Mclane
              Taylor, Mark C.                                 CB12             0.10 hrs.            $ 57.00

 05/22/19     Finalize critical vendor motion
              Taylor, Mark C.                                 CB12             0.10hrs.             $ 57.00

 05/22/19     Work on assumption/rejection procedures
              Taylor, Mark C.                                 CB12             0.20 hrs.           $114.00

 05/22/19    Emails with client
             Taylor, Mark C.                                  CB12             0.10 hrs.            $ 57.00

 05/22/19    Revise critical vendor motion
             Atkinson, Evan J                                 CB13             0.10 hrs.            $ 27.00

 05/22/19    Follow up with W. Patterson re: Hamey's employment application
             Atkinson, Evan J                             CB15              0.10 hrs.               $ 27.00

 05/22/19    Finalize customer programs motion
             Atkinson, Evan J                                CB13              0.10 hrs.            $ 27.00


                                                                                            EXHIBIT C-1
                                                                                            Page 6 of 53
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 31
                                     of 138
                                 WALLER LANSDEN DORTCH           & DAVIS , LLP
   Our Matter# 036718.97148                                                                     July 16, 2019
   Invoice# 10725035                                                                                  Page 4



  05/22/19    Begin drafting tax motion
              Atkinson, Evan J                                 CB13              0.20 hrs.           $ 54.00

  05/22/19    Draft motion and order to expedite critical vendor motion
              Nix, William R.                                  CB12              0.40 hrs.          $ 132.00

  05/22/19    Meeting with E. Taube, M. Taylor, E. Atkinson and C. Burke re: action
              items
              Nix, William R.                                CB13             0.30 hrs.              $ 99.00

  05/23/19    Telephone conference with R. Hersch re : DIP agreement
              Taube, Eric J.                                CB12                 0.20 hrs.          $ 133.00

  05/23/19    Telephone conference with R. Hersch re: discussions with LJS and
              production of contemplated lease information
              Taube, Eric J.                                CB13             0.30 hrs.              $ 199.50

  05/23/19    Revise cash management order and emails with J. Rose
              Taylor, Mark C.                             CB12                   0.10 hrs.           $ 57 .00

  05/23/19    Emails re: cash management issues
              Taylor, Mark C.                                  CB12              0.10 hrs.           $ 57.00

  05/23/19    Emails re : tax issues
              Taylor, Mark C.                                  CB12              0.10 hrs.           $ 57.00

  05/23/19    Draft motion for authority to pay prepetition taxes and fees
              Atkinson, Evan J                                  CB12             0.70 hrs.          $ 189.00

 05/23/19    Revise Waller retention application
             Atkinson , Evan J                                 CB15              0.20 hrs.           $ 54.00

 05/23/19    Revise and finalize Harney retention application
             Atkinson , Evan J                                CB15               0.20 hrs.           $ 54.00

 05/23/19    Draft certificate of service of order on cash management motion
             Jezisek, Ann Marie                               CB12           0.1O hrs.               $ 17.00

 05/24/19    Review of emails re: filing of motion to pay sales tax
             Taube, Eric J.                                    CB13              0.10 hrs.           $ 66 .50

 05/24/19    Review cash management order and respond to email from 0. Misleh re:
             same
             Atkinson, Evan J                           CB12            0.10 hrs.                    $ 27.00

 05/24/19    Begin preparing for service of complex case order
             Jezisek, Ann Marie                             CB 13                0.20 hrs.           $ 34 .00

 05/24/19    Draft supplement to application to employ Waller
             Jezisek, Ann Marie                             CB15                 0.10 hrs.           $ 17.00

 05/28/19    Review and respond to email from 0 . Misleh re : refusal of service
             provider to repair computer under executors contract
             Taube, Eric J.                                  CB13               0.30 hrs.          $ 199.50



                                                                                             EXHIBIT C-1
                                                                                             Page 7 of 53
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 32
                                     of 138
                         WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036718.97148                                                                     July 16, 2019
   Invoice# 10725035                                                                                  Page 5



  05/28/19    Review customer programs motion
              Taylor, Mark C.                                  CB12              0.10hrs.            $ 57 .00

  05/28/19    Emails re: tax motion and tax issues
              Taylor, Mark C.                                  CB12              0.20 hrs.          $ 114.00

  05/28/19    Draft motion to establish procedures for rejection of leases and contracts
              Atkinson , Evan J                                CB13              1.50 hrs.          $ 405.00

  05/28/19    Revise omnibus motion to assume/reject leases and franchise
              agreements
              Atkinson, Evan J                             CB13                  0.60 hrs.          $ 162.00

 05/28/19     Revise tax motion
              Atkinson, Evan J                                 CB13              0.40 hrs.          $ 108.00

 05/28/19     Continue preparing for service of complex case order and draft certificate
              of service re: same
              Jezisek, Ann Marie                             CB 13             0.40 hrs.             $ 68.00

 05/29/19     Correspond with E. White re: preparation of schedules and statements of
              financia l affairs
              Burke, Cleve R.                                CB13             0.10 hrs.              $ 39.50

 05/29/19     Review and respond to email from 0. Misleh re: cure issues on
              arrearages for leases and ability of landlords to terminate post-petition
              Taube, Eric J.                                    CB13             0.20 hrs.          $ 133.00

 05/29/19     Review and respond to email from E. White re: tax motion
              Taube, Eric J.                                 CB13                0.20 hrs.          $ 133.00

 05/29/19     Emails re: timing of hearings and critical vendor issues
              Taylor, Mark C.                                  CB13              0.20 hrs.          $114 .00

 05/29/19     Revise omnibus motion to assume/reject leases and contracts
              Atkinson, Evan J                             CB 13                 0.20 hrs.           $ 54 .00

 05/29/19    Finalizing tax motion and prepare for filing
             Atkinson , Evan J                                 CB13             0.20 hrs.            $ 54.00

 05/29/19    Finalize customer programs motion and prepare for filing
             Atkinson , Evan J                            CB13                  0.20 hrs.            $ 54 .00

 05/29/19    Draft motion to expedite customer programs motion
             Atkinson , Evan J                            CB13                  0.10 hrs.            $ 27.00

 05/29/19    Review notices of default and termination letters received by Debtors pre
             and post petition to determine actions needed to be taken
             Atkinson , Evan J                                CB 13           0.40 hrs.            $ 108.00

 05/30/19    Review email from LJS re: lease assumption/rejection
             Taube, Eric J.                                CB13                 0.10 hrs.           $ 66.50




                                                                                             EXHIBIT C-1
                                                                                             Page 8 of 53
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 33
                                     of 138
                                WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036718.97148                                                                     July 16, 2019
   Invoice# 10725035                                                                                  Page 6


  05/30/19    Review email from R. Hersch re: lease assumption/rejection analysis
              Taube, Eric J.                               CB13              0.20 hrs.              $ 133.00

  05/30/19    Telephone conference with 0 . Misleh re: testimony at hearing on utility
              motion, customer program motion and payroll motion
              Taube, Eric J.                                  CB13             0.20 hrs.            $ 133.00

  05/30/19    Review email from 0 . Misleh re: agreements to be assumed and rejected
              Taube, Eric J.                                CB13           0.20 hrs.                $ 133.00

  05/30/19    Review of email re: Landlord that violated stay and responsive letter
              Taube, Eric J.                                   CB13             0.30 hrs.           $ 199.50

  05/30/19    Analysis of lease and contract rejection motion and issues
              Taylor, Mark C.                                 CB12               0.20 hrs.          $ 114.00

  05/30/19    Respond to emails from 0. Misleh re: time needed to vacate premises
              and process for reject leases going forward
              Atkinson,EvanJ                                CB13             0.10hrs.                $ 27.00

 05/30/19     Telephone call with 0. Misleh re: time landlord, Wolter Properties,
              interference with debtor's access to the leased premises
              Atkinson , Evan J                                CB 13            0.10 hrs.            $ 27 .00

 05/30/19     Draft demand letter to counsel for Wolter Properties related to landlord's
              interference with debtor's access to leased premises
              Atkinson , Evan J                               CB13               0.40 hrs.          $ 108.00

 05/30/19     Revise omnibus motion to reject leases based on review of prepetition
              default notices
              Atkinson , Evan J                             CB13             0.20 hrs.               $ 54.00

 05/31/19     Review and respond to emails from E. White and A Singh re: payment of
              rent checks
              Taube, Eric J.                               CB13             0.20 hrs.               $ 133.00

 05/31/19     Telephone conference with E. White re: same
              Taube, Eric J.                              CB13                  0.20 hrs.           $ 133.00

 05/31/19     Work on agenda and prepare for hearing
              Taylor, Mark C.                                  CB13             0.30 hrs.           $171 .00

 05/31/19     Telephone conference and emails with 0 . Misleh re: hearings
              Taylor, Mark C.                               CB13                0.10hrs.             $ 57.00

 05/31/19     Draft agenda for hearing on 6/3/19
              Atkinson , Evan J                               CB13              0.20 hrs.            $ 54.00

 05/31/19     Answer calls from former employees receiving notice of bankruptcy
              Atkinson, Evan J                              CB13             0.70 hrs.              $ 189.00

 06/02/19    Emails with client and Harney Partners
             Taylor, Mark C.                                  CB13              0.10 hrs.            $ 57 .00




                                                                                             EXHIBIT C-1
                                                                                             Page 9 of 53
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 34
                                     of 138
                                WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036718.97148                                                                   July 16, 2019
   Invoice# 10725035                                                                                Page 7


  06/03/19    Correspond with E. White re: status of schedules and statements of
              financial affairs
              Burke, Cleve R.                                CB13            0.10 hrs.             $ 39.50

  06/03/19    Extended telephone conference with 0 . Mahrouyan re:
              assumption/rejection of San Angelo location
              Taube, Eric J.                               CB13               0.50 hrs.           $ 332 .50

  06/03/19    Review and respond to email from 0 . Misleh re: compliance with the
              franchise agreement
              Taube, Eric J.                                 CB13             0.20 hrs.           $ 133.00

  06/03/19    Review of email from M. Taylor re: same
              Taube, Eric J.                                 CB13             0.10 hrs.            $ 66 .50

  06/03/19    Review of emails from E. White and A. Singh re: payment of rent checks
              Taube, Eric J.                                 CB 13            0.10 hrs.            $ 66.50

  06/03/19    Review proof of claim by State of Arkansas
              Taube, Eric J.                                 CB14             0.10 hrs.            $ 66 .50

  06/03/19    Meeting with 0 . Misleh
              Taylor, Mark C.                                CB12             0.20 hrs.           $114.00

  06/03/19    Prepare for and attend hearings
              Taylor, Mark C.                                CB12             0.50 hrs.           $ 285.00

 06/03/19     Emails with Harney re: vendors and customer programs
              Taylor, Mark C.                              CB12               0.1O hrs.            $ 57.00

 06/03/19     Emails re: rent payments
              Taylor, Mark C.                                CB12             0.10 hrs.            $ 57 .00

 06/03/19     Emails with J. Rose re: Mclane
              Taylor, Mark C.                                CB12             0.10 hrs.            $ 57 .00

 06/03/19     Answer calls from former employees receiving notice of bankruptcy
              Atkinson , Evan J                             CB13             0.20 hrs.             $ 54 .00

 06/03/19    Revise critical vendors order
             Atkinson, Evan J                                CB13             0.10 hrs.            $ 27 .00

 06/03/19    Meet with M. Taylor and 0. Misleh in preparation for hearing
             Atkinson, Evan J                               CB13              0.20 hrs.            $ 54.00

 06/03/19    Revise final order granting motion to use cash management system
             Atkinson, Evan J                                CB12           0.10 hrs.              $ 27.00

 06/04/19    Emails re : retention of Mastadon
             Taylor, Mark C.                                CB15              0.10 hrs.            $ 57.00

 06/04/19    Telephone conference with counsel for LJS
             Taylor, Mark C.                                CB12              0.10 hrs.            $ 57.00




                                                                                           EXHIBIT C-1
                                                                                          Page 10 of 53
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 35
                                     of 138
                                 WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036718.97148                                                                       July 16, 2019
   Invoice# 10725035                                                                                    Page 8


  06/04/19    Answer calls from former employees receiving notice of the bankruptcy
              Atkinson, Evan J                              CB11              0.20 hrs.                $ 54.00

  06/04/19    Revise application to retain Mastodon
              Atkinson, Evan J                                 CB11               0.20 hrs.            $ 54.00

  06/05/19    Review and respond to email from E. White re: payment of pre and post-
              petition sales tax
              Taube , Eric J.                               CB13             0.20 hrs.                $ 133.00

  06/05/19    Review of email from A. Singh re: same
              Taube, Eric J.                                   CB13               0.10 hrs.            $ 66.50

  06/05/19    Review notice of setting of hearing on motion to pay pre-petition sales tax
              Taube,EricJ.                                    CB13               0.10hrs.              $ 66.50

  06/05/19    Email to A. Singh re: same
              Taube, Eric J.                                   CB13               0.20 hrs.           $ 133.00

  06/05/19    Telephone conference with R. Brown re: notice of filing
              Taube, Eric J.                                CB13                  0.20 hrs.           $ 133.00

  06/05/19    Emails re: critical vendor issues
              Taylor, Mark C.                                  CB12               0.20 hrs.           $ 114.00

  06/05/19    Telephone conference with counsel for Mclane
              Taylor, Mark C.                              CB12                  0.10hrs.              $ 57.00

 06/05/19     Review fee procedures motion and order
              Taylor, Mark C.                                  CB15              0.10 hrs.             $ 57 .00

 06/05/19     Draft motion for interim compensation procedures
              Atkinson, Evan J                              CB12                 0.20 hrs.             $ 54.00

 06/05/19    Finalize Mastodon retention application and prepare for filing
             Atkinson , Evan J                              CB15                 0.30 hrs.             $ 81.00

 06/05/19    Attention to issue of noticing top 20 largest creditors on a consolidated
             basis
             Atkinson, Evan J                                  CB 13              0.20 hrs.            $ 54.00

 06/06/19    Correspond with E. White re: statements of financial affairs and
             schedules
             Burke, Cleve R.                                CB 13             0.10 hrs.                $ 39 .50

 06/06/19    Telephone conference with 0. Misleh, R. Hersch, E. Tyler, E. White, M.
             Taylor re: lease analysis
             Taube , Eric J.                               CB 13            0.40 hrs.                 $ 266.00

 06/06/19    Telephone conference with 0 Misleh, R. Hersch, E. Tyler, E. White and
             M. Taylor re : 363(f) sale
             Taube, Eric J.                              CB12              0.20 hrs.                  $ 133.00

 06/06/19    Email to L. Butler re: DIP Financing agreement and term sheet
             Taube, Eric J.                                 CB12                 0.20 hrs.           $ 133.00


                                                                                               EXHIBIT C-1
                                                                                              Page 11 of 53
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 36
                                     of 138
                                 WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036718.97148                                                                       July 16, 2019
   Invoice# 10725035                                                                                    Page 9



  06/06/19    Review response to email to L. Butler
              Taube, Eric J.                                    CB12              0.20 hrs.           $ 133.00

  06/06/19    Emails re : DIP financing
              Taylor, Mark C.                                   CB12              0.10 hrs.            $ 57 .00

  06/06/19    Emails re : sale taxes
              Taylor, Mark C.                                   CB12              0.10 hrs.            $ 57.00

  06/06/19    Review proposed DIP terms
              Taylor, Mark C.                                   CB12              0.10 hrs.            $ 57 .00

  06/06/19    Answer telephone calls from former employees with questions about the
              notice of bankruptcy
              Atkinson, Evan J                             CB11             0.10 hrs.                  $ 27.00

  06/06/19    Conference call with E. Taube, M. Taylor, E. Tyler, E. White, and R.
              Hersch re: plan moving forward/leases to assume or reject and DIP
              financing
              Atkinson , Evan J                               CB12              0.20 hrs.              $ 54 .00

  06/06/19    Review docket to determine what motions have not been set for hearing
              or are missing orders
              Atkinson, Evan J                             CB 13             0.20 hrs.                 $ 54.00

  06/07/19    Review of email from counsel for Mclane re : payment of critical vendor
              pre-petition amount
              Taube, Eric J.                                 CB13               0.20 hrs.             $ 133.00

  06/07/19    Conference re: terms of DIP facility and timing for need of same
              Taube, Eric J.                                   CB12            0.50 hrs.              $ 332.50

  06/07/19    Telephone conference with S. Roberts, proposed counsel to Committee,
              re: status of case and DIP
              Taube, Eric J.                               CB13            0.50 hrs.                  $ 332.50

  06107 /19   Email to clients re : conference with S . Roberts and information requested
              Taube, Eric J.                                     CB13             0.20 hrs.           $ 133.00

 06107 /19    Telephone conference with counsel for proposed DIP lender
              Taylor, Mark C.                              CB12                  0.10 hrs.             $ 57 .00

 06/07/19     Emails re: lien issues
              Taylor, Mark C                                   CB12              0.10hrs.              $ 57.00

 06107 /19    Respond to calls from former employees re : bankruptcy notice
              Atkinson , Evan J                              CB 13               0.10 hrs.             $ 27 .00

 06/10/19     Correspond and confer with E. White and A Jezisek re: questions related
              to charitable contributions, garnishment, and payments to or for the
              benefit of insiders listed in statements of financial affairs
              Bu rke, Cleve R.                                   CB13            0.40 hrs.            $ 158.00




                                                                                               EXHIBIT C-1
                                                                                              Page 12 of 53
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 37
                                     of 138
                         WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036718.97148                                                                      July 16, 2019
   Invoice# 10725035                                                                                  Page 10


  06/10/19    Telephone conference and emails with 0. Misleh re: schedule and case
              issues
              Taylor, Mark C.                              CB13             0.10 hrs.                 $ 57.00

  06/10/19    Respond to calls from former employees re : bankruptcy notice
              Atkinson, Evan J                               CB 13               0.10 hrs.            $ 27 .00

  06/11/19    Telephone conference with R. Hersch, E. Tyler, 0 . Misleh, E. White and
              B. Patterson re: status of schedules ; information requested by
              Committee ; information to U.S. Trustee for initial conference and
              communication with Lessors and LJS re : leases
              Taube, Eric J.                                     CB13            0.50 hrs.           $ 332.50

  06/11/19    Conference call re: case status, schedules and related issues
              Taylor, Mark C.                                CB13                0.20 hrs.           $114 .00

  06/11/19    Emails re : schedules and statement of financial affairs
              Taylor, Mark C.                                  CB13              0.10 hrs.            $ 57.00

  06/11/19    Review answer filed in adversary proceeding
              Atkinson , Evan J                                CB13              0.10 hrs.            $ 27 .00

  06/11/19    Work on schedules and statement of financial affairs
              Jezisek, Ann Marie                            CB13                 1.60 hrs.           $ 272 .00

  06/12/19    Confer and correspond with E. White and A Jezisek re: revise schedules
              and statement of financial affairs
              Burke, Cleve R.                              CB 13             0.60 hrs.               $ 237.00

  06/12/19   Review and prepare comments on schedules and statement of financial
             affairs
             Burke, Cleve R.                            CB 13             3.20 hrs.                $ 1,264.00

  06/12/19   Telephone conference with 0 . Misleh re : schedules
             Taylor, Mark C.                                CB13                0.20 hrs.            $114.00

  06/12/19   Emails with J. Rose and S. Roberts re : payment to Republic
             Taylor, Mark C.                                CB14                0.10hrs.              $ 57 .00

  06/12/19   Telephone call with representative from creditor, Hagar Restaurant
             Services, to identify which stores are affected by the bankruptcy
             Atkinson , Evan J                                 CB13            0.10 hrs.              $ 27 .00

  06/12/19   Work on schedules and statement of financial affairs
             Jezisek, Ann Marie                             CB 13               1.50 hrs.           $ 255 .00

  06/12/19   Telephone conference with creditor re: filing proof of claim
             Jezisek, Ann Marie                               CB 13             0.20 hrs.             $ 34 .00

 06/12/19    Assist with schedules and statements of financial affairs
             Warner, Kristen D.                              CB13               0.80 hrs.           $ 136 00

 06/13/19    Analyze issues related to codebtors on franchise agreements and leases
             Bu rke, Cleve R.                               CB13            0.20 hrs.                $ 79 .00




                                                                                              EXHIBIT C-1
                                                                                             Page 13 of 53
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 38
                                     of 138
                                WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036718.97148                                                                     July 16, 2019
   Invoice# 10725035                                                                                 Page 11


  06/13/19    Review draft schedules and statement of financial affairs and prepare
              comments to A. Jezisek and E. White re: same
              Burke, Cleve R.                                CB 13             1.10 hrs.            $ 434 .50

  06/13/19    Confer and/or correspond with 0. Misleh and E. White re: issues related
              to codebtors on franchise agreements and leases
              Burke, Cleve R.                               CB 13             0.10 hrs.              $ 39.50

  06/13/19    Confer and correspond with B. Patterson, E. White, and M. Taylor re :
              submission for initial debtor interview
              Burke, Cleve R.                               CB 13            0.10 hrs.               $ 39 .50

  06/13/19    Emails with 0. Misleh re: 341 meeting
              Taylor, Mark C.                                 CB13              0.10 hrs.            $ 57.00

  06/13/19    Emails re : schedules
              Taylor, Mark C.                                 CB13              0.10 hrs.            $ 57.00

  06/13/19    Telephone call with potential creditors who have received bankruptcy
              notice to explain purpose of notice
              Atkinson, Evan J                                CB13            0.10 hrs.              $ 27 .00

  06/13/19    Work on schedules and statement of financial affairs
              Jezisek, Ann Marie                            CB 13               2.10 hrs.           $ 357.00

  06/14/19    Prepare statements, schedules, and global notes re: same and confer
              and/or correspond with E. White, 0 . Misleh, M. Taylor, E. White, B.
              Patterson, and A. Jezisek re: same
              Burke, Cleve R.                                 CB13              2.00 hrs.           $ 790.00

 06/14/19     Review email from 0. Misleh and communications with Bank of America
              re: payment of LJS rent
              Taube, Eric J.                              CB12             0.20 hrs.                $ 133.00

 06/14/19    Numerous emails re: schedules and statement of financial affairs, and
             confer re: same
             Taylor, Mark C.                             CB13                 0.20 hrs.             $ 114.00

 06/14/19    Review notes to schedules, and revisions to same
             Taylor, Mark C.                               CB13                 0.20 hrs.           $ 114.00

 06/14/19    Respond to email from 0. Misleh re: whether certain store leases have
             been terminated
             Atkinson , EvanJ                              CB13              0.10hrs.                $ 27 .00

 06/15/19    Confer and/or correspond with E. White, 0. Misleh, M. Taylor, E. White,
             B. Patterson, and A. Jezisek re: statements, schedules, and global notes
             Burke, Cleve R.                                 CB13             0.90 hrs.            $ 355.50

 06/15/19    Numerous emails re : finalizing and revisions to schedules and statement
             of financial affairs
             Taylor, Mark C.                                  CB13             0.20 hrs .          $114 .00

 06/15/19    Work on schedules and statement of financial affairs
             Jezisek, Ann Marie                            CB13                2.00 hrs.           $ 340 .00



                                                                                             EXHIBIT C-1
                                                                                            Page 14 of 53
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 39
                                     of 138
                                WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036718.97148                                                                      July 16, 2019
   Invoice# 10725035                                                                                  Page 12



  06/17/19    Confer and/or correspond with M. Taylor, E. White, 0. Misleh, and B.
              Henault re: initial debtor conference and 341 meeting
              Burke, Cleve R.                                 CB13            0.30 hrs.              $118.50

  06/17/19    Review and respond to email from S. Roberts re: exchange of information
              with Committee and NOA
              Taube, Eric J.                                CB13             0.20 hrs.               $ 133.00

  06/17/19    Review of emails by and between Harney, clients and M. Taylor re: same
              Taube, Eric J.                                CB13             0.20 hrs.               $ 133.00

  06/17/19    Review of emails between R. Hersch and LJS re: store
              assumption/rejection schedule and additional information
              Taube, Eric J.                                 CB12                0.20 hrs.           $ 133.00

  06/17/19    Review of email from 0. Misleh re: termination agreement
              Taube, Eric J.                                  CB12               0.20 hrs.           $ 133.00

  06/17/19    Respond to same
              Taube, Eric J.                                   CB12              0.20 hrs.           $ 133.00

  06/17/19    Emails with Committee counsel
              Taylor, Mark C.                                  CB13              0.10hrs.             $ 57.00

  06/17/19    Emails with client and Harney re: store financials
              Taylor, Mark C.                                  CB13              0.10hrs.             $ 57.00

  06/17/19    Emails re: IOI issues
              Taylor, Mark C.                                  CB13              0.10hrs.             $ 57.00

  06/17/19    Review emails with LJS' counsel
              Taylor, Mark C.                                  CB13              0.20 hrs.           $ 114.00

  06/17/19    Review cash management order to determine if court approval is required
              to open new bank accounts
              Atkinson, Evan J                            CB 12              0.10 hrs.                $ 27.00

  06/17/19    Review and respond to email from Bank of America re: U.S. Trustee
              Jezisek, Ann Marie                          CB 13             0.10 hrs.                 $ 17.00

  06/18/19    Prepare for and attend initial Debtor's conference with U.S. Trustee
              Burke, Cleve R.                                  CB13              1.00 hrs.          $ 395.00

 06/18/19     Correspond with E. White, E. Atkinson, and M. Taylor re: preparation for
              list of equity security holders
              Burke, Cleve R.                                CB 13            0.10 hrs.               $ 39.50

 06/18/19    Review and respond to email from Bank of America re: establishing new
             accounts
             Taube, Eric J.                              CB13               0.20 hrs.               $ 133.00

 06/18/19    Review of email from counsel for the Committee re: execution of NDA
             Taube, Eric J.                                CB13              0.20 hrs.              $ 133.00




                                                                                              EXHIBIT C-1
                                                                                             Page 15 of 53
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 40
                                     of 138
                                WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036718.97148                                                                      July 16, 2019
   Invoice# 10725035                                                                                  Page 13


  06/18/19    Review of email from B. Patterson re: information to be provided to
              Committee
              Taube, Eric J.                                  CB13              0.30 hrs.            $ 199.50

  06/18/19    Emails re: intercompany payables
              Taylor, Mark C.                                 CB12              0.1 O hrs.            $ 57.00

  06/18/19    Emails and telephone conference with Committee counsel
              Taylor, Mark C.                             CB13                  0.20 hrs.            $ 114.00

  06/18/19    Review store information for Committee counsel
              Taylor, Mark C.                               CB13                0.20 hrs.            $ 114.00

  06/18/19    Revise confidentiality agreement
              Taylor, Mark C.                                 CB13              0.20 hrs.            $ 114.00

  06/18/19    Emails re: store financials
              Taylor, Mark C.                                 CB13              0.10 hrs.             $ 57.00

  06/18/19    Draft motion for DIP financing
              Atkinson, Evan J                                CB12              0.70 hrs.            $ 189.00

  06/18/19    Draft confidentiality agreement related to DIP financing for Committee
              members signature
              Atkinson, Evan J                                  CB12           0.30 hrs.              $ 81.00

  06/19/19    Review draft corporate ownership statement and correspond with M.
              Taylor and E. Atkinson re: same
              Burke, Cleve R.                               CB13            0.10 hrs.                 $ 39.50

 06/19/19     Correspond with A. Singh re: debts between and among the debtors and
              Ampex Chicago
              Burke, Cleve R.                              CB13            0.10 hrs.                  $ 39.50

 06/19/19     Review of email from counsel for the Committee re: post-petition
              financing issues
              Taube, Eric J.                                CB12               0.30 hrs.            $ 199.50

 06/19/19     Telephone conference with 0. Misleh re: 341 meeting
              Taylor, Mark C.                              CB13                0.1 O hrs.             $ 57.00

 06/19/19     Emails with counsel for Committee
              Taylor, Mark C.                                 CB13             0.10 hrs.              $ 57.00

 06/19/19     Emails with counsel for J&C
              Taylor, Mark C.                                 CB13             0.10 hrs.              $ 57.00

 06/19/19     Emails re: landlord ownership
              Taylor, Mark C.                                 CB13             0.10 hrs.              $ 57.00

 06/19/19    Telephone call with former employee to explain purpose of notice of
             bankruptcy
             Atkinson, Evan J                               CB13             0.20 hrs.               $ 54.00




                                                                                              EXHIBIT C-1
                                                                                             Page 16 of 53
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 41
                                     of 138
                                WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036718.97148                                                                   July 16, 2019
   Invoice # 10725035                                                                              Page 14


  06/19/19    Draft corporate ownership statement
              Atkinson, Evan J                                CB13            0.20 hrs.            $ 54.00

  06/19/19    Emails with M. Taylor re: J & C Property lease being rejected
              Atkinson, Evan J                                CB13            0.10 hrs.            $ 27.00

  06/20/19    Review and respond to email from J. Resnick re: motion to assume
              Taube, Eric J.                                CB13             0.30 hrs.            $ 199.50

  06/20/19    Review of objection to assumption of contracts by Committee
              Taube, Eric J.                                 CB13             0.20 hrs.           $ 133.00

  06/20/19    Review objection to retention of Mastadon by Committee
              Taube, Eric J.                                CB15              0.20 hrs.           $ 133.00

  06/20/19    Emails with client and Committee counsel re: leases and schedules
              Taylor, Mark C.                                CB13            0.20 hrs.            $114 .00

  06/20/19    Review Lojon leases to provide store numbers to Committee
              Atkinson , Evan J                             CB13              0.10 hrs.            $ 27 .00

  06/20/19    Correspondence with S. Roberts re: anomalies found in schedules
              Atkinson, Evan J                              CB13            0.10 hrs.              $ 27.00

  06/21/19    Review of objections by Committee and LJS to motion to assume leases
              Taube, Eric J.                               CB13            0.40 hrs.              $ 266.00

  06/21/19    Review and respond to emails from S. Roberts re: meeting
              Taube, Eric J.                                CB13              0.20 hrs.           $ 133.00

  06/21/19    Review objections filed by Committee and LJS
              Taylor, Mark C.                              CB12               0.10 hrs.            $ 57.00

  06/21/19   Prepare for and attend 341 meetings in Midland, including meetings with
             0. Misleh and E. White
             Taylor, Mark C.                               CB13              3.50 hrs.          $ 1,995.00

  06/24/19   Conference with M. Taylor re: same
             Taube, Eric J.                                  CB13             0.10 hrs.            $ 66 .50

  06/24/19   Review of LJS franchise agreement for payment accrual time frame
             Taube , Eric J.                             CB13              0.20 hrs.             $ 133.00

  06/24/19   Review and respond to email from E. White re: payment of franchise fees
             to LJS for current period
             Taube, Eric J.                                CB13             0.40 hrs.            $ 266.00

  06/24/19   Review draft DIP credit agreement
             Taylor, Mark C.                                 CB12             0.20 hrs.          $ 114.00

  06/24/19   Emails re : royalty payments
             Taylor, Mark C.                                 CB12             0.10 hrs.           $ 57.00

  06/24/19   Emails re: lease payments and review schedules
             Taylor, Mark C.                              CB12                0.10 hrs.           $ 57.00



                                                                                           EXHIBIT C-1
                                                                                          Page 17 of 53
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 42
                                     of 138
                         WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036718 .97148                                                                    July 16, 2019
   Invoice# 10725035                                                                                 Page 15



  06/25/19    Email re: status of DIP documentation/discussions/timing
              Taube, Eric J.                                 CB12               0.30 hrs.           $ 199.50

     .
  06/25/19    Review Committee's application to employ counsel
              Taylor, Mark C.                              CB13                 0.10 hrs.            $ 57.00

  06/25/19    Emails re : creditor claims and Ampex
              Taylor, Mark C.                                  CB14             0.10 hrs.            $ 57 .00

  06/25/19    Analysis of assumption and rejection issues
              Taylor, Mark C.                                  CB14             0.10 hrs.            $ 57 .00

  06/25/19    Emails with Committee counsel and Mastadon
              Taylor, Mark C.                            CB13                   0.10 hrs.            $ 57.00

  06/25/19    Review docket and draft agenda for 7/1 /19 hearing
              Atkinson , Evan J                              CB13               0.40 hrs.           $ 108.00

  06/26/19    Conference with M. Taylor re : Committee issues on motion to assume
              and response to same
              Taube, Eric J.                                 CB12             0.20 hrs.             $ 133.00

  06/26/19    Telephone conference and emails with S. Roberts
              Taylor, Mark C.                             CB13                  0.10 hrs.            $ 57.00

 06/26/19     Multiple telephone conferences and emails with clients re: case status
              and hearings
              Taylor, Mark C.                                CB13              0.30 hrs.            $ 171 .00

 06/26/19     Emails with court and counsel re: hearings
              Taylor, Mark C.                                  CB13             0.10 hrs.            $ 57 .00

 06/26/19     Draft witness and exhibit list for 7/1 /19 hearing
              Atkinson, Evan J                                   CB13           0.20 hrs.            $ 54.00

 06/26/19     Revise agenda for 7/1 /19 hearing
              Atkinson, Evan J                                 CB13             0.20 hrs.            $ 54 .00

 06/26/19     Status conference
              Atkinson, Evan J                                 CB13             0.20 hrs.            $ 54.00

 06/26/19     Review docket entry resetting hearing and calendar same
              Jezisek, Ann Marie                             CB13               0.10 hrs.            $ 17.00

 06/27/19     Attend telephone conference with S. Roberts, R. Hersch and M. Taylor
              Taube, Eric J.                                 CB13            0.50 hrs.              $ 332.50

 06/27/19     Review respond to email re: payment of leases and June rent
              Taube, Eric J.                                CB13                0.20 hrs.          $133 .00

 06/27/19     Emails and telephone conference with 0 . Misleh re : leases and vendors
              Taylor, Mark C.                                CB12              0.10 hrs .            $ 57.00




                                                                                             EXHIBIT C-1
                                                                                            Page 18 of 53
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 43
                                     of 138
                                      WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036718.97148                                                                                                July 16, 2019
   Invoice# 10725035                                                                                                            Page 16


  06/27/19    Revise DIP credit agreement
              Taylor, Mark C.                                                 CB12                    0.20 hrs.                $114.00

  06/27/19    Emails re: rents due
              Taylor, Mark C.                                                 CB12                    0.10hrs.                  $ 57.00

  06/27/19    Conference call with S. Roberts and R. Hersch
              Taylor, Mark C.                               CB12                                      0.10 hrs.                 $ 57.00

              Total Fees for Professional Services ................... .............................. .......... ...        $ 29,542.00



                                                       Summary of Fees

               Timekeeper                                       Rate I Hr                 Hours               Amount

               Burke, Cleve R.                              395.00                         10.90          $ 4,305.50
               Taube, Eric J.                               665.00                         14.30          $ 9,509.50
               Taylor, Mark C.                              570.00                         16.90          $ 9,633.00
               Nix, William R.                              330.00                          1.70            $ 561.00
               Atkinson, Evan J                             270.00                         14.70          $ 3,969.00
               Jezisek, Ann Marie                           170.00                          8.40          $ 1,428.00
               Warner, Kristen D.                           170.00                          0.80            $ 136.00

               TOTAL                                                                      67.70         $ 29,542.00


                                                        Disbursements

 05/20/19     VENDOR: Michelle Thompson INVOICE#: 010033464063 DATE:                                                             $ 6.33
              5/28/2019 Lunch for Clients before court hearing

 05/21/19     VENDOR: digATX (Sandaflor Enterprises LLC) INVOICE#: 3430                                                      $ 2, 104.66
              DATE: 5/21/2019 Yummy Seafood's first day motions filed and mail out
              services.

 05/31/19     VENDOR: digATX (Sandaflor Enterprises LLC) INVOICE#: 3439A                                                     $ 2,459.86
              DATE: 5/31 /2019 Copy and mail out services for all creditors in
              Yummy bankruptcy

 06/15/19     VENDOR: Mark C Taylor INVOICE#: 010034342427 DATE: 7/1/2019                                                     $105.90
              Airfare - Austin to Dallas to attend 341 meeting ""'

 06/17/19     VENDOR: Mark C Taylor INVOICE#: 010034342427 DATE: 7/1/2019                                                     $ 100.34
              Airfare - Midland to Austin

 06/21/19    VENDOR: Mark C Taylor INVOICE#: 010034342427 DATE: 7/1/2019                                                         $ 5.00
             Parking

 06/21/19    VENDOR: Mark C Taylor INVOICE#: 010034342427 DATE: 7/1/2019                                                       $ 33.30
             Car rental

             Color Photocopies - 85 @ 0.30                                                                                     $ 25.50




                                                                                                                        EXHIBIT C-1
                                                                                                                       Page 19 of 53
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 44
                                     of 138
                                           WALLER LANSDEN DORTCH                                & DAVIS , LLP
  Our Matter# 036718 .97148                                                                                                            July 16, 2019
  Invoice# 10725035                                                                                                                         Page 17


              Photocopies - 5,646 @ 0.20                                                                                                 $ 1,129.20

              Conference Call                                                                                                                 $ 2.68

              Online Researches                                                                                                             $ 36 .80

              Total Disbursements ..... .. ... ..... .. ... ...... .. .. .. ...... ..... .. .. .... .. ....... .. ............ .         $ 6,009.57

             Total Fees and Disbursements on This Invoice                                                                               $ 35,551 .57

             PLEASE REMIT TOTAL AMOUNT DUE                                                                                              $ 35,551 .57




                                                                                                                                    EXHIBIT C-1
                                                                                                                                   Page 20 of 53
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 45
                                     of 138
                      WALLER LANSDEN DORTCH & DAVIS, LLP
                                       100 CONGRESS AVENUE, SUITE 1800
                                             AUSTIN, TEXAS 78701
                                                512-685-6400
                                              FEDERAL ID No. XX-XXXXXXX




  Yummy Holdings, LLC                                                               July 16, 2019
  17774 Preston Rd                                                                  Invoice 10725034
  Dallas, TX 75252                                                                  Page 1
                                                                                    Bill Through 06/30/19
                                                                                    Billing Atty: E. Taube




  Our Matter#     036717.97147

                  Bankruptcy - Chapter 11



 05/19/19       Review motions and orders for first day hearings
                Taylor, Mark C.                                CB13               0.30 hrs.            $171 .00

 05/19/19       Review and revise application to employ
                Taylor, Mark C.                                   CB15            0.10 hrs.             $ 57.00

 05/19/19       Draft and revise customer program motion
                Atkinson, Evan J                                  CB13            0.40 hrs.            $ 108.00

 05/19/19       Revise Waller retention application
                Atkinson , Evan J                                 CB15            0.10 hrs.             $ 27.00

 05/19/19       Telephone call with E. White re : need to file sales tax motion
                Atkinson, Evan J                                   CB13           0.10 hrs.             $ 27.00

 05/19/19       Revise Harney retention application
                Atkinson, Evan J                                  CB15            0.10 hrs.             $ 27.00

 05/19/19       Work on cash collateral motion
                Nix, William R.                                   CB12            3.50 hrs.          $ 1, 155.00

 05/20/19       Prepare for and attend first day hearings
                Taylor, Mark C.                                   CB13            1.50 hrs.            $ 855 .00

 05/20/19       Confer with U S. Trustee
                Taylor, Mark C.                                   CB13            0.20 hrs.            $ 114.00

 05/20/19       Meetings with F. White and 0. Misleh
                Taylor, Mark C.                                   CB13            0.50 hrs .           $ 285.00

 05/20/19       Revise orders
                Taylor, Mark C.                                   CB13            0.30 hrs.            $171.00

 05/20/19       Revise joint administration order
                Atkinson , Evan J                                 CB13            0.20 hrs.             $ 54 .00




                                                                                                EXHIBIT C-1
                                                                                               Page 21 of 53
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 46
                                     of 138
                                WALLER LANSDEN DORTCH            & DAVIS, LLP
   Our Matter# 036717.97147                                                                       July 16, 2019
   Invoice# 10725034                                                                                    Page 2


  05/20/19    Revise omnibus motion to reject/assume leases and franchise
              agreements
              Atkinson, Evan J                             CB13                   0.40 hrs.           $ 108.00

  05/20/19    Revise interim cash management order
              Atkinson, Evan J                                  CB12              0.20 hrs.            $ 54.00

  05/20/19    Finish cash collateral motion
              Nix, Will iam R.                                 CB12               1.50 hrs.           $ 495.00

  05/20/19    Attend first day hearings
              Nix, Will iam R.                                 CB12               1.00 hrs.           $ 330.00

  05/21/19    Revise first day orders
              Taylor, Mark C.                                  CB12              0.10 hrs.             $ 57.00

  05/21/19    Emails with J. Rose
              Taylor, Mark C.                                  CB12              0.1O hrs.             $ 57.00

 05/21/19     Emails with E. White and client re : employee and critical vendor issues
              Taylor, Mark C.                                 CB12               0.20 hrs .           $ 114.00

 05/21/19     Review cash collateral motion and order and analysis of lien issue
              Taylor, Mark C.                               CB12               0.20 hrs.              $114.00

 05/21/19     Emails with 0 . Misleh re: leases, critical vendor and cash management
              issues
              Taylor, Mark C.                                    CB12          0.20 hrs .             $114.00

 05/21/19     Emails with counsel for Mclane
              Taylor, Mark C.                                  CB12              0.10 hrs.             $ 57.00

 05/21/19    Emails with E. White re: vendors
             Taylor, Mark C.                                   CB12              0.1 O hrs.            $ 57.00

 05/21/19    Emails with counsel for Mclane
             Taylor, Mark C.                                   CB12              0.10 hrs.             $ 57.00

 05/21/19    Review critical vendor motion
             Atkinson , Evan J                                 CB13              0.10 hrs.             $ 27.00

 05/21/19    Revise omnibus motion to reject/assume leases and franchise
             agreements
             Atkinson , Evan J                            CB13                   0.40 hrs.            $ 108.00

 05/21/19    Draft email to judgment creditors' attorney re: cash collateral issues
             Nix, William R.                                   CB12              0.40 hrs.            $ 132.00

 05/22/19    Attend strategy and status meeting with E. Taube, M. Taylor, T. Nix, and
             E. Atkinson
             Burke, Cleve R.                                CB13              0.20 hrs .               $ 79.00

 05/22/19    Review and revise motion to expedite hearing
             Taube , Eric J.                                   CB12              0.20 hrs .          $ 133.00




                                                                                               EXHIBIT C-1
                                                                                              Page 22 of 53
      19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 47
                                           of 138
                                         WALLER LANSDEN DORTCH & DAVIS, LLP
         Our Matter# 036717.97147                                                                     July 16, 2019
         Invoice# 10725034                                                                                  Page 3


        05/22/19    Review and respond to email from counsel for Landlord re: rejection and
                    assumption of leases
                    Taube, Eric J.                                CB13               0.30 hrs.            $ 199.50

        05/22/19    Telephone conference with M. Hilsabek re : same and renegotiation of
                    leases
                    Taube , Eric J.                               CB13              0.30 hrs.             $ 199.50

        05/22/19    Emails with counsel for Mclane
                    Taylor, Mark C.                                 CB12              0.10hrs.             $ 57 .00

        05/22/19    Finalize critical vendor motion
                    Taylor, Mark C.                                 CB12              0.10 hrs.            $ 57.00

       05/22/19     Work on assumption/rejection procedures
                    Taylor, Mark C.                                 CB12              0.20 hrs.           $ 114.00

       05/22/19     Emails with client
                    Taylor, Mark C.                                 CB12              0.10 hrs.            $ 57.00

       05/22/19     Revise critical vendor motion
                    Atkinson, Evan J                                CB13              0.20 hrs.            $ 54.00

       05/22/19     Finalize customer programs motion
                    Atkinson, Evan J                                CB13              0.10 hrs.            $ 27 .00

       05/22/19     Begin drafting tax motion
                    Atkinson, Evan J                                CB13              0.20 hrs.            $ 54.00

       05/22/19     Status conference with E. Taube, M. Taylor, C. Burke, and T. Nix
                    Atkinson , Evan J                              CB13              0.30 hrs.             $ 81 .00

       05/22/19     Meeting with E. Taube, M. Taylor, E. Atkinson and C. Burke re: action
                    items
                    Nix, William R.                                CB13             0.30 hrs.              $ 99.00

       05/22/19     Draft motion and order to expedite critical vendor motion
                    Nix, William R.                                  CB13             0.40 hrs.           $ 132.00

       05/23/19    Review of order on expedited hearing
                   Taube, Eric J.                                   CB12              0.10 hrs.            $ 66.50

       05/23/19    Revise service list to include parties who have recently appeared
·"'                Taube, Eric J.                                   CB12             0.20 hrs.            $ 133.00

       05/23/19    Email to 0. Misleh re: testifying at hearing on motion to use cash
                   collateral
                   Taube, Eric J.                                   CB12              0.20 hrs.           $ 133.00

       05/23/19    Review of response from 0 . Misleh
                   Taube, Eric J.                                   CB12              0.20 hrs.          $ 133.00

       05/23/19    Email to E. White re: cash flow statement for hearing
                   Taube, Eric J.                                  CB12               0.20 hrs.          $133.00




                                                                                                   EXHIBIT C-1
                                                                                                  Page 23 of 53
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 48
                                     of 138
                         WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036717 .97147                                                                      July 16, 2019
   Invoice# 10725034                                                                                    Page 4


  05/23/19    Review response from E. White
              Taube, Eric J.                                   CB12              0.20 hrs.            $ 133.00

  05/23/19    Identify exhibits for hearing on cash collateral motion
              Taube, Eric J.                                    CB12             0.20 hrs.            $ 133.00

  05/23/19    Revise cash management order and emails with J. Rose
              Taylor, Mark C.                             CB12                   0. 10 hrs.            $ 57.00

  05/23/19    Emails re : tax issues
              Taylor, Mark C.                                  CB12              0.10 hrs.             $ 57 .00

  05/23/19    Emails re: cash management issues
              Taylor, Mark C.                                  CB12              0.10 hrs.             $ 57.00

  05/23/19    Draft motion for authority to pay prepetition taxes and fees
              Atkinson , Evan J                                 CB12             0.70 hrs.            $ 189.00

  05/23/19    Revise Waller retention application
              Atkinson , Evan J                                CB13              0.20 hrs.             $ 54.00

 05/23/19     Revise and finalize Harney retention application
              Atkinson , Evan J                                CB15              0.20 hrs.             $ 54 .00

 05/23/19     Draft designation of witnesses and exh ibits for hearing on cash collateral
              motion
              Jezisek, Ann Marie                                CB12             0.30 hrs.             $ 51 .00

 05/23/19     Draft certificate of service of order on cash management motion
              Jezisek, Ann Marie                               CB12           0.10 hrs.                $ 17.00

 05/24/19     Review of cash flow statement for use at hearing
              Taube, Eric J.                                 CB12                0.20 hrs.            $ 133.00

 05/24/19     Telephone conference with attorney for garnishor re: motion
              Taube, Eric J.                                CB12                 0.30 hrs.            $ 199.50

 05/24/19 "   Email to 0 . Misleh and E. White re: hearing and testimony
              Taube, Eric J.                                  CB12               0.30 hrs.            $ 199.50

 05/24/19     Review cash management order and respond to email from 0 . Misleh re :
              same
              Atkinson , Evan J                          CB12             0.10 hrs.                    $ 27.00

 05/24/19     Telephone call with E. Tyler re: leases to assume and reject
              Atkinson, Evan J                                CB13              0.10hrs.               $ 27.00

 05/24/19     Revise witness and exhibit list for hearing on motion to use cash collateral
              Jezisek, Ann Marie                               CB12             0.20 hrs.              $ 34 .00

 05/24/19     Prepare exhibits hearing on motion to use cash collateral
              Jezisek, Ann Marie                             CB12               0.20 hrs.              $ 34 .00

 05/24/19     Draft supplement to application to employ Waller
              Jezisek, Ann Marie                             CB 15              0.10 hrs.              $ 17. 00



                                                                                               EXHIBIT C-1
                                                                                              Page 24 of 53
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 49
                                     of 138
                                 WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036717.97147                                                                     July 16, 2019
   Invoice# 10725034                                                                                  Page 5



  05/26/19    Draft outline of testimony for 0. Misleh and email re: same
              Taube, Eric J.                                  CB12              0.50 hrs.           $ 332 .50

  05/28/19    Prepare for hearing on motion to use cash collateral
              Taube, Eric J.                                  CB12              0.80 hrs.           $ 532 .00

  05/28/19    Prepare outline of testimony for E. White
              Taube, Eric J.                                  CB12              0.30 hrs.           $ 199.50

  05/28/19    Respond to email from K. Walsh re : agreed order on cash collateral
              Taube, Eric J.                                CB12              0.1O hrs.              $ 66.50

  05/28/19    Revise order per Judge Davis comments
              Taube, Eric J.                                  CB12              0.30 hrs.           $ 199.50

  05/28/19    Email to K. Walsh re : revised order
              Taube, Eric J.                                  CB12              0.20 hrs.           $ 133.00

  05/28/19    Review and incorporate proposed revisions
              Taube, Eric J.                                  CB12              0.20 hrs.           $ 133.00

  05/28/19    Revise outline for 0. Misleh
              Taube, Eric J.                                  CB12              0.20 hrs.           $ 133.00

  05/28/19    Telephone conference with 0. Misleh re : revised outline
              Taube, Eric J.                                  CB12              0.20 hrs.           $ 133.00

  05/28/19    Meeting with 0 . Misleh prior to hearing
              Taube, Eric J.                                  CB12              0.50 hrs.           $ 332.50

  05/28/19    Attend hearing
              Taube, Eric J.                                  CB12              0.70 hrs.           $ 465.50

  05/28/19    Review email from K. Walsh re : agreed order on cash collateral
              Taube, Eric J.                                 CB12             0.20 hrs.             $ 133.00

  05/28/19    Review customer programs motion
              Taylor, Mark C.                                 CB12              0.10hrs.             $ 57.00

 05/28/19    Emails re : tax motion and tax issues
             Taylor, Mark C.                                  CB12              0.20 hrs.          $ 114.00

 05/28/19    Draft motion to establish procedures for rejection of leases and contracts
             Atkinson , Evan J                                CB13              1.50 hrs.          $ 405.00

 05/28/19    Revise omnibus motion to assume/reject leases and franchise
             agreements
             Atkinson , Evan J                            CB13                 0.50 hrs.           $ 135.00

 05/28/19    Revise tax motion
             Atkinson , Evan J                               CB 13             0.40 hrs.           $ 108.00

 05/28/19    Attention to research on cash collateral garnishment cases
             Nix, William R                                  CB12              0.20 hrs.            $ 66.00



                                                                                             EXHIBIT C-1
                                                                                            Page 25 of 53
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 50
                                     of 138
                                 WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036717.97147                                                                      July 16, 2019
   Invoice # 10725034                                                                                  Page 6



  05/29/19    Review and respond to email from 0 . Misleh re: cure issues on
              arrearages for leases and ability of landlords to terminate post-petition
              Taube, Eric J.                                    CB13             0.20 hrs.           $ 133.00

  05/29/19    Emails re : timing of hearings and critical vendor issues
              Taylor, Mark C.                                   CB13             0.20 hrs.           $114.00

  05/29/19    Revise omnibus motion to assume/reject leases and contracts
              Atkinson, Evan J                             CB13                  0.20 hrs.            $ 54.00

  05/29/19    Finalizing tax motion and prepare for filing
              Atkinson , Evan J                                CB13              0.20 hrs.            $ 54 .00

  05/29/19    Finalize customer programs motion and prepare for filing
              Atkinson , Evan J                            CB13                  0.20 hrs.            $ 54.00

 05/29/19     Draft motion to expedite customer programs motion
              Atkinson , Evan J                            CB13                  0.10 hrs.            $ 27.00

 05/29/19     Review notices of default and termination letters received by Debtors pre
              and post petition to determine actions needed to be taken
              Atkinson , Evan J                                CB13            0.40 hrs.             $ 108.00

 05/30/19     Review and revise adversary proceeding against DTMJ
              Taube, Eric J.                               CB14                  0.50 hrs.           $ 332.50

 05/30/19     Analysis of lease and contract rejection motion and issues
              Taylor, Mark C.                                 CB12               0.20 hrs.           $ 114.00

 05/30/19     Review and revise adversary complaint
              Taylor, Mark C.                                  CB12              0.30 hrs.           $171.00

 05/30/19     Respond to emails from 0. Misleh re: time needed to vacate premises
              and process for reject leases going forward
              Atkinson, Evan J                              CB13             0.10 hrs.                $ 27.00

 05/30/19     Telephone call with 0 . Misleh re: time landlord, Wolter Properties,
              interference with debtor's access to the leased premises
              Atkinson , Evan J                                 CB13             0.10 hrs.            $ 27.00

 05/30/19    Draft demand letter to counsel for Wolter Properties related to landlord's
             interference with debtor's access to leased premises
             Atkinson , Evan J                               CB13               0.40 hrs.            $ 108.00

 05/30/19    Revise omnibus motion to reject leases based on review of prepetition
             default notices
             Atkinson , Evan J                             CB13             0.20 hrs.                 $ 54 .00

 05/30/19    Draft preference complaint
             Nix, William R.                                   CB13             2.20 hrs.            $ 726.00

 05/31/19    Finalize adversary proceeding against DTMP
             Taube, Eric J.                                    CB12             0.30 hrs.           $ 199.50




                                                                                              EXHIBIT C-1
                                                                                             Page 26 of 53
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 51
                                     of 138
                                WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036717.97147                                                                    July 16, 2019
   Invoice# 10725034                                                                                 Page 7


  05/31/19    Review of order on motion to use cash collateral
              Taube, EricJ.                                  CB12             0.10hrs.              $ 66.50

  05/31/19    Telephone conference and emails with 0. Misleh re: hearings
              Taylor, Mark C.                              CB13               0.10 hrs.             $ 57 .00

  05/31/19    Work on agenda and prepare for hearing
              Taylor, Mark C.                                 CB13            0.30 hrs.            $171.00

  05/31/19    Draft agenda for hearing on 6/3/19
              Atkinson, Evan J                                CB13            0.20 hrs.             $ 54.00

  05/31/19    Answer calls from former employees receiving notice of bankruptcy
              Atkinson, Evan J                              CB13             0.60 hrs.             $ 162.00

  06/01/19    Review and respond to email from H. Sherwin re : notice of 341 meeting
              Taube, Eric J.                               CB13               0.20 hrs.            $ 133.00

  06/02/19    Emails with client and Harney Partners
              Taylor, Mark C.                                CB13             0.1 O hrs.            $ 57.00

 06/03/19     Review email from R. Hersch re: post-petition financing
              Taube, Eric J.                                  CB12            0.20 hrs.            $ 133.00

 06/03/19     Review and respond to email from D. Rukavina re: potential purchase of
              assets
              Taube,EricJ .                                CB12              0.10hrs.               $ 66.50

 06/03/19    Email to R. Hersch and 0. Misleh re: response to same
             Taube, Eric J.                                 CB12              0.10 hrs.             $ 66.50

 06/03/19    Review of emails from A Singh and E. White re: payment of rent checks
             Taube, Eric J.                                CB12             0.10 hrs.               $ 66.50

 06/03/19    Meeting with 0. Misleh
             Taylor, Mark C.                                 CB12             0.20 hrs.            $114 .00

 06/03/19    Prepare for and attend hearings
             Taylor, Mark C.                                 CB12            0.50 hrs.             $ 285.00

 06/03/19    Emails with Harney re: vendors and customer programs
             Taylor, Mark C.                              CB12               010 hrs .              $ 57.00

 06/03/19    Emails re: rent payments
             Taylor, Mark C.                                 CB12            0.10hrs.               $ 57.00

 06/03/19    Emails re: rent payments
             Taylor, Mark C.                                 CB12            0.10 hrs.              $ 57.00

 06/03/19    Emails with J. Rose re: Mclane
             Taylor, Mark C.                                 CB12            0.10 hrs.              $ 57.00

 06/03/19    Answer calls from former employees receiving notice of the bankruptcy
             Atkinson , Evan J                             CB13              0.10 hrs.             $ 27.00




                                                                                            EXHIBIT C-1
                                                                                           Page 27 of 53
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 52
                                     of 138
                                 WALLER LANSDEN DORTCH           & DAVIS, LLP
   Our Matter# 036717.97147                                                                        July 16, 2019
   Invoice # 10725034                                                                                    Page 8


  06/03/19    Meet with M. Taylor and 0. Misleh in preparation for hearing
              Atkinson, Evan J                               CB13                 0.10 hrs.             $ 27.00

  06/03/19    Attend hearing
              Atkinson, Evan J                                  CB13              0.40 hrs.            $ 108.00

  06/03/19    Revise final order granting motion to use cash management system
              Atkinson, Evan J                                CB 12          0.10 hrs.                  $ 27.00

  06/03/19    Revise critical vendors order
              Atkinson, Evan J                                  CB13              0.1 O hrs.            $ 27.00

  06/04/19    Emails re: retention of Mastadon
              Taylor, Mark C.                                   CB15              0.10 hrs.             $ 57.00

  06/04/19    Telephone conference with counsel for LJS
              Taylor, Mark C.                                   CB12              0.10hrs.              $ 57.00

  06/04/19    Answer calls from former employees receiving notice of the bankruptcy
              Atkinson, Evan J                              CB11              0.20 hrs.                 $ 54.00

  06/04/19    Revise application to retain Mastodon
              Atkinson, Evan J                                 CB11               0.20 hrs.             $ 54.00

  06/05/19    Emails re: critical vendor issues
              Taylor, Mark C.                                  CB12               0.20 hrs.            $114.00

  06/05/19    Telephone conference with counsel for Mclane
              Taylor, Mark C.                              CB12                   0.10 hrs.             $ 57.00

  06/05/19    Review fee procedures motion and order
              Taylor, Mark C.                                  CB15               0.1 O hrs.            $ 57.00

  06/05/19   Draft motion for interim compensation procedures
             Atkinson, Evan J                               CB12                  0.40 hrs.            $ 108.00

  06/05/19   Attention to issue of noticing top 20 largest creditors on a consolidated
             basis
             Atkinson, Evan J                                  CB13               0.20 hrs.             $ 54.00

  06/05/19   Finalize Mastodon retention application and prepare for filing
             Atkinson, Evan J                               CB15                 0.30 hrs.              $ 81.00

 06/05/19    Revise master service list
             Jezisek, Ann Marie                                CB13              0.10 hrs.              $ 17.00

 06/06/19    Review proposed DIP terms
             Taylor, Mark C.                                   CB12              010 hrs.               $ 57.00

 06/06/19    Emails re: DIP financing
             Taylor, Mark C.                                   CB12              0.10hrs.               $ 57.00

 06/06/19    Emails re: sale taxes
             Taylor, Mark C                                    CB12              0.10 hrs.              $ 57.00




                                                                                                EXHIBIT C-1
                                                                                               Page 28 of 53
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 53
                                     of 138
                                WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036717.97147                                                                     July 16, 2019
   Invoice# 10725034                                                                                  Page 9


  06/06/19    Answer telephone calls from former employees with questions about
              notice of bankruptcy
              Atkinson, Evan J                             CB11             0.20 hrs.                $ 54.00

  06/06/19    Conference call with E. Taube, M. Taylor, E. Tyler, E. White, and R.
              Hersch re: plan moving forward/leases to assume or reject and DIP
              financing
              Atkinson, Evan J                                CB12              0.20 hrs.            $ 54.00

  06/06/19    Review docket to determine what motions have not been set for hearing
              or are missing orders
              Atkinson, Evan J                             CB13              0.10 hrs.               $ 27 .00

  06/07/19    Review response to adversary proceeding
              Taube, Eric J.                                  CB14              0.30 hrs.           $ 199.50

  06/07/19    Telephone conference with counsel for proposed DIP lender
              Taylor, Mark C.                              CB12                 0.10 hrs.            $ 57.00

  06/07/19    Emails re: lien issues
              Taylor, Mark C.                                 CB12              0.10 hrs.            $ 57.00

  06/07/19    Review DTMJ-1 LLC's response to adversary complaint
              Atkinson, Evan J                            CB13                  0.10 hrs.            $ 27.00

  06/07/19    Review answer to preference action
              Nix, William R.                                 CB14              0.30 hrs.            $ 99.00

  06/07/19    Begin working on schedules and statement of financial affairs
              Jezisek, Ann Marie                            CB13                2.30 hrs.           $ 391.00

 06/10/19     Correspond and confer with E. White and A. Jezisek re: questions related
              to charitable contributions, garnishment, and payments to or torthe
              benefit of insiders listed in statements of financial affairs
              Burke, Cleve R.                                    CB13           0.30 hrs.           $118.50

 06/10/19     Telephone conference and emails with 0 Misleh re: schedule and case
              issues
              Taylor, Mark C.                             CB13             0.1O hrs.                 $ 57.00

 06/10/19    Respond to calls from former employees re: bankruptcy notice
             Atkinson , Evan J                             CB 13                0.10 hrs.            $ 27 .00

 06/10/19    Continue working on schedules and statement of financial affairs
             Jezisek, Ann Marie                           CB 13               1.10 hrs.             $ 187.00

 06/11/19    Telephone conference with G. Clark re: lease payment defaults
             Taube , Eric J.                               CB13            0.20 hrs.                $133.00

 06/11/19    Conference call re: case status, schedules and related issues
             Taylor, Mark C.                                CB13                0.20 hrs.           $114 .00

 06/11/19    Emails re: schedules and statement of financial affairs
             Taylor, Mark C.                                 CB13              0.10 hrs.             $ 57 .00




                                                                                             EXHIBIT C-1
                                                                                            Page 29 of 53
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 54
                                     of 138
                                WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036717.97147                                                                    July 16, 2019
   Invoice# 10725034                                                                                Page 10


  06/11/19    Review answer filed in adversary proceeding
              Atkinson, Evan J                                CB13             0.10 hrs.             $ 27.00

  06/11/19    Work on discovery requests to DTMJ-1, LLC in preference adversary
              Nix, William R.                               CB14            1.00 hrs.              $ 330.00

  06/11/19    Work on schedules and statement of financial affairs
              Jezisek, Ann Marie                             CB13              0.30 hrs.             $ 51 .00

  06/12/19    Telephone conference with 0. Misleh re: schedules
              Taylor, Mark C.                              CB13                0.20 hrs.           $114.00

  06/12/19    Emails with J. Rose and S. Roberts re: payment to Republic
              Taylor, Mark C                                CB14               0.10hrs.             $ 57.00

  06/12/19    Telephone call with potential creditors who have received bankruptcy
              notice to explain purpose of the notice
              Atkinson, Evan J                                CB13            0.10 hrs.             $ 27.00

 06/13/19     Review draft schedules and statement of financial affairs and prepare
              comments to A. Jezisek and E. White re: same
              Burke, Cleve R.                                CB13              1.30 hrs.           $ 513.50

 06/13/19     Analyze issues related to codebtors on franchise agreements and leases
              Burke, Cleve R.                                CB 13           0.20 hrs.              $ 79.00

 06/13/19     Confer and/or correspond with 0. Misleh and E. White re: issues related
              to codebtors on franchise agreements and leases
              Burke, Cleve R.                               CB 13             0.10 hrs.             $ 39.50

 06/13/19     Confer and correspond with B. Patterson, E. White, and M. Taylor re :
              submission for initial debtor interview
              Burke, Cleve R.                               CB13             0.10hrs.               $ 39.50

 06/13/19     Emails with 0. Misleh re: 341 meeting
              Taylor, Mark C.                                CB13              0.10 hrs.            $ 57.00

 06/13/19     Emails re : schedules
              Taylor, Mark C.                                CB13              0.10 hrs.            $ 57.00

 06/13/19     Finish draft discovery; email to E. Taube re: same
              Nix, William R.                                  CB14            1.60 hrs.           $ 528.00

 06/13/19    Work on schedules and statement of financial affairs
             Jezisek, Ann Marie                            CB13                2.70 hrs.           $ 459.00

 06/14/19    Prepare statements, schedules, and global notes re: same and confer
             and/or correspond with E. White, 0. Misleh, M. Taylor, E. White, B.
             Patterson, and A. Jezisek re: same
             Burke, Cleve R.                                CB13              2.00 hrs.            $ 790 .00

 06/14/19    Numerous emails re: schedules and statement of financial affairs, and
             confer re: same
             Taylor, Mark C.                             CB13                 0.20 hrs.            $ 114.00




                                                                                            EXHIBIT C-1
                                                                                           Page 30 of 53
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 55
                                     of 138
                                WALLER LANSDEN DORTCH & DAVIS , LLP
   Our Matter# 036717.97147                                                                    July 16, 2019
   Invoice# 10725034                                                                                Page 11


  06/14/19    Review notes to schedules, and revisions to same
              Taylor, Mark C.                               CB13               0.20 hrs.           $ 114.00

  06/14/19    Respond to email from 0. Misleh re: whether certain store leases have
              been terminated
              Atkinson, Evan J                              CB 13             0.10 hrs.             $ 27.00

  06/14/19    Work on schedules and statement of financial affairs
              Jezisek, Ann Marie                            CB 13              1.30 hrs.           $ 221 .00

  06/15/19    Confer and/or correspond with E. White, 0. Misleh, M. Taylor, E. White,
              B. Patterson, and A. Jezisek re: statements, schedules, and global notes
              Burke, Cleve R.                                 CB13             0.90 hrs.           $ 355.50

  06/15/19    Revise statements, schedules, and global notes re: same
              Burke, Cleve R.                               CB13               0.80 hrs.           $ 316.00

  06/15/19    Numerous emails re: finalizing and revisions to schedules and statement
              of financial affairs
              Taylor, Mark C.                                 CB13             0.20 hrs.           $ 114.00

  06/17/19    Confer and/or correspond with M. Taylor, E. White, 0. Misleh , and B.
              Henault re: initial debtor conference and 341 meeting
              Burke, Cleve R.                                 CB13             0.30 hrs.           $118.50

  06/17/19    Review of email from Bank of America re: establishment of new account
              Taube, Eric J.                                CB13             0.20 hrs.             $ 133.00

  06/17/19   Emails with Committee counsel
             Taylor, Mark C.                                 CB13              0.10 hrs.            $ 57.00

  06/17/19   Emails with client and Harney re: store financials
             Taylor, Marke.                                   CB13             0.1O hrs.            $.57.00

 06/17/19    Emails re: IDI issues
             Taylor, Mark C.                                 CB13              0.10 hrs.            $ 57.00

 06/17/19    Review emails with LJS' counsel
             Taylor, Mark C.                                 CB13              0.10 hrs.            $ 57.00

 06/18/19    Emails re : intercompany payables
             Taylor, Mark C.                                 CB12              0.10 hrs.            $ 57.00

 06/18/19    Emails and telephone conference with Committee counsel
             Taylor, Mark C.                              CB13                 0.20 hrs.           $114.00

 06/18/19    Review store information for Committee counsel
             Taylor, Mark C.                               CB13                0.20 hrs.           $ 114.00

 06/18/19    Revise confidentiality agreement
             Taylor, Mark C.                                 CB13              0.20 hrs.           $114 .00

 06/18/19    Emails re: store financials
             Taylor, Mark C.                                 CB13              0.10 hrs.            $ 57.00




                                                                                            EXHIBIT C-1
                                                                                           Page 31 of 53
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 56
                                     of 138
                                WALLER LANSDEN DORTCH           & DAVIS, LLP
   Our Matter# 036717.97147                                                                     July 16, 2019
   Invoice# 10725034                                                                                 Page 12


  06/18/19    Draft confidentiality agreement related to DIP financing for Committee
              members signature
              Atkinson , Evan J                                 CB12           0.30 hrs.             $ 81 .00

  06/18/19    Draft motion for DIP financing
              Atkinson , Evan J                               CB12              0.70 hrs.           $ 189.00

  06/19/19    Review draft corporate ownership statement and correspond with M.
              Taylor and E. Atkinson re: same
              Burke, Cleve R.                              CB13             0.10 hrs.                $ 39 .50

  06/19/19    Review of email from M. Taubenfeld re: rejection of leased for closed
              location
              Taube, Eric J.                                 CB13               0.20 hrs.           $ 133.00

  06/19/19    Emails with counsel for Committee
              Taylor, Mark C.                                 CB13              0.10 hrs.            $ 57.00

  06/19/19    Emails with counsel for J&C
              Taylor, Mark C.                                 CB13              0.10 hrs.            $ 57.00

  06/19/19    Emails re: landlord ownership
              Taylor, Mark C.                                 CB13              0.10 hrs.            $ 57.00

  06/19/19    Telephone conference with 0. Misleh re: 341 meeting
              Taylor, Mark C.                              CB13                 0.10 hrs.            $ 57.00

  06/19/19    Draft corporate ownership statement
              Atkinson, Evan J                                CB13              0.20 hrs.            $ 54 .00

  06/19/19    Attention to sending out discovery in adversary
              Nix, William R.                                 CB13              0.30 hrs.            $ 99.00

  06/20/19    Emails with client and Committee counsel re: leases and schedules
              Taylor, Mark C.                                CB13            0.20 hrs.              $ 114.00

  06/20/19   Email to S. Savala re: drafting a corporate ownership statement
             Atkinson , Evan J                               CB13            0.10 hrs.               $ 27.00

 06/20/19    Correspondence with S. Roberts re: anomalies found in schedules
             Atkinson,EvanJ                               CB13             0.10hrs.                  $ 27 .00

 06/20/19    Review discovery requests to Defendant and calendar response deadline
             re: same
             Jezisek, Ann Marie                           CB14            0.10 hrs.                  $ 17.00

 06/21/19    Prepare for and attend 341 meetings in Midland, including meetings with
             0. Misleh and E. White
             Taylor, Mark C.                                CB13             3.50 hrs.            $ 1,995 .00

 06/21/19    Review objections filed by Committee and LJS
             Taylor, Mark C.                              CB12                 0.10 hrs.             $ 57.00




                                                                                             EXHIBIT C-1
                                                                                            Page 32 of 53
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 57
                                     of 138
                                WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036717.97147                                                                       July 16, 2019
   Invoice# 10725034                                                                                   Page 13


  06/24/19    Review and respond to email from Judge Davis law clerk re : agreed
              scheduling order
              Taube, Eric J.                               CB14               0.20 hrs.               $ 133.00

  06/24/19    Review of email from counsel for defendant re: same
              Taube, Eric J.                                 CB14                0.10 hrs.             $ 66.50

  06/24/19    Review draft DIP credit agreement
              Taylor, Mark C.                                  CB12              0.20 hrs.            $114.00

  06/24/19    Emails re : royalty payments
              Taylor, Mark C.                                  CB12              0.1O hrs.             $ 57.00

  06/24/19    Emails re : lease payments and review schedules
              Taylor, Mark C.                               CB12                 0.10hrs.              $ 57.00

  06/24/19    Draft scheduling order in adversary case
              Nix, William R.                                  CB14              1.00 hrs .           $ 330 .00

  06/25/19    Emails re : creditor claims and Ampex
              Taylor, Mark C.                                  CB14              0.10 hrs.             $ 57 .00

  06/25/19    Emails with Committee counsel and Mastadon
              Taylor, Mark C.                            CB13                    0.10 hrs.             $ 57.00

  06/25/19    Review Committee's application to employ counsel
              Taylor, Mark C.                              CB13                  0.1O hrs.             $ 57 .00

  06/25/19    Review Committee's application to employ counsel
              Taylor, Mark C.                              CB13                  0.10 hrs.             $ 57.00

  06/25/19    Analysis of assumption and rejection issues
              Taylor, Mark C.                                  CB14              0.10 hrs.             $ 57 .00

  06/25/19    Review docket and draft agenda for 7/1/19 hearing
              Atkinson, Evan J                              CB13                 0.40 hrs.            $ 108.00

  06/25/19    Draft witness and exhibit list for 7/1/19 hearing
              Atkinson, Evan J                                  CB13            0.10 hrs.              $ 27 .00

 06/25/19     Communications with opposing counsel re : entry of order; attention to
              same being uploaded
              Nix, W illiam R.                              CB14                0.40 hrs .            $ 132 .00

 06/26/19    Telephone conference and emails with S Roberts
             Taylor, Mark C.                            CB13                    0.10 hrs.              $ 57.00

 06/26/19    Emails with court and counsel re : hearings
             Taylor, Mark C.                                   CB13             0.10 hrs .             $ 57 .00

 06/26/19    Multiple telephone conferences and emails with clients re: case status
             and hearings
             Taylor, Mark C.                                CB13              0.30 hrs .              $171 .00




                                                                                               EXHIBIT C-1
                                                                                              Page 33 of 53
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 58
                                     of 138
                                         WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 03671 7.97147                                                                                                            July 16, 2019
   Invoice# 10725034                                                                                                                         Page 14


  06/26/19    Status conference
              Atkinson, Evan J                                                         CB13                       0.20 hrs.                   $ 54.00

  06/26/19    Draft witness and exhibit list fo r 7/1/19 hearing
              Atkinson, Evan J                                   CB13                                             0.20 hrs.                  $ 54.00

  06/26/19    Revise agenda for 7/1 /19 hearing
              Atkinson, Evan J                                                         CB13                      0.20 hrs.                   $ 54.00

  06/27/19    Emails and telephone conference with 0. Misleh re: leases and vendors
              Taylor,MarkC.                                 CB12             0.10hrs.                                                        $ 57.00

  06/27/19    Revise DIP credit agreement
              Taylor, Mark C.                                                          CB12                      0.20 hrs.                  $114.00

  06/27/19    Emails re: rents due
              Taylor, Mark C.                                                          CB12                      0.10 hrs.                   $ 57 .00

  06/27/19    Conference call with S. Roberts and R. Hersch
              Taylor, Mark C.                               CB 12                                                0.10 hrs.                   $ 57.00

  06/28/19    Review and respond to email from K. Walsh re: pre-trial hearing
              Taube, Eric J.                                CB14              0.20 hrs.                                                     $ 133.00

  06/28/19    Email to H. Velez re : pre-trial hearing and entry of order
              Taube, Eric J.                                     CB14                                            0.20 hrs.                  $ 133.00

              Total Fees for Professional Services .... .. .. ... .. .... .. .. ...... ... ... ..... .... ....... .. ........ ...        $ 29,477.00



                                                            Summary of Fees

               Timekeeper                                              Rate I Hr                    Hours                 Amount

               Burke, Cleve R.                                    395 .00                             6.30           $ 2,488 .50
               Taube, Eric J.                                     665.00                             10.50           $ 6,982 .50
               Taylor, Mark C.                                    570.00                             17.30           $9 ,861.00
               Nix, William R.                                    330.00                             14.10           $ 4,653.00
               Atkinson, Evan J                                   270.00                             14.80           $ 3,996.00
               Jezisek, Ann Marie                                 170.00                              8.80           $ 1,496.00

               TOTAL                                                                                71 .80          $ 29,477 .00


                                                              Disbursements

 05/20/19     VENDOR: Michelle Thompson INVOICE#: 010033464063 DATE:                                                                          $ 6.33
              5/28/2019 Lunch for Clients before court hearing

 05/21/19     VENDOR: digATX (Sandaflor Enterprises LLC) INVOICE#: 3430                                                                   $ 2,104.66
              DATE : 5/21 /2019 Yummy Seafood's first day motions filed and mail out
              services.




                                                                                                                                     EXHIBIT C-1
                                                                                                                                    Page 34 of 53
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 59
                                     of 138
                                          WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036717.97147                                                                                                     July 16, 2019
   Invoice# 10725034                                                                                                                 Page 15


  05/31/19    VENDOR: Jack H.W. Ray INVOICE#: 010034013423 DATE: 6/18/2019                                                           $ 350 .00
              USBC filed complaint

  05/31/19    VENDOR: digATX (Sandaflor Enterprises LLC) INVOICE#: 3439A                                                           $ 2,459.87
              DATE: 5/31/2019 Copy and mail out services for all creditors in
              Yummy bankruptcy

  06/15/19    VENDOR: Mark C Taylor INVOICE#: 010034342427 DATE : 7/1/2019                                                           $ 105.89
              Airfare - Austin to Dallas to attend 341 meeting

  06/17/19    VENDOR: Mark C Taylor INVOICE#: 010034342427 DATE: 7/1/2019                                                            $ 100.33
              Airfa re - Midland to Austin

  06/21/19    VENDOR: Mark C Taylor INVOICE#: 010034342427 DATE: 7/1/2019                                                              $ 5.00
              Parking

  06/21/19    VENDOR : Mark C Taylor INVOICE#: 010034342427 DATE: 7/1/2019                                                            $ 33 .30
              Car rental

              Color Photocopies - 85 @ 0.30                                                                                           $ 25.50

              Photocopies - 5,646 @ 0.20                                                                                           $ 1,129.20

              Conference Call                                                                                                          $ 2.69

              Online Researches                                                                                                       $ 36.80

              Total Disbursements ..... .. ................. ...... ... ....... .. ... .. ... ..... ........ ............         $ 6,359 .57

              Total Fees and Disbursements on This Invoice                                                                       $ 35 ,836 .57

              PLEASE REMIT TOTAL AMOUNT DUE                                                                                      $ 35 ,836 .57




                                                                                                                             EXHIBIT C-1
                                                                                                                            Page 35 of 53
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 60
                                     of 138
                      WALLER LANSDEN DORTCH & DAVIS, LLP
                                         100 CONGRESS AVENUE, SUITE 1800
                                               AUSTIN, TEXAS 78701
                                                  512-685-6400
                                                 FEDERAL ID NO. XX-XXXXXXX




  Yummy Seafoods, LLC                                                                  July 16, 2019
  Omar Misleh                                                                          Invoice 10725033
  Via Email:                                                                           Page 1
  om@ampexbrands.com                                                                   Bill Through 06/30/19
                                                                                       Billing Atty: E. Taube




                 Prior Balance Brought Forward                                                   $0.00
                 Less Payments Received                                                          $0.00
                 Net Forward Balance                                                             $0.00

  Our Matter #      036451 .96139

                    Bankruptcy - Chapter 11



 05/17/19         Review of email from B. Patterson re : hearing on first day motions
                  Taube, Eric J.                                  CB12              0.30 hrs.              $ 199.50

 05/17/19         Review of email from M. Taylor and 0 . Misleh re: notice to franchiser re:
                  filing and first day hearings
                  Taube , Eric J.                                 CB12              0.20 hrs.             $ 133.00

 05/17/19         Review of email from 0. Misleh re: filing and first day hearings
                  Taube, Eric J.                                    CB12             0.10 hrs.              $ 66.50

 05/17/19         Email to M. Taylor re: notices of creditors meeting
                  Taube, Eric J.                                    CB13             0.20 hrs.            $ 133.00

 05/17/19         Review of notices of meeting of creditors
                  Taube, Eric J.                                     CB12            0.10 hrs.             $ 66.50

 05/17/19         Emails with Court
                  Taylor, Mark C.                                    CB13            0.30 hrs.            $ 171.00

 05/17/19         Emails with counsel for landlords re: filings and hearings
                  Taylor, Mark C                                    CB12             0.60 hrs.            $ 342.00

 05/17/19         Numerous emails with clients re: filings and hearings
                  Taylor, Mark C.                                 CB13               0.60 hrs.            $ 342.00

 05/17/19         Telephone conference and emails with J. Rose
                  Taylor, Mark C.                              CB12                  0.60 hrs.            $ 342 .00

 05/17/19         Additional work on finalizing first day pleadings and orders
                  Taylor, Mark C.                                   CB12             2.10 hrs.           $1,197.00


                                                                                                  EXHIBIT C-1
                                                                                                 Page 36 of 53
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 61
                                     of 138
                                 WALLER LANSDEN DORTCH           & DAVIS, LLP
   Our Matter# 036451 .96139                                                                    July 16, 2019
   Invoice# 10725033                                                                                  Page 2


  05/17/19    Telephone conference with Harney and cl ients
              Taylor, Mark C.                               CB13                0.50 hrs.           $ 285 .00

  05/17/19    Revise and finalize first day motions
              Atkinson , Evan J                                CB13             1.00 hrs.           $ 270 .00

  05/1 7/19   Work on cash collateral motion
              Nix, William R.                                  CB12             1.00 hrs.           $ 330.00

  05/17/19    Review and revise first day motions, and electronically file same
              Jezisek, Ann Marie                              CB13              4.30 hrs.           $ 731 .00

  05/18/19    Review email from B. Patterson re: delivery requirements for inventory
              Taube, Eric J.                                 CB13              0.20 hrs.            $ 133.00

  05/19/19    Review and respond to email re: payment of sales tax
              Taube, Eric J.                                CB12                0.20 hrs.           $ 133.00

  05/19/19    Review returned mail from court
              Taube, Eric J.                                   CB13             0.20 hrs.           $ 133.00

 05/19/19     Email to 0 . Misleh re: taxes
              Taube, Eric J.                                   CB13             0.20 hrs.           $ 133.00

 05/19/19     Review and respond to emails from 0 . Misleh re: lease rejection timing
              and removal of equipment and personal property
              Taube, Eric J.                                 CB12               0.30 hrs.           $ 199.50

 05/19/19     Initial review and revision to cash collateral motion
              Taube, Eric J.                                     CB12           0.30 hrs.           $ 199.50

 05/19/19     Review motions and orders for first day hearings
              Taylor, Mark C.                                CB13               0.30 hrs.           $171 .00

 05/19/19     Review and revise application to employ
              Taylor, Mark C.                                  CB15             0.10 hrs.            $ 57 .00

 05/19/19     Draft and revise customer program motion
              Atkinson , Evan J                                CB13             0.50 hrs.           $ 135.00

 05/19/19     Revise Mastodon retention application
              Atkinson , Evan J                                CB13             0.10 hrs.            $ 27 .00

 05/19/19     Revise Harney retention application
              Atkinson , Evan J                                CB15             0.10 hrs.            $ 27.00

 05/19/19     Revise Waller retention application
              Atkinson , Evan J                                CB15             0.10 hrs.            $ 27 .00

 05/19/19     Revise omnibus motion to assume/reject leases and franchise
              agreements
              Atkinson , Evan J                            CB13                 0.10 hrs.            $ 27 .00




                                                                                             EXHIBIT C-1
                                                                                            Page 37 of 53
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 62
                                     of 138
                                 WALLER LANSDEN DORTCH            & DAVIS , LLP
   Our Matter# 036451 .96139                                                                       July 16, 2019
   Invoice # 10725033                                                                                    Page 3


  05/20/19    Review and respond to email from 0 . Misleh re : time frame for
              assumption/rejection of leases
              Taube, Eric J.                                  CB13                 0.30 hrs.           $ 199.50

  05/20/19    Review and respond to emails re: time frame for removal of equipment
              from properties
              Taube, Eric J.                                 CB13             0.30 hrs .               $ 199.50

  05/20/19    Conference with 0. Misleh re : same
              Taube, Eric J.                                    CB13               0.20 hrs.           $ 133.00

  05/20/19    Review and respond to emails from counsel for supplier re : critical vendor
              motion
              Taube, Eric J.                                CB12                 0.30 hrs.             $ 199.50

  05/20/19    Conference with 0 . Misleh re : same
              Taube, Eric J.                                    CB12               0.20 hrs.           $ 133.00

  05/20/19    Attend first day hearings
              Taube, Eric J.                                    CB12               0.50 hrs.           $ 332 .50

  05/20/19    Meeting with 0 . Misleh, E. White, M. Taylor, T. Nix re: critical vendor
              motion and lease rejections
              Taube, Eric J.                                   CB12                0.50 hrs.           $ 332.50

  05/20/19    Review of case law re: status of garnishor as lien creditor
              Taube, Eric J.                                   CB12               0.30 hrs.            $ 199.50

  05/20/19    Review of email re: Bank of America return of funds garnished
              Taube, Eric J.                                  CB12                0.20 hrs.            $ 133.00

  05/20/19    Conference with 0 . Misleh, E. White, M. Taylor and T. Nix re : same
              Taube, Eric J.                                  CB12               0.30 hrs.             $ 199.50

 05/20/19     Prepare for and attend first day hearings
              Taylor, Mark C.                                   CB13              1.50 hrs.            $ 855.00

 05/20/19     Confer with U.S. Trustee
              Taylor, Mark C.                                   CB13              0.20 hrs.            $114.00

 05/20/19     Meetings with F. White and 0 . Misleh
              Taylor, Mark C.                                   CB13              0.50 hrs.            $ 285 .00

 05/20/19     Revise orders
              Taylor, Mark C.                                   CB13              0.30 hrs.            $ 171 .00

 05/20/19     Revise joint adm inistration order
              Atkinson , Evan J                                 CB13              0.20 hrs.             $ 54.00

 05/20/19     Revise omnibus motion to reject/assume leases and franchise
              agreements
              Atkinson , Evan J                            CB13                   0.40 hrs.            $ 108. 00




                                                                                                EXHIBIT C-1
                                                                                               Page 38 of 53
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 63
                                     of 138
                                  WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036451 . 96139                                                                       July 16, 2019
   Invoice# 10725033                                                                                      Page 4


  05/20/19     Emails with 0 . Misleh re: assumption and rejection of leases and
               franchise agreements
               Atkinson, Evan J                                 CB 13            0.10 hrs.               $ 27.00

  05/20/19     Revise interim cash management order
               Atkinson, Evan J                                  CB12               0.20 hrs.            $ 54 .00

  05/20/19     Research Oklahoma law re : creation of garnishment liens
               Nix, William R.                               CB12                   1.60 hrs.           $ 528 .00

  05/21/19     Review landlord's post-petition notices to Yummy Foods of lease
               terminations and email to counse l re : filing of case and imposition of
               automatic stay
               Taube, Eric J.                                      CB12             0.50 hrs.           $ 332 .50

  05/21/19     Review and respond to email from 0 . Misleh re: banking arrangements in
               light of garnishment
               Taube, Eric J.                                 CB12            0.30 hrs .                $ 199.50

 05/21/19      Telephone conference with 0 . Misleh re : same
               Taube , Eric J.                                CB12                 0.30 hrs.            $ 199.50

 05/21/19     Review of notice from U.S. Trustee re : information for initial debtor
              conference
              Taube, Eric J.                                   CB12                0.20 hrs .           $ 133.00

 05/21/19     Email to E. White and 0. Misleh re : same
              Taube, Eric J.                                     CB12              0.20 hrs .           $ 133.00

 05/21/19     Review and respond to emails from counsel for Mclane Foods re : critical
              vendor motion and timing of deposits
              Taube, Eric J.                                CB12           0.40 hrs .                   $ 266 .00

 05/21/19     Review and revise motion and order on cash collateral
              Taube, Eric J.                               CB12                    1.00 hrs.            $ 665.00

 05/21/19     Emails to and from 0. Misleh re : same
              Taube, Eric J.                                     CB12              0.30 hrs.            $ 199.50

 05/21/19     Revise first day orders
              Taylo r, Mark C.                                   CB12              0.10 hrs.             $ 57 .00

 05/21 /19    Emails with J. Rose
              Taylor, Mark C.                                   CB12               010 hrs.              $ 57.00

 05/21/19     Review cash collateral motion and order and analysis of lien issue
              Taylor, Ma rk C.                              CB12               0.20 hrs.                $114 .00

 05/21/19     Emails with D. Misleh re: leases, critical vendo r and cash management
              issues
              Taylor, Mark C.                                    CB12           0.20 hrs.              $ 114.00

 05/21/19     Emails with counsel for Mclane
              Taylor, Mark C.                                   CB12               0.10 hrs.             $ 57.00




                                                                                                 EXHIBIT C-1
                                                                                                Page 39 of 53
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 64
                                     of 138
                                   WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036451 .96139                                                                      July 16, 2019
   Invoice# 10725033                                                                                    Page 5


  05/21/19    Emails with E. White re: vendors
              Taylor, Mark C.                                  CB12              0.10 hrs.             $ 57.00

  05/21/19    Emails with counsel for Mclane
              Taylor, Mark C.                                  CB12              0.1O hrs .            $ 57.00

  05/21/19    Emails with E. White and client re : employee and critical vendor issues
              Taylor, Mark C.                                 CB12               0.20 hrs.            $114.00

 05/21/19     Revise omnibus motion to rejecUassume leases and franchise
              agreements
              Atkinson , Evan J                           CB13                  0.40 hrs.             $ 108.00

 05/22/19     Attend strategy and status meeting with E. Taube, M. Taylor, T. Nix, and
              E. Atkinson
              Burke, Cleve R.                                CB13              0.30 hrs.              $ 118.50

 05/22/19     Review email with counsel for Mclane re : critical vendor motion
              Taube, Eric J.                                   CB13            0.10 hrs.               $ 66.50

 05/22/19     Conference re : schedules and statement of financial affairs
              Taube, Eric J.                                 CB13               0.10 hrs.              $ 66 .50

 05/22/19     Conference re : response to information for I DC
              Taube, Eric J.                                   CB13             0.1 0 hrs.             $ 66.50

 05/22/19     Review and respond to email from 0 . Misleh re : communication with
              creditors
              Taube, Eric J.                                  CB13            0.10hrs.                 $ 66 .50

 05/22/19     Conference re : modification to motion to assume and reject leases and
              independent franchise agreements
              Taube, Eric J.                                 CB13              0.20 hrs.              $ 133.00

 05/22/19     Emails with counsel for Mclane
              Taylor, Mark C.                                 CB12              0.10hrs.               $ 57.00

 05/22/19     Finalize critical vendor motion
              Taylor, Mark C.                                 CB12              0.10 hrs .             $ 57.00

 05/22/19     Work on assumption/rejection procedures
              Taylor, Mark C.                                 CB12              0.20 hrs .            $ 114.00

 05/22/19     Emails with client
              Taylor, Mark C.                                 CB12              0.10 hrs.              $ 57.00

 05/22/19     Revise critical vendor motion
              Atkinson , Evan J                               CB13              0.10hrs.               $ 27.00

 05/22/19     Follow up with R. Hersch re : Mastodon's employment application
              Atkinson , Evan J                              CB15             0.10 hrs.                $ 27. 00

 05/22/19     Finalize customer programs motion
              Atkinson, Evan J                                CB13              0.20 hrs.              $ 54 .00




                                                                                               EXHIBIT C-1
                                                                                              Page 40 of 53
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 65
                                     of 138
                                  WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036451 .96139                                                                      July 16, 2019
   Invoice # 10725033                                                                                   Page 6


  05/22/19    Begin drafting tax motion
              Atkinson , Evan J                                    CB13           0.20 hrs.            $ 54.00

  05/22/19    Status conference with E. Taube, M. Taylor, C. Burke, and T. Nix
              Atkinson, Evan J                               CB13              0.30 hrs.               $ 81.00

  05/22/19    Meeting with E. Taube, M. Taylor, E. Atkinson and C. Burke re: action
              items
              Nix, William R.                                CB13             0.30 hrs.                $ 99 .00

  05/22/19    Draft motion and order to expedite critical vendor motion
              Nix, William R.                                  CB13               0.40 hrs.           $ 132.00

  05/23/19    Telephone conference with claimants re: 341 notice
              Taube, EricJ.                                 CB13                  0.30 hrs.           $ 199.50

  05/23/19    Revise cash management order and emails with J. Rose
              Taylor, Mark C.                             CB12                    0.10 hrs.            $ 57.00

  05/23/19    Emails re: cash management issues
              Taylor, Mark C.                                      CB12           0.10 hrs.            $ 57 .00

 05/23/19     Emails re: tax issues
              Taylor, Mark C.                                      CB12           0.10 hrs.            $ 57.00

 05/23/19     Draft motion for authority to pay prepetition taxes and fees
              Atkinson, Evan J                                  CB13              0.80 hrs.           $ 216 .00

 05/23/19     Revise and finalize Harney retention application
              Atkinson, Evan J                                 CB15               0.30 hrs.            $ 81 .00

 05/23/19     Revise Waller retention application
              Atkinson , Evan J                                    CB15           0.20 hrs.            $ 54.00

 05/23/19     Draft notice of hearing on motion to establish critical vendor procedures,
              attention to filing of same and email to counsel for vendor re: same
              Jezisek, Ann Marie                                CB 12             0.10 hrs.            $ 17.00

 05/23/19     Prepare initial master service list
              Jezisek, Ann Marie                                   CB13           0.1O hrs.            $ 17.00

 05/23/19     Draft certificate of service of interim order on utili_ties
              Jezisek, Ann Marie                                   CB12           0.10 hrs.            $ 17.00

 05/23/19     Draft certificate of service of order on cash management motion
              Jezisek, Ann Marie                               CB12           0.10 hrs.                $ 17.00

 05/24/19     Telephone conference with notice party re: bankruptcy filing
              Taube, Eric J.                                 CB13                 0.20 hrs.           $ 133.00

 05/24/19     Review of emails re: filing of tax motion
              Taube, Eric J.                                      CB12           0.10hrs.              $ 66 .50

 05/24/19     Email to L Price re: lease assumption or rejection
              Taube, Eric J.                                   CB12              0.30 hrs.            $ 199.50



                                                                                               EXHIBIT C-1
                                                                                              Page 41 of 53
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 66
                                     of 138
                                  WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036451.96139                                                                      July 16, 2019
   Invoice# 10725033                                                                                   Page 7



  05/24/19    Review cash management order and respond to email from 0. Misleh re:
              same
              Atkinson, Evan J                           CB13            0.10 hrs.                    $ 27.00

  05/24/19    Draft supplement to application to employ Waller
              Jezisek, Ann Marie                             CB15                0.10 hrs.            $ 17.00

  05/28/19    Review and respond to email re: filing of motion to pay taxes
              Taube, Eric J.                                  CB12               0.30 hrs.           $ 199.50

 05/28/19     Review of revisions to motion approve customer program motion
              Taube, Eric J.                                CB12            0.20 hrs.                $ 133.00

 05/28/19     Review customer programs motion
              Taylor, Mark C.                                  CB12              0.10 hrs.            $ 57.00

 05/28/19     Emails re: tax motion and tax issues
              Taylor, Mark C.                                  CB12              0.20 hrs.           $114.00

 05/28/19     Draft motion to establish procedures for rejection of leases and contracts
              Atkinson, Evan J                                 CB13              1.60 hrs.           $ 432.00

 05/28/19     Revise omnibus motion to assume/reject leases and franchise
              agreements
              Atkinson, Evan J                             CB13                  0.50 hrs.           $ 135.00

 05/28/19     Revise tax motion
              Atkinson, Evan J                                 CB13              0.40 hrs.           $ 108.00

 05/29/19     Review and respond to email from 0. Misleh re: cure issues on
              arrearages for leases and ability of landlords to terminate post-petition
              Taube, Eric J.                                    CB13             0.20 hrs.           $ 133.00

 05/29/19     Review of summary of lease termination and respond to email re:
              rejection of leases where landlord asserts it has terminated
              Taube, Eric J.                                   CB13           0.30 hrs.              $ 199.50

 05/29/19     Emails re: timing of hearings and critical vendor issues
              Taylor, Mark C.                                  CB13              0.20 hrs.           $ 114.00

 05/29/19     Revise omnibus motion to assume/reject leases and contracts
              Atkinson, Evan J                             CB13                  0.10 hrs.            $ 27.00

 05/29/19     Finalizing tax motion and prepare for filing
              Atkinson, Evan J                                 CB13              0.20 hrs.            $ 54.00

 05/29/19     Finalize customer programs motion and prepare for filing
              Atkinson, Evan J                             CB13                  0.20 hrs.            $ 54.00

 05/29/19     Draft motion to expedite customer programs motion
              Atkinson, Evan J                             CB13                 0.10 hrs.             $ 27.00




                                                                                              EXHIBIT C-1
                                                                                             Page 42 of 53
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 67
                                     of 138
                                 WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036451 .96139                                                                      July 16, 2019
   Invoice# 10725033                                                                                    Page 8


  05/29/19    Review notices of default and termination letters received by Debtors pre
              and post petition to determine actions needed to be taken
              Atkinson, Evan J                                 CB 13           0.40 hrs.              $ 108.00

  05/30/19    Telephone conference with potential claimant re: notice
              Taube, Eric J.                                 CB14                 0.1O hrs.            $ 66.50

  05/30/19    Telephone conference with Builtrite Fence re: claim
              Taube, Eric J.                                  CB14                0.20 hrs.           $ 133.00

  05/30/19    Review and respond to email from 0 . Misleh re: hearings scheduled
              Taube, Eric J.                                 CB13             0.20 hrs.               $ 133.00

  05/30/19    Telephone conference with P. Rubenstein re: Enid store
              Taube, Eric J.                               CB13                   0.20 hrs.           $ 133.00

  05/30/19    Analysis of lease and contract rejection motion and issues
              Taylor, Mark C.                                 CB12                0.20 hrs.           $114.00

  05/30/19    Respond to emails from 0. Misleh re: time needed to vacate premises
              and process for reject leases going forward
              Atkinson, Evan J                              CB 13            0.10 hrs.                 $ 27.00

  05/30/19    Telephone call with 0. Misleh re: time landlord, Wolter Properties,
              interference with debtor's access to the leased premises
              Atkinson, Evan J                                 CB13              0.1 O hrs.            $ 27.00

 05/30/19     Draft demand letter to counsel for Wolter Properties related to landlord's
              interference with debtor's access to leased premises
              Atkinson, Evan J                                CB13               0.40 hrs.            $ 108.00

 05/30/19     Revise omnibus motion to reject leases based on review of prepetition
              default notices
              Atkinson, Evan J                              CB 13            0.20 hrs.                 $ 54 .00

 05/31/19     Work on agenda and prepare for hearing
              Taylor, Mark C.                                  CB13              0.30 hrs.            $171.00

 05/31/19     Telephone conference and emails with 0 . Misleh re: hearings
              Taylor, Mark C.                               CB13                 0.10 hrs.             $ 57.00

 05/31/19     Draft agenda for hearing on 6/3/19
              Atkinson, Evan J                                 CB13              0.10 hrs.             $ 27.00

 05/31/19     Answer calls from former employees receiving notice of bankruptcy
              Atkinson , Evan J                             CB13             0.70 hrs.                $ 189.00

 06/02/19     Emails with client and Harney Partners
              Taylor, Mark C.                                  CB13              0.10hrs.              $ 57.00

 06/03/19     Telephone conference with S. Swenson re: 3 Oklahoma lease locations
              Taube, Eric J.                              CB13             0.30 hrs.                  $ 199.50

 06/03/19     Telephone conference with G. Clark re: 3 locations in Oklahoma City
              Taube, Eric J.                                  CB13           0.40 hrs.                $ 266.00



                                                                                               EXHIBIT C-1
                                                                                              Page 43 of 53
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 68
                                     of 138
                         WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036451 .96139                                                                   July 16, 2019
   Invoice# 10725033                                                                                 Page 9



  06/03/19    Meeting with 0 . Misleh
              Taylor, Mark C.                                 CB12             0.20 hrs.           $114.00

  06/03/19    Prepare for and attend hearings
              Taylor, Mark C.                                 CB12             0.50 hrs.           $ 285 .00

  06/03/19    Emails with Harney re: vendors and customer programs
              Taylor, Mark C.                              CB12                0.10 hrs.            $ 57 .00

  06/03/19    Emails with J. Rose re: Mclane
              Taylor, Mark C.                                 CB12             0.10 hrs.            $ 57.00

  06/03/19    Answer calls from former employees receiving notice of bankruptcy
              Atkinson, Evan J                              CB11             0.20 hrs.              $ 54.00

  06/03/19    Meet with M. Taylor and 0 . Misleh in preparation for hearing
              Atkinson , Evan J                               CB13             0.20 hrs.            $ 54.00

  06/03/19    Revise fina l order granting motion to use cash management system
              Atkinson , Evan J                                CB 12          0.10 hrs.             $ 27 .00

 06/03/19     Revise critical vendors order
              Atkinson , Evan J                               CB13            0. 10 hrs.            $ 27.00

 06/04/19     Review and respond to email from R. Hersch .1; email to D. Rukavina re:
              contact to discuss sale
              Taube, Eric J.                                CB12             0.20 hrs.             $ 133.00

 06/04/19     Review email from J. Heilman from LJS re : communications on leases
              Taube, Eric J.                                CB13             0.20 hrs.             $ 133.00

 06/04/19     Review email from R. Patterson re: approval of rent checks
              Taube, Eric J.                                 CB13             0.10 hrs.             $ 66 .50

 06/04/19     Telephone conference with attorney for lessee of Yukon property and
              assumption
              Taube, Eric J.                                 CB13             0.20 hrs.            $ 133.00

 06/04/19     Emails re: retention of Mastadon
              Taylor, Mark C.                                 CB15            0.10hrs.              $ 57.00

 06/04/19     Telephone conference with counsel for LJS
              Taylor, Mark C.                                 CB12            0.10 hrs.             $ 57.00

 06/04/19     Answer calls from former employees receiving notice of the bankruptcy
              Atkinson , Evan J                             CB13              0.30 hrs.             $ 81.00

 06/04/19     Revise application to retain Mastodon
              Atkinson, Evan J                                CB11            0.20 hrs.             $ 54 .00

 06/05/19     Emails re : critical vendor issues
              Taylor, Mark C.                                CB12             0.20 hrs.           $ 114.00




                                                                                            EXHIBIT C-1
                                                                                           Page 44 of 53
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 69
                                     of 138
                                 WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036451.96139                                                                         July 16, 2019
   Invoice# 10725033                                                                                     Page 10


  06/05/19    Telephone conference with counsel for Mclane
              Taylor, Mark C.                              CB12                    0.10 hrs.             $ 57.00

  06/05/19    Review fee procedures motion and order
              Taylor, Mark C.                                   CB15               0.1 O hrs.            $ 57.00

  06/05/19    Attention to issue of noticing top 20 largest creditors on a consolidated
              basis
              Atkinson, Evan J                                  CB11               0.20 hrs.             $ 54.00

 06/05/19     Finalize Mastodon retention application and prepare for filing
              Atkinson, Evan J                               CB15                 0.30 hrs.              $ 81.00

 06/05/19     Draft motion for interim compensation procedures
              Atkinson, Evan J                              CB12                  0.40 hrs.             $ 108.00

 06/06/19     Review of email from counsel for LJS re: status of leases
              Taube, EricJ.                                   CB13                0.20 hrs.             $ 133.00

 06/06/19     Review of email from R. Hersch re: status of leases
              Taube, Eric J.                                  CB13                0.20 hrs.             $ 133.00

 06/06/19     Review of email from Landlord re: assumption rejection
              Taube, Eric J.                                CB13                  0.1 O hrs.             $ 66.50

 06/06/19     Telephone conference with Oklahoma landlord re: same
              Taube, EricJ.                                CB13                   0.20 hrs.             $ 133.00

 06/06/19     Review proposed DIP terms
              Taylor, Mark C.                                   CB12              0.10 hrs.              $ 57.00

 06/06/19     Emails re: DIP financing
              Taylor, Mark C.                                   CB12              0.10 hrs.              $ 57.00

 06/06/19    Emails re: sale taxes
             Taylor, Mark C.                                    CB12              0.10 hrs.              $ 57.00

 06/06/19    Conference call with E. Taube, M. Taylor, E. Tyler, E. White, and R.
             Hersch re: plan moving forward/leases to assume or reject and DIP
             financing
             Atkinson, Evan J                                CB12              0.30 hrs.                $ 81.00

 06/06/19    Review docket to determine what motions have not been set for hearing
             or are missing orders
             Atkinson, Evan J                             CB13              0.20 hrs.                   $ 54.00

 06/06/19    Answer telephone calls from former employees with questions about
             notice of bankruptcy
             Atkinson, Evan J                             CB11             0.20 hrs.                    $ 54.00

 06/07/19    Telephone conference with counsel for proposed DIP lender
             Taylor, Mark C.                              CB12                    0.10hrs.              $ 57.00

 06/07/19    Emails re: lien issues
             Taylor, Mark C.                                   CB12               0.10 hrs.             $ 57.00



                                                                                                 EXHIBIT C-1
                                                                                                Page 45 of 53
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 70
                                     of 138
                                 WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036451.96139                                                                      July 16, 2019
   Invoice# 10725033                                                                                  Page 11



  06/07/19    Review DTMJ-1 LLC's response to adversary complaint
              Atkinson, Evan J                            CB13                   0.10 hrs.            $ 27.00

  06/10/19    Correspond and confer with E. White and A. Jezisek re: questions related
              to charitable contributions, garnishment, and payments to or for the
              benefit of insiders listed in statements of financial affairs
              Burke, Cleve R.                                    CB13            0.30 hrs.           $ 118.50

  06/10/19    Telephone conference and emails with 0. Misleh re: schedule and case
              issues
              Taylor, Mark C.                              CB13             0.1 O hrs.                $ 57.00

  06/10/19    Respond to calls from former employees re: bankruptcy notice
              Atkinson,EvanJ                                CB13                 0.10hrs.             $ 27.00

  06/11/19    Attend telephone conference with R. Hersh, E. Tyler, M. Taylor, 0.
              Misleh, E. White and B. Patterson re: DIP funding, cash projections and
              marketing of DIP
              Taube, Eric J.                                  CB12             0.50 hrs.             $ 332.50

  06/11/19    Conference call re: case status, schedules and related issues
              Taylor, Mark C.                                CB13               0.20 hrs.            $ 114.00

 06/11/19     Emails re: schedules and statement of financial affairs
              Taylor,MarkC.                                   CB13              0.10hrs.              $ 57.00

 06/11/19     Review complex case procedures for notice requirements related to
              setting motions for upcoming omnibus hearings
              Atkinson, Evan J                              CB13            0.10 hrs.                 $ 27.00

 06/12/19     Review and respond to email from E. White re: scheduling of lease tax
              obligations
              Taube, Eric J.                                CB14              0.20 hrs.              $ 133.00

 06/12/19     Review issues on identification of "affiliates" for schedules
              Taube, Eric J.                                      CB14          0.20 hrs.            $ 133.00

 06/12/19    Emails with E. White and C. Burke re: schedules
             Taylor, Mark C.                                CB13                0.10 hrs.             $ 57.00

 06/12/19    Emails.with J. Rose and S. Roberts re: payment to Republic
             Taylor, Mark C.                               CB14                 0.10 hrs.             $ 57.00

 06/12/19    Telephone call with representative from creditor, Hagar Restaurant
             Services, to identify which stores are affected by the bankruptcy
             Atkinson, Evan J                                  CB13            0.10 hrs.              $ 27.00

 06/12/19    Work on schedules and statement of financial affairs
             Jezisek, Ann Marie                            CB13                 1.80 hrs.            $ 306.00

 06/13/19    Analyze issues related to codebtors on franchise agreements and leases
             Burke, Cleve R.                                 CB13           0.20 hrs.                 $ 79.00




                                                                                              EXHIBIT C-1
                                                                                             Page 46 of 53
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 71
                                     of 138
                                WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036451.96139                                                                     July 16, 2019
   Invoice# 10725033                                                                                 Page 12


  06/13/19    Review draft schedules and statement of financial affairs and prepare
              comments to A Jezisek and E. White re: same
              Burke, Cleve R.                                CB13              1.20 hrs.            $ 474.00

  06/13/19    Confer and correspond with 0. Misleh and E. White re: issues related to
              codebtors on franchise agreements and leases
              Burke, Cleve R.                              CB13               0.10 hrs.              $ 39.50

 06/13/19     Confer and correspond with B. Patterson, E. White, and M. Taylor re:
              submission for initial debtor interview
              Burke, Cleve R.                               CB 13            0.10 hrs.               $ 39.50

 06/13/19     Emails with 0. Misleh re: 341 meeting
              Taylor, Mark C.                                 CB13              0.10 hrs.            $ 57.00

 06/13/19     Emails re: schedules
              Taylor, Mark C.                                 CB13              0.10 hrs.            $ 57.00

 06/13/19     Email with C. Burke re: research related to debtors guarantees of
              franchise agreements
              Atkinson, Evan J                                CB 13             0.10 hrs.            $ 27.00

 06/13/19     Work on schedules and statement of financial affairs
              Jezisek, Ann Marie                             CB13               1.90 hrs.           $ 323.00

 06/14/19     Prepare statements, schedules, and global notes re: same and confer
              and/or correspond with E. White, 0. Misleh, M. Taylor, E. White, B.
              Patterson, and A Jezisek re: same
              Burke, Cleve R.                                CB13              2.00 hrs.            $ 790.00

 06/14/19     Numerous emails re: schedules and statement of financial affairs, and
              confer re: same
              Taylor, Mark C.                             CB13                 0.20 hrs.            $ 114.00

 06/14/19     Review notes to schedules, and revisions to same
              Taylor, Mark C.                               CB13                0.20 hrs.           $114.00

 06/14/19    Respond to email from 0. Misleh re: whether certain store leases have
             been terminated
             Atkinson, Evan J                              CB13              0.10 hrs.               $ 27.00

 06/14/19    Work on schedules and statement of financial affairs
             Jezisek, Ann Marie                             CB 13               1.30 hrs.           $ 221.00

 06/15/19     Revise statements, schedules, and global notes re: same
              Burke, Cleve R.                               CB13               0.80 hrs.            $ 316.00

 06/15/19    Confer and/or correspond with E. White, 0. Misleh, M. Taylor, E. White,
             B. Patterson, and A Jezisek re: statements, schedules, and global notes
             Burke, Cleve R.                                CB13              0.90 hrs.             $ 355.50

 06/15/19    Numerous emails re: finalizing and revisions to schedules and statement
             of financial affairs
             Taylor, Mark C.                                 CB13             0.20 hrs.            $114.00




                                                                                             EXHIBIT C-1
                                                                                            Page 47 of 53
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 72
                                     of 138
                                WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036451.96139                                                                     July 16, 2019
   Invoice# 10725033                                                                                 Page 13


  06/15/19    Work on schedules and statement of financial affairs
              Jezisek, Ann Marie                             CB 13              2.00 hrs.           $ 340.00

  06/17/19    Confer and/or correspond with M. Taylor, E. White, 0. Misleh, and B.
              Henault re: initial debtor conference and 341 meeting
              Burke, Cleve R.                                 CB 13           0.30 hrs.             $ 118.50

  06/17/19    Emails with Committee counsel
              Taylor, Mark C.                                 CB13              0.10 hrs.            $ 57.00

  06/17/19    Emails with client and Harney re: store financials
              Taylor, Mark C.                                  CB13             0.10 hrs.            $ 57.00

  06/17/19    Emails re: IOI issues
              Taylor, Mark C.                                 CB13              0.10 hrs.            $ 57.00

 06/17/19     Review emails with LJS' counsel
              Taylor, Mark C.                                 CB13              0.10 hrs.            $ 57.00

 06/17/19     Review cash management order to determine if court approval is required
              to open new bank accounts
              Atkinson, Evan J                            CB 12              0.10 hrs.               $ 27.00

 06/18/19     Correspond with B. Henault, 0. Misleh, E. White, B. Patterson, and M.
              Taylor re: items requested by U.S. Trustee
              Burke, Cleve R.                                CB 13             0.10 hrs.             $ 39.50

 06/18/19     Prepare for and attend initial Debtor's Conference with U.S. Trustee
              Burke, Cleve R.                                 CB13              1.00 hrs.           $ 395.00

 06/18/19     Emails re: intercompany payables
              Taylor, Mark C.                                 CB12              0.10hrs.             $ 57.00

 06/18/19     Emails and telephone conference with Committee counsel
              Taylor, Mark C.                             CB13                  0.20 hrs.           $114.00

 06/18/19    Review store information for Committee counsel
             Taylor, Mark C.                               CB13                 0.20 hrs.           $114.00

 06/18/19    Revise confidentiality agreement
             Taylor, Mark C.                                  CB13              0.20 hrs.           $114.00

 06/18/19    Emails re: store financials
             Taylor, Mark C.                                  CB13              0.10 hrs.            $ 57.00

 06/18/19    Draft motion for DIP financing
             Atkinson, Evan J                                 CB12              0.60 hrs.           $ 162.00

 06/18/19    Draft confidentiality agreement related to DIP financing for Committee
             members signature
             Atkinson, Evan J                                  CB12           0.30 hrs.              $ 81.00

 06/19/19    Review draft corporate ownership statement and correspond with M.
             Taylor and E. Atkinson re: same
             Burke, Cleve R.                              CB13             0.10 hrs.                $ 39.50



                                                                                             EXHIBIT C-1
                                                                                            Page 48 of 53
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 73
                                     of 138
                         WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036451.96139                                                                    July 16, 2019
   Invoice# 10725033                                                                                Page 14



  06/19/19    Correspond with A. Singh re: debts between and among the debtors and
              Ampex Chicago
              Burke, Cleve R.                              CB 13           0.10 hrs.                $ 39.50

  06/19/19    Review of email from counsel to Committee re: information requests
              related to operations and leases
              Taube, Eric J.                                CB13             0.30 hrs.             $ 199.50

  06/19/19    Emails with counsel for Committee
              Taylor, Mark C.                                  CB13           0.10 hrs.             $ 57.00

  06/19/19    Emails with counsel for J&C
              Taylor, Mark C.                                  CB13           0.1 O hrs.            $ 57.00

  06/19/19    Emails re: landlord ownership
              Taylor, Mark C.                                  CB13           0.10 hrs.             $ 57.00

 06/19/19     Telephone conference with 0. Misleh re: 341 meeting
              Taylor, Mark C.                              CB13               0.10 hrs.             $ 57.00

 06/19/19     Emails with M. Taylor re: J & C Property lease being rejected
              Atkinson, Evan J                                CB13            0.10 hrs.             $ 27.00

 06/19/19     Draft corporate ownership statement
              Atkinson, Evan J                                 CB13           0.20 hrs.             $ 54.00

 06/19/19     Email to 0. Misleh re: equity security holders of the debtors
              Atkinson, Evan J                                  CB13          0.1 O hrs.            $ 27.00

 06/20/19     Emails with client and Committee counsel re: leases and schedules
              Taylor, Mark C.                                CB13            0.20 hrs.             $114.00

 06/20/19     Email to S. Savala re: drafting a corporate ownership statement
              Atkinson, Evan J                                CB13            0.10 hrs.             $ 27.00

 06/20/19     Review Lojon leases to provide store numbers to Committee
              Atkinson, Evan J                              CB13              0.10hrs.              $ 27.00

 06/21/19     Review objections filed by Committee and LJS
              Taylor, Mark C.                              CB12               0.10hrs.              $ 57.00

 06/21/19    Prepare for and attend 341 meetings in Midland, including meetings with
             0. Misleh and E. White
             Taylor, Mark C.                               CB13              3.50 hrs.           $1,995.00

 06/21/19    Work on amended matrix and preparing amended 20 largest unsecured
             creditors
             Jezisek, Ann Marie                        CB 13            1.10 hrs.                 $ 187.00

 06/24/19    Review and respond to email from E. White re: payment of leases that
             have not been rejected
             Taube, Eric J.                                CB13             0.30 hrs.             $ 199.50




                                                                                            EXHIBIT C-1
                                                                                           Page 49 of 53
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 74
                                     of 138
                                 WALLER LANSDEN DORTCH           & DAVIS, LLP
   Our Matter# 036451 .96139                                                                    July 16, 2019
   Invoice# 10725033                                                                                 Page 15


  06/24/19    Review draft DIP credit agreement
              Taylor, Mark C.                                   CB12            0.20 hrs.           $ 114.00

  06/24/19    Emails re: royalty payments
              Taylor, Mark C.                                   CB12            0.10 hrs.            $ 57.00

  06/24/19    Emails re: lease payments and review schedules
              Taylor, Mark C.                              CB12                 0.10 hrs.            $ 57.00

  06/25/19    Review of issues related to assumption/rejection timeline
              Taube , EricJ .                                 CB13              0.20 hrs.           $ 133.00

  06/25/19    Review and respond to email from E. White re: Barry's plumbing claim
              Taube, Eric J.                                CB13             0.30 hrs.              $ 199.50

  06/25/19    Emails with 0. Misleh re: same
              Taube, EricJ.                                     CB13            0.20 hrs.           $ 133.00

  06/25/19    Emails re: creditor claims and Ampex
              Taylor, Mark C.                                  CB14             0.1O hrs.            $ 57.00

  06/25/19    Emails with Committee counsel and Mastadon
              Taylor, Mark C.                            CB13                   0.10 hrs.            $ 57.00

  06/25/19    Analysis of assumption and rejection issues
              Taylor, Mark C.                                  CB14             0.10 hrs.            $ 57.00

 06/25/19     Review docket and draft agenda for 7/1 /19 hearing
              Atkinson , Evan J                              CB13               0.40 hrs.           $ 108.00

 06/25/19     Draft witness and exhibit list for 7/1/19 hearing
              Atkinson , Evan J                                 CB13            0.10 hrs.            $ 27.00

 06/26/19     Correspond with E. Taube and M. Taylor re: notice received from S.
              Wood re : hearing and request for time estimate
              Burke, Cleve R.                                 CB13           0.10 hrs.               $ 39.50

 06/26/19     Review of information related to DIP application
              Taube, Eric J.                                   CB12             0.20 hrs.           $ 133.00

 06/26/19     Telephone conference and emails with S. Roberts
              Taylor, Mark C.                              CB13                 0.10 hrs.            $ 57 .00

 06/26/19     Emails with court and counsel re : hearings
              Taylor, Mark C.                                  CB13             0.10 hrs.            $ 57.00

 06/26/19     Multiple telephone conferences and emails with clients re: case status
              and hearings
              Taylor, Mark C.                                CB13              0.30 hrs.            $ 171 .00

 06/26/19     Draft witness and exhibit list for 7/1 /19 hearing
              Atkinson , Evan J                                  CB13           0.20 hrs.            $ 54 .00

 06/26/19     Continue working on amended matrix
              Jezisek, Ann Marie                               CB13             2.20 hrs.          $ 374 .00



                                                                                             EXHIBIT C-1
                                                                                            Page 50 of 53
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 75
                                     of 138
                                 WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036451.96139                                                                    July 16, 2019
   Invoice# 10725033                                                                                Page 16



  06/27/19    Review motion to assume or reject certain leases
              Burke, Cleve R.                                CB13              0.10 hrs.            $ 39.50

  06/27/19    Correspond with P. Autry, E. Taube, and M. Taylor re: rent payments on
              lease in Clinton, Oklahoma
              Burke, Cleve R.                               CB13              0.20 hrs.             $ 79.00

  06/27/19    Emails and telephone conference with 0. Misleh re: leases and vendors
              Taylor, Mark C.                               CB12             0.10 hrs.              $ 57.00

 06/27/19     Revise DIP credit agreement
              Taylor, Mark C.                                CB12              0.20 hrs.           $114.00

 06/27/19     Emails re: rents due
              Taylor, Mark C.                                CB12              0.10 hrs.            $ 57.00

 06/27/19     Conference call with S. Roberts and R. Hersch
              Taylor, Mark C.                               CB12              0.10 hrs.             $ 57.00

 06/27/19     Respond to call of potential creditor
              Atkinson, Evan J                               CB13             0.10 hrs.             $ 27.00

 06/27/19     Work on amended matrix
              Jezisek, Ann Marie                             CB13             0.30 hrs.             $ 51.00

 06/28/19     Review of order authorizing employment of counsel
              Taube, Eric J.                               CB15               0.20 hrs.            $ 133.00

 06/28/19     Review of email from R. Hersch re: partial payment of June rent
              Taube, Eric J.                                 CB13             0.20 hrs.            $ 133.00

 06/28/19    Review of email from A Singh re: partial rent payment
             Taube, Eric J.                                  CB13             0.20 hrs.            $ 133.00

 06/28/19    Review of email from E. White re: payment of June rents
             Taube, Eric J.                                 CB13              0.20 hrs.            $ 133.00

 06/28/19    Respond to email from E. White re: rent payment
             Taube, Eric J.                                CB13               0.30 hrs.            $ 199.50

 06/28/19    Review and respond to email from 0. Misleh re: settlement of claims
             related to Lojon property and with insurance carrier
             Taube, Eric J.                                  CB13             0.30 hrs.            $ 199.50

 06/28/19    Review of email from D. Fleming at Liberty Mutual re: settlement of claims
             related to Lojon property
             Taube, Eric J.                                 CB13              0.20 hrs.           $ 133.00

 06/29/19    Review email from A Singh re: July rental payment
             Taube, Eric J.                                CB13               0.20 hrs.           $ 133.00

 06/29/19    Review email from R. Hersch
             Taube, Eric J.                                  CB13             0.20 hrs.           $ 133.00




                                                                                            EXHIBIT C-1
                                                                                           Page 51 of 53
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 76
                                     of 138
                                       WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036451.96139                                                                                                      July 16, 2019
   Invoice# 10725033                                                                                                                  Page 17


  06/29/19    Review and respond to email from E. White re: lease payments
              Taube, Eric J.                                 CB13          0.30 hrs.                                                 $ 199.50

  06/29/19    Review and respond to email from R. Hersch re: rental payment for July
              Taube, Eric J.                                CB13             0.20 hrs.                                               $ 133.00

              Total Fees for Professional Services .... .. ..................... .. ............... ..... ..... ... ... ..        $ 35,814.50



                                                          Summary of Fees

               Timekeeper                                          Rate I Hr                   Hours                Amount

               Burke, Cleve R.                                 395.00                            7.90          $ 3,120.50
               Taube, Eric J.                                  665.00                           18.80         $ 12,502.00
               Taylor, Mark C.                                 570.00                           21.20         $ 12,084.00
               Nix, William R.                                 330.00                            3.30          $ 1,089.00
               Atkinson, Evan J                                270.00                           16.30          $ 4,401.00
               Jezisek, Ann Marie                              170.00                           15.40          $ 2,618.00

               TOTAL                                                                            82.90         $ 35,814.50


                                                           Disbursements

 05/20/19     VENDOR: Michelle Thompson INVOICE#: 010033464063 DATE:                                                                   $ 6.34
              5/28/2019 Lunch for Clients before court hearing

 05/21/19     VENDOR: digATX (Sandaflor Enterprises LLC) INVOICE#: 3430                                                            $ 2,104.65
              DATE: 5/21 /2019 Yummy Seafood's first day motions filed and mail out
              services.

 05/31/19     VENDOR: digATX (Sandaflor Enterprises LLC) INVOICE#: 3439A                                                           $ 2,459.86
              DATE: 5/31/2019 Copy and mail out services for all creditors in
              Yummy bankruptcy

 06/15/19     VENDOR: Mark C Taylor INVOICE#: 010034342427 DATE: 7/1/2019                                                           $ 105.89
              Airfare - Austin to Dallas to attend 341 meeting

 06/17/19     VENDOR: Mark C Taylor INVOICE#: 010034342427 DATE: 7/1/2019                                                           $ 100.33
              Airfare - Midland to Austin

 06/21/19     VENDOR: Mark C Taylor INVOICE#: 010034342427 DATE: 7/1/2019                                                              $ 5.00
              Parking

 06/21/19     VENDOR: Mark C Taylor INVOICE#: 010034342427 DATE: 7/1/2019                                                            $ 33.30
              Car rental

              Color Photocopies - 85 @ 0.30                                                                                          $ 25.50

              Photocopies - 5,646 @ 0.20                                                                                           $1,129.20

              Conference Call                                                                                                          $ 2.69




                                                                                                                              EXHIBIT C-1
                                                                                                                             Page 52 of 53
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 77
                                     of 138
                                       WALLER LANSDEN DORTCH & DAVIS, LLP
  Our Matter# 036451.96139                                                                                               July 16, 2019
  Invoice# 10725033                                                                                                           Page 18


             Online Researches - 6 @ 6.13                                                                                     $ 36.80

             Total Disbursements .............. ......... .......... ......... .................. .............. .         $ 6,009.56

             Total Fees and Disbursements on This Invoice                                                                 $ 41,824.06

             PLEASE REMIT TOTAL AMOUNT DUE                                                                                $ 41,824.06




                                                                                                                      EXHIBIT C-1
                                                                                                                     Page 53 of 53
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 78
                                      of 138
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                                                  /s/ Mark C. Taylor
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                                                            Attorneys for the Debtors and
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19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 108
                     WALLER LANSDENofDORTCH
                                         138     & DAVIS, LLP
                                       100 CONGRESS AVENUE, SUITE 1800
                                             AUSTIN, TEXAS 78701
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 Tajay Restaurants Inc.                                                           September 13, 2019
 17774 Preston Rd.                                                                Invoice 10732510
 Dallas, TX 75252                                                                 Page 1
                                                                                  Bill Through 08/31/19
                                                                                  Billing Atty: E. Taube




             Prior Balance Brought Forward                                          $16,184.50
             Less Payments Received                                                  $8,238.80
             Net Forward Balance                                                     $7,945.70

 Our Matter#     036718.97148

                 Bankruptcy - Chapter 11



 08/01/19      Review and respond to email from S. Roberts and R. Hersch re:
               Mastodon retention and revisions to engagement
               Taube, Eric J.                               CB 15            0.10 hrs.                $ 66.50

 08/01/19      Review email from R. Hersch to T. King re: Lojon leases and agreement
               re: rejection
               Taube, Eric J.                                 CB13             0.20 hrs.             $ 133.00

 08/01/19      Review response from R. Hersch
               Taube, Eric J.                                      CB13         0.20 hrs.            $ 133.00

 08/01/19      Review of claim filed by IRS
               Taube, Eric J.                                      CB14         0.10 hrs.             $ 66.50

 08/01/19      Review and respond to email from L. Price re: lease rejection and
               removal of property
               Taube, Eric J.                                  CB12             0.20 hrs.            $ 133.00

 08/01/19      Review revised DIP motion and order, and emails re: same
               Taylor, Mark C.                              CB12                0.30 hrs.            $ 171.00

 08/01/19      Emails with J. Stern and clients re: sales taxes
               Taylor, Mark C.                                  CB12            0.10hrs.              $ 57.00

 08/01/19      Emails with S. Roberts, and review revised engagement letter for
               Mastodon
               Taylor, Mark C.                               CB15               0.10 hrs.             $ 57.00

 08/01/19      Draft notice of rejection
               Atkinson, Evan J                                    CB13         0.30 hrs.             $ 81.00




                                                                                               EXHIBIT C-3
                                                                                               Page 5 of 34
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 109
                                      of 138
                                WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036718.97148                                                                September 13, 2019
   Invoice# 10732510                                                                                  Page2


  08/01/19    Draft motion to extend assumption/rejection deadline for nonresidential
              leases
              Atkinson, Evan J                               CB13              0.30 hrs.              $ 81.00

  08/02/19    Attend telephone conference with R. Hersch, E. White, B. Patterson re:
              status of information to Committee, lease assumption/rejection schedules
              and DIP Financing
              Taube, Eric J.                                 CB13              0.20 hrs.             $ 133.00

  08/02/19    Review emails re: 13 week cash flow
              Taube, Eric J.                                  CB12             0.10 hrs.              $ 66.50

  08/02/19    Review email re: DIP financing agreement and issues re: third party loans
              Taube, Eric J.                                CB12              0.20 hrs.              $ 133.00

  08/02/19    Review and respond to email from S. Roberts and R. Hersch re:
              Mastodon retention
              Taube, Eric J.                               CB15             0.20 hrs.                $ 133.00

  08/02/19    Emails re: Mastodon retention
              Taylor, Mark C.                                 CB15             0.10hrs.               $ 57.00

  08/02/19    Review motion to extend time to assume or reject, and emails re: same
              Taylor, Mark C.                               CB13              0.20 hrs.              $ 114.00

  08/02/19    Emails with E. Taube, M. Taylor, R. Hersch, and S. Roberts re: Mastodon
              engagement letter
              Atkinson , Evan J                              CB15             0.10 hrs.               $ 27.00

  08/02/19    Conference call with E. Taube, E. White, E. Tyler, R. Hersch, and B.
              Patterson re: status of DIP
              Atkinson, Evan J                                CB12             0.10 hrs.              $ 27.00

  08/04/19    Review and revise bills for month of July
              Taube, Eric J.                                  CB15             0.30 hrs.             $ 199.50

  08/05/19    Review of information on loans and collection of outstanding amounts
              Taube, Eric J.                                  CB12            0.20 hrs.              $ 133.00

  08/05/19    Review emails re: finalization of DIP and timing of hearing
              Taube, Eric J.                                   CB12            0.20 hrs.             $ 133.00

  08/05/19    Conference call with 0. Malish, A. Singh and Harney re: intercompany
              and shareholder receivables
              Taylor, Mark C.                                CB12             0.20 hrs.              $ 114.00

  08/05/19    Work on finalizing DIP
              Taylor, Mark C.                                 CB12             0.10hrs.               $ 57.00

  08/05/19   Work on finalizing lease rejections
             Taylor, Mark C.                                  CB13             0.10hrs.               $ 57.00

  08/05/19    Emails re: finalizing Mastodon retention
              Taylor, Mark C.                                 CB15             0.10 hrs.              $ 57.00




                                                                                                EXHIBIT C-3
                                                                                                Page 6 of 34
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 110
                                      of 138
                         WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036718.97148                                                               September 13, 2019
   Invoice# 10732510                                                                                 Page3


  08/05/19    Draft agreed order for approval of Mastodon retention
              Atkinson, Evan J                               CB15             0.30 hrs.              $ 81.00

  08/05/19    Revise DIP motion
              Atkinson, Evan J                               CB12             0.10 hrs.              $ 27.00

  08/06/19    Review email re: amounts owed by insiders, sale date and DIP
              Agreement
              Taube, Eric J.                                CB12              0.20 hrs.             $ 133.00

  08/07/19    Revise rejection notice
              Atkinson, Evan J                               CB13             0.10 hrs.              $ 27.00

  08/08/19    Review email from 8. Patterson re: 13 week cash flow information to
              Committee
              Taube, Eric J.                                CB12              0.20 hrs.             $ 133.00

  08/08/19    Review email from S. Roberts
              Taube, Eric J.                                 CB13             0.10 hrs.              $ 66.50

  08/08/19    Review email from R. Hersch
              Taube, Eric J.                                 CB13             0.10hrs.               $ 66.50

  08/08/19    Review and finalize rejection notices
              Taylor, Mark C.                                CB13             0.10 hrs.              $ 57.00

  08/08/19    Telephone conference with B. Barron re: Coffeyville store, and review
              termination notice
              Taylor, Mark C.                               CB13               0.10hrs.              $ 57.00

  08/08/19    Revise rejection notice
              Atkinson, Evan J                               CB13             0.20 hrs.              $ 54.00

  08/09/19    Numerous emails re: DIP financing motion, cash needs and hearing
              Taylor, Mark C.                               CB12            0.30 hrs.               $ 171.00

  08/09/19    Emails re: Coffeyville lease
              Taylor, Mark C.                                CB13             0.10 hrs.              $ 57.00

  08/09/19    Draft motion to expedite
              Atkinson, Evan J                               CB13             0.20 hrs.              $ 54.00

  08/09/19    Finalize DIP motion and order
              Atkinson, Evan J                               CB12             0.10 hrs.              $ 27.00

  08/11/19    Review objection filed by Committee to DIP financing
              Taube, Eric J.                                 CB12             0.10 hrs.              $ 66.50

  08/11/19    Review cash forecast and report from Harney
              Taylor, Mark C.                                CB12             0.10 hrs.              $ 57.00

  08/12/19    Telephone conference with S. Roberts and M. Taylor re: objections
              Taube, Eric J.                               CB12               0.20 hrs.             $ 133.00




                                                                                               EXHIBIT C-3
                                                                                               Page 7 of 34
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 111
                                      of 138
                                WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036718.97148                                                                  September 13, 2019
   Invoice# 10732510                                                                                    Page4


  08/12/19    Review email from S. Roberts re: Committee objection to DIP
              Taube, Eric J.                               CB12                 0.10 hrs.               $ 66.50

  08/12/19    Conference call and emails with clients and Harney
              Taylor, Mark C.                                CB12               0.20 hrs.              $ 114.00

  08/12/19    Telephone conference with Committee counsel
              Taylor, Mark C.                             CB12                  0.10 hrs.               $ 57.00

  08/12/19    Emails with court and Committee counsel re: hearings
              Taylor, Mark C.                               CB12                 0.10 hrs.              $ 57.00

 08/12/19     Revise DIP agreement
              Atkinson, Evan J                                 CB12              0.20 hrs.              $ 54.00

 08/12/19     Review leases to determine which have been rejected, are pending
              rejection, and have not been rejected
              Atkinson, Evan J                             CB13              0.10 hrs.                  $ 27.00

 08/13/19     Review email from S. Roberts re: timing of 363 sale and
              assumption/assignment of leases
              Taube, Eric J.                                 CB13                0.20 hrs.             $ 133.00

 08/13/19     Review email from E. White re: assumption/rejection
              Taube, Eric J.                                CB13                 0.10hrs.               $ 66.50

 08/13/19     Emails re: DIP motion
              Taylor, Mark C.                                  CB12              0.10 hrs.              $ 57.00

 08/13/19     Prepare for hearings
              Taylor, Mark C.                                  CB12              0.20 hrs.             $ 114.00

 08/13/19     Email to E. White, E. Tyler, E. Taube, A. Singh, 0. Misleh re: Yummy
              Holding leases to rejecUassume
              Atkinson, Evan J                                 CB 13            0.10 hrs.               $ 27.00

 08/13/19     Revise list of leases that have been rejected, are pending rejection, and
              have not been rejected
              Atkinson, Evan J                                 CB13              0.20 hrs.              $ 54.00

 08/13/19     Review invoices for monthly fee statement
              Jezisek, Ann Marie                               CB15              0.20 hrs.              $ 34.00

 08/14/19     Conference with E. White, 0. Misleh, R. Hersch, M. Taylor re: sale
              process, motion and timing
              Taube, Eric J.                                 CB13              0.20 hrs.               $ 133.00

 08/14/19     Conference with S. Roberts re: sale process, motion
              Taube, Eric J.                                CB13                 0.20 hrs.             $ 133.00

 08/14/19     Attend status conference
              Taube, Eric J.                                   CB12              0.20 hrs.             $ 133.00




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                                                                                                  Page 8 of 34
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 112
                                      of 138
                         WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036718.97148                                                                 September 13, 2019
   Invoice # 10732510                                                                                  Page 5


  08/14/19    Review of revised motion to extend assumption/rejection deadline and
              email to counsel for Committee
              Taube, Eric J.                                CB13              0.20 hrs.               $ 133.00

  08/14/19    Review email from S. Roberts re: extension
              Taube, Eric J.                                  CB13              0.10 hrs.              $ 66.50

  08/14/19    Telephone conference call re: DIP financing of sale issues
              Taylor, Mark C.                                 CB12              0.30 hrs.             $171.00

  08/14/19    Prepare for and attend status conference
              Taylor, Mark C.                                 CB12              0.30 hrs.             $171.00

  08/14/19    Revise motion to extend deadline to assume/reject unexpired leases
              Atkinson, Evan J                              CB13             0.10 hrs.                 $ 27.00

  08/14/19    Email to E. Taube and M. Taylor re: motion to extend deadline to
              assume/reject unexpired leases
              Atkinson, Evan J                               CB13              0.10 hrs.               $ 27.00

  08/14/19    Revise chart tracking which stores have been rejected or are pending
              rejection
              Atkinson, Evan J                               CB13             0.20 hrs.                $ 54.00

  08/15/19    Review email from S. Roberts re: DIP agreement
              Taube, Eric J.                               CB12                 0.10 hrs.              $ 66.50

  08/15/19    Review response from R. Hersch
              Taube, Eric J.                                  CB12              0.10 hrs.              $ 66.50

  08/15/19    Review email from E. White
              Taube, Eric J.                                  CB12              0.10 hrs.              $ 66.50

  08/15/19    Review default and termination letters received from various landlords to
              determine whether certain leases had been terminated prepetition
              Atkinson, Evan J                                CB13              0.20 hrs.              $ 54.00

  08/15/19    Research case law concerning availability of administrative expense
              claims for a property possessed by debtor postpetition but that was
              terminated prepetition
              Atkinson, Evan J                               CB 14              0.40 hrs.             $ 108.00

 08/15/19     Begin preparing monthly fee statement for July
              Jezisek, Ann Marie                             CB15               0.30 hrs.              $ 51.00

 08/15/19     Telephone conference with B. Burney re: motion to compromise claim
              Jezisek, Ann Marie                            CB14            0.10 hrs.                  $ 17.00

 08/16/19     Review Real Estate Acquisitions KJE, LLC's motion for administrative
              expense claim
              Atkinson, Evan J                             CB 14              0.10 hrs.                $ 27.00

 08/16/19     Attention to service of order granting expedited hearing on DIP motion
              and prepare certificate of service re: same
              Jezisek, Ann Marie                               CB12            0.10 hrs.               $ 17.00




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                                                                                                 Page 9 of 34
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 113
                                      of 138
                         WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036718.97148                                                                 September 13, 2019
   Invoice # 10732510                                                                                  Page 6



  08/16/19    Prepare amended master service list
              Jezisek, Ann Marie                              CB13             0.10hrs.                $17.00

  08/16/19    Review motion for administrative expense claim and calendar response
              deadline re: same
              Jezisek, Ann Marie                            CB14             0.10 hrs.                 $ 17.00

  08/19/19    Emails with R. Hersch re: store closings and rejections
              Taylor, Mark C.                                 CB13             0.10 hrs.               $ 57.00

  08/19/19    Review Real Estate Acquisitions KJE, LLC's motion for administrative
              expense claim
              Atkinson, Evan J                             CB14              0.10 hrs.                 $ 27.00

  08/20/19    Review IRS notices re: untiled tax return for 2018, untiled ESRPs for
              2016 and 2017, and fax from IRS employee S. Rodriguez re: same
              Burke, Cleve R.                                  CB 12           0.10 hrs.               $ 39.50

  08/20/19    Confer with 0. Misleh and IRS employee Hernandez re: notice of untiled
              tax return for 2018 and ESRPs due for 2016 and 2017
              Burke, Cleve R.                               CB 12           0.30 hrs.                 $118.50

 08/20/19     Confer and correspond with 0. Misleh and M. Taylor re: proposed A&W
              termination agreements
              Burke, Cleve R.                              CB13              0.10 hrs.                 $ 39.50

  08/20/19    Review email from S. Roberts re: agreements with Lojon
              Taube, Eric J.                               CB12                0.20 hrs.              $ 133.00

 08/20/19     Review email re: allocation of administrative expenses
              Taube, Eric J.                                   CB12            0.10hrs.                $ 66.50

 08/20/19     Review of comments to DIP agreement by counsel to Committee
              Taube, Eric J.                             CB12             0.20 hrs.                   $ 133.00

 08/20/19     Emails with S. Roberts re: leases
              Taylor, Mark C.                                 CB13             0.10 hrs.               $ 57.00

 08/20/19     Emails with client and professionals
              Taylor, Mark C.                                 CB12             0.10hrs.                $ 57.00

 08/20/19     Review Committee revisions to DIP financing order
              Taylor, Mark C.                               CB12               0.1 O hrs.              $ 57.00

 08/21/19     Review email re: DIP budget
              Taube, Eric J.                                  CB12             0.30 hrs.              $ 199.50

 08/21/19     Review monthly operating reports and emails re: same
              Taylor, Mark C.                               CB13               0.20 hrs.              $ 114.00

 08/21/19     Telephone conference with client and professionals re: status
              Taylor, Mark C.                               CB13               0.20 hrs.              $ 114.00




                                                                                                 EXHIBIT C-3
                                                                                                Page 10 of 34
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 114
                                      of 138
                         WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036718.97148                                                                September 13, 2019
   Invoice # 10732510                                                                                 Page 7


  08/21/19    Telephone conference and emails with S. Roberts
              Taylor, Mark C.                              CB12                0.30 hrs.             $171.00

  08/21/19    Review DIP agreement
              Taylor, Mark C.                                CB12              0.30 hrs.             $171.00

  08/21/19    Conference call with M. Taylor and members from Harney and Mastodon
              to discuss Committee's changes to DIP agreement
              Atkinson, Evan J                              CB12          0.20 hrs.                   $ 54.00

  08/21/19    Revise DIP agreement
              Atkinson, Evan J                               CB12              0.20 hrs.              $ 54.00

  08/21/19    Review edits to DIP agreement and interim DIP order proposed by S.
              Roberts
              Atkinson, Evan J                              CB12            0.10 hrs.                 $ 27.00

  08/21/19    Review letters from IRS re: forms to be completed, locate forms on IRS
              website, and calendar deadlines re: same
              Jezisek, Ann Marie                             CB 13             0.10 hrs.              $ 17.00

  08/22/19    Correspond with 0. Misleh re: fax received from IRS, forms related to
              ESRPs for 2016 and 2017, and submittal of request for business
              information for each debtor
              Burke, Cleve R.                                CB13              0.10 hrs.              $ 39.50

  08/22/19    Telephone conference and emails with S. Roberts
              Taylor, Mark C.                              CB12                0.20 hrs.             $ 114.00

  08/22/19    Review lease analysis
              Taylor, Mark C.                                CB13              0.10 hrs.              $ 57.00

  08/22/19    Emails with clients re: assignment issues
              Taylor, Mark C.                                CB13              0.10 hrs.              $ 57.00

  08/22/19    Email with M. Taylor, 0. Misleh, Harney and Mastodon re: need to reject
              more leases
              Atkinson, Evan J                              CB13             0.10 hrs.                $ 27.00

 08/23/19     Review LJS and Committee's objection to DIP financing
              Taylor, Mark C.                               CB12               0.10 hrs.              $ 57.00

 08/23/19     Emails with client and professionals
              Taylor, Mark C.                                CB12              0.10 hrs.              $ 57.00

 08/23/19     Draft motion to establish bid procedures and accompanying exhibits
              Atkinson, Evan J                               CB13            1.70 hrs.               $ 459.00

 08/23/19     Review objection to DIP motion filed by Committee
              Atkinson, Evan J                              CB12               0.10 hrs.              $ 27.00

 08/26/19     Emails with counsel for lender
              Taylor, Mark C.                                CB12              0.10hrs.               $ 57.00




                                                                                                EXHIBIT C-3
                                                                                               Page 11 of 34
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 115
                                      of 138
                                WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036718.97148                                                                 September 13, 2019
   Invoice# 10732510                                                                                   Page 8


  08/26/19    Emails re: sales procedures and assumption and assignment issues
              Taylor, Mark C.                              CB12             0.10 hrs.                  $ 57.00

  08/26/19    Emails with tax authorities re: DIP order
              Taylor, Mark C.                                CB12              0.10 hrs.               $ 57.00

  08/26/19    Draft motion to assume and assign Yummy Holdings' contracts/leases to
              Yummy Seafoods
              Atkinson, Evan J                           CB13               0.60 hrs.                 $ 162.00

  08/27/19    Review email from R. Hersch re: timeline for sale process
              Taube, Eric J.                                  CB13             0.10 hrs.               $ 66.50

  08/27/19    Review of order on approval of DIP
              Taube, Eric J.                                 CB12              0.10 hrs.               $ 66.50

  08/27/19    Review DIP agreement and order, and prepare for filing
              Taylor, Mark C.                             CB12                 0.20 hrs.              $ 114.00

  08/27/19    Prepare for and attend hearings
              Taylor, Mark C.                                CB12              0.40 hrs.              $ 228.00

  08/27/19    Confer with counsel for Committee
              Taylor, Mark C.                                CB12              0.10 hrs.               $ 57.00

  08/27/19    Emails re: stores to be assigned
              Taylor, Mark C.                                CB13              0.10 hrs.               $ 57.00

  08/27/19    Revise motion to assume and assign
              Taylor, Mark C.                                CB13              0.10hrs.                $ 57.00

  08/27/19    Revise and finalize order on DIP financing
              Taylor, Mark C.                                CB12              0.1 O hrs.              $ 57.00

 08/27/19     Revise bid procedures motion, order, and exhibits
              Atkinson, Evan J                               CB13              0.40 hrs.              $ 108.00

 08/27/19     Draft motion to expedite bid procedures motion
              Atkinson, Evan J                               CB13              0.10 hrs.               $ 27.00

 08/27/19     Draft motion to expedite motion to assume and assign Yummy Holdings'
              contracts to Tajay and Yummy Seafoods
              Atkinson, Evan J                              CB13          0.20 hrs.                    $ 54.00

 08/27/19     Confer with M. Taylor re: revisions to make to bid procedures timeline
              Atkinson, Evan J                                 C813            0.10 hrs.               $ 27.00

 08/28/19     Review email from S. Roberts re: motion to assume and assign
              Taube, Eric J.                                CB13           0.20 hrs.                  $ 133.00

 08/28/19     Review response from M. Taylor
              Taube, Eric J.                                 CB13              0.20 hrs.              $ 133.00

 08/28/19     Numerous emails re: motion to assume and assign
              Taylor, Mark C.                             CB13                 0.20 hrs.              $ 114.00



                                                                                                 EXHIBIT C-3
                                                                                                Page 12 of 34
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 116
                                      of 138
                         WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036718.97148                                                                                     September 13, 2019
   Invoice # 10732510                                                                                                      Page 9



  08/28/19    Review and finalize sale motion
              Taylor, Mark C.                                                CB12                   0.10 hrs.               $ 57.00

  08/28/19    Revise and finalize motion to assume and assign
              Taylor, Mark C.                               CB13                                    0.10 hrs.               $ 57.00

  08/28/19    Revise assumption/assignment motion/order and prepare for filing
              Atkinson, Evan J                            CB13                0.10 hrs.                                     $ 27.00

  08/28/19    Revise motions to expedite
              Atkinson, Evan J                                               CB13                   0.10 hrs.               $ 27.00

  08/28/19    Review and revise motion re: assumption and assignment of leases and
              contracts, motion for bidding procedures and motions for emergency
              hearing on same
              Jezisek, Ann Marie                             CB13            0.40 hrs.                                      $ 68.00

  08/28/19    Revise full service list and amended matrix filings
              Jezisek, Ann Marie                                CB13                                0.40 hrs.               $ 68.00

  08/28/19    Email to courtroom deputy re: motions for emergency hearing
              Jezisek, Ann Marie                            CB13                                    0.10hrs.                $ 17.00

  08/29/19    Emails with counsel for A&W
              Taylor, Mark C.                                                CB13                   0.10 hrs.               $ 57.00

  08/29/19    Emails with client and professionals
              Taylor, Mark C.                                                CB13                   0.10 hrs.               $ 57.00

  08/29/19    Review final DIP financing order and calendar relevant dates and
              deadlines re: same
              Jezisek, Ann Marie                             CB12              0.10 hrs.                                    $ 17.00

  08/29/19    Draft notice of hearing on motion to assume and assign contracts and
              motion for bidding procedures
              Jezisek, Ann Marie                             CB13             0.10 hrs.                                     $ 17.00

  08/29/19    Draft certificates of service for filings
              Jezisek, Ann Marie                                             CB13                   0.10 hrs.               $ 17.00

  08/29/19    Work on full master service list
              Jezisek, Ann Marie                                             CB13                   0.10 hrs.               $ 17.00

  08/30/19    Conference call with professionals and client re: sale and assignment
              issues
              Taylor, Mark C.                                  CB12             0.20 hrs.                                  $ 114.00

  08/30/19    Emails with S. Roberts
              Taylor, Mark C.                                                CB12                   0.10 hrs.               $ 57.00

  08/30/19    Review list of stores to reject
              Atkinson, Evan J                                               CB13                   0.10 hrs.               $ 27.00

              Total Fees for Professional Services ............................................................. .      $ 11,038.50



                                                                                                                      EXHIBIT C-3
                                                                                                                     Page 13 of 34
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 117
                                      of 138
                         WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036718.97148                                                                                        September 13, 2019
   Invoice# 10732510                                                                                                         Page 10




                                                         Summary of Fees

               Timekeeper                                         Rate I Hr                  Hours               Amount

               Burke, Cleve R.                                395.00                           0.60            $ 237.00
               Taube, Eric J.                                 665.00                           6.10          $ 4,056.50
               Taylor, Mark C.                                570.00                           7.50          $ 4,275.00
               Atkinson, Evan J                               270.00                           7.70          $ 2,079.00
               Jezisek, Ann Marie                             170.00                           2.30            $ 391.00

               TOTAL                                                                          24.20         $ 11,038.50


                                                          Disbursements

  08/12/19    VENDOR: digATX (Sandaflor Enterprises LLC} INVOICE#: 3532                                                       $ 44.31
              DATE: 8/12/2019 Copy and mailout service

  08/12/19    VENDOR: digATX (Sandaflor Enterprises LLC} INVOICE#: 3525                                                       $ 90.74
              DATE: 8/12/2019 Mailout services

  08/16/19    Air Courier Service - (std rate) - Oklahoma City, OK 08/08/19                                                   $ 20.25

  08/16/19    Air Courier Service - (std rate) - Clinton, OK 08/08/19                                                         $ 21.30

  08/16/19    Air Courier Service - (std rate)- Oklahoma City, OK 08/08/19                                                     $ 5.47

  08/22/19    VENDOR: digATX (Sandaflor Enterprises LLC} INVOICE#: 3543                                                      $ 135.73
              DATE: 8/22/2019 Copy and mailout service

  08/27/19    Air Courier Service - (std rate) - Broken Arrow, OK, 08/08/19                                                    $ 6.61

  08/28/19    VENDOR: Jack H.W. Ray INVOICE#: 010035944314 DATE: 9/3/2019                                                     $ 60.34
              U.S. Bankruptcy Court - Filing fee for motion to sell assets

              Photocopies - 32 @ 0.20                                                                                          $ 6.40

              Online Researches                                                                                                $ 1.43

              Total Disbursements .......................................................................... .               $ 392.58

              Total Fees and Disbursements on This Invoice                                                                $ 11,431.08
              Plus: Previous Balance Outstanding                                                                           $ 7,945.70

              PLEASE REMIT TOTAL AMOUNT DUE                                                                               $ 19,376.78




                                                                                                                        EXHIBIT C-3
                                                                                                                       Page 14 of 34
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 118
                     WALLER LANSDENofDORTCH
                                         138     & DAVIS, LLP
                                        100 CONGRESS AVENUE, SUITE 1800
                                              AUSTIN, TEXAS 78701
                                                 512-685-6400
                                               FEDERAL ID No. XX-XXXXXXX




  Yummy Holdings, LLC                                                              September 13, 2019
  17774 Preston Rd                                                                 Invoice 10732509
  Dallas, TX 75252                                                                 Page 1
                                                                                   Bill Through 08/31/19
                                                                                   Billing Atty: E. Taube




            Prior Balance Brought Forward                                            $47,493.17
            Less Payments Received                                                        $0.00
            Net Forward Balance                                                      $47,493.17

  Our Matter#     036717.97147

                  Bankruptcy - Chapter 11



 08/01/19       Review and respond to email from S. Roberts and R. Hersch re:
                Mastodon retention and revisions to engagement
                Taube, Eric J.                               CB15             0.10 hrs.                $ 66.50

 08/01/19       Review of claim filed by IRS
                Taube, Eric J.                                      CB14         0.10 hrs.             $ 66.50

 08/01/19       Review revised DIP motion and order, and emails re: same
                Taylor, Mark C.                              CB12                0.30 hrs.            $ 171.00

 08/01/19       Emails with J. Stern and clients re: sales taxes
                Taylor, Mark C.                                  CB12            0.10 hrs.             $ 57.00

 08/01/19       Emails with S. Roberts, and review revised engagement letter for
                Mastodon
                Taylor, Mark C.                               CB15               0.10 hrs.             $ 57.00

 08/01/19       Draft notice of rejection
                Atkinson, Evan J                                    CB13         0.30 hrs.             $ 81.00

 08/01/19       Draft motion to extend assumption/rejection deadline for nonresidential
                leases
                Atkinson, Evan J                               CB13              0.40 hrs.            $ 108.00

 08/02/19       Attend telephone conference with R. Hersch, E. White, B. Patterson re:
                status of information to Committee, lease assumption/rejection schedules
                and DIP financing
                Taube, Eric J.                                 CB13              0.20 hrs.            $ 133.00

 08/02/19       Review emails re: 13 week cash flow
                Taube, Eric J.                                      CB12         0.20 hrs.            $ 133.00




                                                                                               EXHIBIT C-3
                                                                                              Page 15 of 34
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 119
                                      of 138
                         WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036717.97147                                                                September 13, 2019
   Invoice# 10732509                                                                                  Page 2


  08/02/19    Review email re: DIP financing agreement and issues re: third party loans
              Taube, Eric J.                                CB12              0.20 hrs.              $ 133.00

  08/02/19    Emails re: Mastodon retention
              Taylor, Mark C.                                 CB15             0.10 hrs.              $ 57.00

  08/02/19    Review motion to extend time to assume or reject, and emails re: same
              Taylor, Mark C.                               CB13               0.20 hrs.             $ 114.00

  08/02/19    Emails with E. Taube, M. Taylor, R. Hersch, and S. Roberts re: Mastodon
              engagement letter
              Atkinson, Evan J                               CB15             0.10 hrs.               $ 27.00

  08/02/19    Conference call with E. Taube, E. White, E. Tyler, R. Hersch, and B.
              Patterson re: status of DIP
              Atkinson, Evan J                                CB12             0.10 hrs.              $ 27.00

  08/04/19    Review and revise bills for month of July
              Taube, Eric J.                                  CB15             0.30 hrs.             $ 199.50

  08/05/19    Review of information on loans and collection of outstanding amounts
              Taube, Eric J.                                  CB12            0.20 hrs.              $ 133.00

 08/05/19     Review emails re: finalization of DIP and timing of hearing
              Taube, Eric J.                                   CB12            0.20 hrs.             $ 133.00

 08/05/19     Conference call with 0. Malish, A. Singh and Harney re: intercompany
              and shareholder receivables
              Taylor, Mark C.                                CB12             0.20 hrs.              $ 114.00

 08/05/19     Work on finalizing DIP
              Taylor, Mark C.                                 CB12             0.10 hrs.              $ 57.00

 08/05/19     Work on finalizing lease rejections
              Taylor, Mark C.                                  CB13            0.10 hrs.              $ 57.00

 08/05/19     Emails re: finalizing Mastodon retention
              Taylor, Mark C.                                  CB15            0.10 hrs.              $ 57.00

 08/05/19     Draft agreed order for approval of Mastodon retention
              Atkinson, Evan J                               CB15              0.30 hrs.              $ 81.00

 08/05/19     Emails with M. Taylor and E. Taube re: filing DIP motion
              Atkinson, Evan J                                 CB12            0.10 hrs.              $ 27.00

 08/05/19     Revise DIP motion
              Atkinson, Evan J                                 CB12            0.10 hrs.              $ 27.00

 08/06/19     Review of emails re: amounts owed by insiders, sale date and DIP
              agreement
              Taube, Eric J.                                CB12             0.20 hrs.               $ 133.00

 08/06/19     Review email from S. Swinson re: status of leases and assumptions
              Taube, Eric J.                                 CB13            0.20 hrs.               $ 133.00




                                                                                               EXHIBIT C-3
                                                                                              Page 16 of 34
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 120
                                      of 138
                                WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036717.97147                                                                September 13, 2019
   Invoice # 10732509                                                                                 Page 3


  08/07/19    Review email from 0. Misleh re: complaints of neighbor on vacated
              property
              Taube, Eric J.                                 CB13             0.30 hrs.              $ 199.50

  08/07/19    Listen to recorded message
              Taube, Eric J.                                  CB13             0.10 hrs.              $ 66.50

  08/07/19    Email to 0. Misleh re: message
              Taube, Eric J.                                  CB13             0.20 hrs.             $ 133.00

  08/07/19    Review response from 0. Misleh
              Taube, Eric J.                                  CB13             0.10 hrs.              $ 66.50

  08/07/19    Revise rejection notice
              Atkinson, Evan J                                CB13             0.10 hrs.              $ 27.00

  08/08/19    Review email from B. Patterson re: 13 week cash flow information to
              Committee
              Taube, Eric J.                                CB12              0.20 hrs.              $ 133.00

  08/08/19    Review email from S. Roberts
              Taube, Eric J .                                 CB13             0.10 hrs.              $ 66.50

  08/08/19    Review email from R. Hersch
              Taube, Eric J.                                  CB13             0.10 hrs.              $ 66.50

  08/08/19    Review and finalize rejection notices
              Taylor, Mark C.                                 CB13             0.10 hrs.              $ 57.00

  08/08/19    Telephone conference with B. Barron re: Coffeyville store, and review
              termination notice
              Taylor, Mark C.                               CB13               0.10 hrs.              $ 57.00

 08/08/19     Revise rejection notice
              Atkinson, Evan J                                CB13             0.10 hrs.              $ 27.00

 08/09/19     Emails re: Coffeyville lease
              Taylor, Mark C.                                 CB13             0.10 hrs.              $ 57.00

 08/09/19     Numerous emails re: DIP financing motion, cash needs and hearing
              Taylor, Mark C.                               CB12            0.30 hrs.                $ 171.00

 08/09/19     Draft motion to expedite
              Atkinson, Evan J                                CB13             0.20 hrs.              $ 54.00

 08/09/19     Contact court re: availability to set expedited motion
              Atkinson, Evan J                                  CB13           0.10 hrs.              $ 27.00

 08/11/19     Review objection filed by Committee to DIP financing
              Taube, Eric J.                                 CB12              0.10 hrs.              $ 66.50

 08/11/19     Review cash forecast and report from Harney
              Taylor, Mark C.                                 CB12             0.10 hrs.              $ 57.00




                                                                                                EXHIBIT C-3
                                                                                               Page 17 of 34
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 121
                                      of 138
                         WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036717.9714 7                                                                 September 13, 2019
   Invoice # 10732509                                                                                   Page4


  08/12/19    Review email from S. Roberts re: Committee objection to DIP
              Taube, Eric J.                               CB12                 0.10 hrs.               $ 66.50

  08/12/19    Telephone conference with S. Roberts and M. Taylor re: objections
              Taube, Eric J.                               CB12               0.20 hrs.                $ 133.00

  08/12/19    Emails with court and Committee counsel re: hearings
              Taylor, Mark C.                               CB12                 0.10hrs.               $ 57.00

  08/12/19    Conference call and emails with clients and Harney
              Taylor, Mark C.                                CB12                0.20 hrs.             $ 114.00

  08/12/19    Telephone conference with Committee counsel
              Taylor, Mark C.                             CB12                   0.10hrs.               $ 57.00

  08/12/19    Revise DIP agreement
              Atkinson, Evan J                                 CB12              0.20 hrs.              $ 54.00

  08/12/19    Review leases to determine which have been rejected, are pending
              rejection, and have not been rejected
              Atkinson, Evan J                             CB13             0.10 hrs.                   $ 27.00

  08/12/19    Review Committee's objection to DIP motion
              Atkinson, Evan J                                 CB12              0.10 hrs.              $ 27.00

  08/12/19    Draft agreed judgment
              Nix, William R.                                  CB14              1.50 hrs.             $ 495.00

  08/13/19    Review email from S. Roberts re: timing of 363 sale and
              assumption/assignment of leases
              Taube, Eric J.                                 CB13                0.20 hrs.             $ 133.00

  08/13/19    Review email from E. White re: assumption/rejection
              Taube, Eric J.                                CB13                 0.10 hrs.              $ 66.50

  08/13/19    Emails re: DIP motion
              Taylor, Mark C.                                  CB12              0.10 hrs.              $ 57.00

  08/13/19    Prepare for hearings
              Taylor, Mark C.                                  CB12              0.20 hrs.             $ 114.00

  08/13/19    Revise list of leases that have been rejected, are pending rejection, and
              have not been rejected
              Atkinson, Evan J                                 CB13              0.20 hrs.              $ 54.00

  08/13/19    Review invoices for monthly fee statement
              Jezisek, Ann Marie                               CB15              0.20 hrs.              $ 34.00

  08/14/19    Review revised motion to extend assumption/rejection deadline and email
              to counsel for Committee re: extension
              Taube, Eric J .                               C813             0.10 hrs.                  $ 66.50

  08/14/19    Conference with S. Roberts re: extension
              Taube, Eric J .                                  CB13              0.10 hrs.              $ 66.50




                                                                                                  EXHIBIT C-3
                                                                                                 Page 18 of 34
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 122
                                      of 138
                         WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036717.97147                                                                 September 13, 2019
   Invoice # 10732509                                                                                  Page 5


  08/14/19    Conference with E. White, 0. Misleh, R. Hersch and M. Taylor re:
              assumption and assignment of 2 leases, case conversion and
              administrative expenses
              Taube, Eric J.                                CB13               0.30 hrs.              $ 199.50

  08/14/19    Conference with S. Roberts re: assumption and assignment of 2 leases,
              case conversion and administrative expenses
              Taube, Eric J.                                CB13             0.30 hrs.                $ 199.50

  08/14/19    Attend status conference
              Taube, Eric J.                                  CB12              0.20 hrs.             $ 133.00

  08/14/19    Review and respond to email re: dismissal of adversary and release of
              garnishment lien
              Taube, Eric J.                                 CB14             0.20 hrs.               $ 133.00

  08/14/19    Telephone conference call re: DIP financing of sale issues
              Taylor, Mark C.                                 CB12              0.20 hrs.             $ 114.00

 08/14/19     Prepare for and attend status conference
              Taylor, Mark C.                                 CB12              0.30 hrs.             $ 171.00

 08/14/19     Email to S. Roberts re: motion to extend deadline to assume/reject
              unexpired leases
              Atkinson, Evan J                                CB13            0.10 hrs.                $ 27.00

 08/14/19     Revise motion to extend deadline to assume/reject unexpired leases
              Atkinson, Evan J                              CB 13            0.10 hrs.                 $ 27.00

 08/14/19     Revise chart tracking which stores have been rejected or are pending
              rejection
              Atkinson, Evan J                               CB13             0.10 hrs.                $ 27.00

 08/15/19     Review default and termination letters received from various landlords to
              determine whether certain leases had been terminated prepetition
              Atkinson, Evan J                                CB13              0.20 hrs.              $ 54.00

 08/15/19     Emails with 0. Misleh, E. Tyler, and M. Taylor re: damages arising from
              terminated/rejected leases
              Atkinson, Evan J                                 CB13            0.10 hrs.               $ 27.00

 08/15/19     Research case law concerning availability of administrative expense
              claims for a property possessed by debtor postpetition but that was
              terminated prepetition
              Atkinson, Evan J                               CB14               0.40 hrs.             $ 108.00

 08/15/19     Begin preparing monthly fee statement for July
              Jezisek, Ann Marie                             CB15               0.30 hrs.              $ 51.00

 08/15/19     Revise order to expedite hearing on DIP financing motion
              Jezisek, Ann Marie                             CB12               0.10hrs.               $ 17.00

 08/16/19     Prepare amended master service list
              Jezisek, Ann Marie                              CB13              0.10 hrs.              $17.00




                                                                                                 EXHIBIT C-3
                                                                                                Page 19 of 34
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 123
                                      of 138
                         WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036717.97147                                                                September 13, 2019
   Invoice# 10732509                                                                                  Page 6


  08/19/19    Emails with R. Hersch re: store closings and rejections
              Taylor, Mark C.                                 CB13             0.10 hrs.              $ 57.00

  08/19/19    Review Real Estate Acquisitions KJE, LLC's motion for administrative
              expense claim
              Atkinson, Evan J                             CB14               0.10 hrs.               $ 27.00

  08/20/19    Review IRS notices re: untiled tax return for 2018, untiled ESRPs for
              2016 and 2017, and fax from IRS employee S. Rodriguez re: same
              Burke, Cleve R.                                  CB 12           0.10 hrs.              $ 39.50

  08/20/19    Confer with 0. Misleh and IRS employee Hernandez re: notice of untiled
              tax return for 2018 and ESRPs due for 2016 and 2017
              Burke, Cleve R.                               CB12            0.30 hrs.                $ 118.50

  08/20/19    Confer and correspond with 0. Misleh and M. Taylor re: proposed A&W
              termination agreements
              Burke, Cleve R.                              CB13              0.10 hrs.                $ 39.50

  08/20/19    Emails with S. Roberts re: leases
              Taylor, Mark C.                                 CB13             0.10 hrs.              $ 57.00

  08/20/19    Emails with client and professionals
              Taylor, Mark C.                                 CB12             0.10 hrs.              $ 57.00

  08/20/19    Review Committee revisions to DIP financing order
              Taylor, Mark C.                               CB12               0.10 hrs.              $ 57.00

  08/20/19    Emails with creditors committee counsel re: DIP financing
              Atkinson, Evan J                               CB12              0.10 hrs.              $ 27.00

  08/21/19    Review monthly operating reports and emails re: same
              Taylor, Mark C.                               CB13               0.20 hrs.             $ 114.00

 08/21/19     Telephone conference with client and professionals re: status
              Taylor, Mark C.                                CB13              0.20 hrs.             $ 114.00

 08/21/19     Review DIP agreement
              Taylor, Mark C.                                 CB12             0.30 hrs.             $ 171.00

 08/21/19     Telephone conference and emails with S. Roberts
              Taylor, Mark C.                              CB12                0.30 hrs.             $ 171.00

 08/21/19     Review edits to DIP agreement and interim DIP order proposed by S.
              Roberts
              Atkinson, Evan J                              CB12            0.10 hrs.                 $ 27.00

 08/21/19     Conference call with M. Taylor and members from Harney and Mastodon
              to discuss Committee's changes to DIP agreement
              Atkinson, Evan J                              CB12          0.20 hrs.                   $ 54.00

 08/21/19     Revise DIP agreement
              Atkinson, Evan J                                CB12             0.10hrs.               $ 27.00




                                                                                                EXHIBIT C-3
                                                                                               Page 20 of 34
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 124
                                      of 138
                         WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036717.97147                                                                September 13, 2019
   Invoice # 10732509                                                                                 Page 7


  08/21/19    Review letters from IRS re: forms to be completed, locate forms on IRS
              website, and calendar deadlines re: same
              Jezisek, Ann Marie                             CB13              0.10 hrs.              $ 17.00

  08/22/19    Correspond with 0. Misleh re: fax received from IRS, forms related to
              ESRPs for 2016 and 2017, and submittal of request for business
              information for each debtor
              Burke, Cleve R.                                CB13              0.10 hrs.              $ 39.50

  08/22/19    Telephone conference and emails with S. Roberts
              Taylor, Mark C.                              CB12                0.20 hrs.             $ 114.00

  08/22/19    Review lease analysis
              Taylor, Mark C.                                CB13              0.10 hrs.              $ 57.00

  08/22/19    Emails with clients re: assignment issues
              Taylor, Mark C.                                CB13              0.10 hrs.              $ 57.00

  08/22/19    Email with M. Taylor, 0. Misleh, Harney and Mastodon re: need to reject
              more leases
              Atkinson, Evan J                              CB13             0.10 hrs.                $ 27.00

  08/22/19    Communication with counsel for DTMJ-1 re: agreed judgment
              Nix, William R.                              CB14                0.30 hrs.              $ 99.00

  08/23/19    Review LJS and Committee's objection to DIP financing
              Taylor, Mark C.                               CB12               0.10 hrs.              $ 57.00

  08/23/19    Emails with client and professionals
              Taylor, Mark C.                                 CB12             0.10 hrs.              $ 57.00

  08/23/19    Draft motion to establish bid procedures and accompanying exhibits
              Atkinson, Evan J                               CB13            1.60 hrs.               $ 432.00

  08/23/19    Review objection to DIP motion filed by LJS
              Atkinson, Evan J                               CB12              0.10 hrs.              $ 27.00

  08/26/19    Emails with tax authorities re: DIP order
              Taylor, Mark C.                                CB12              0.10 hrs.              $ 57.00

  08/26/19    Emails with counsel for lender
              Taylor, Mark C.                                CB12              0.10 hrs.              $ 57.00

  08/26/19    Emails re: sales procedures and assumption and assignment issues
              Taylor, Mark C.                              CB12             0.10 hrs.                 $ 57.00

 08/26/19     Emails with counsel for Committee
              Taylor, Mark C.                                 CB12             0.20 hrs.             $ 114.00

 08/26/19     Draft motion to assume and assign Yummy Holdings' contracts/leases to
              Yummy Seafoods
              Atkinson, Evan J                           CB13               0.60 hrs.                $ 162.00

 08/27/19     Prepare for and attend hearings
              Taylor, Mark C.                                CB12              0.40 hrs.             $ 228.00



                                                                                                EXHIBIT C-3
                                                                                               Page 21 of 34
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 125
                                      of 138
                                WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036717.97147                                                                 September 13, 2019
   Invoice# 10732509                                                                                   Page 8



  08/27/19    Confer with counsel for Committee
              Taylor, Mark C.                                 CB12              0.10 hrs.              $ 57.00

  08/27/19    Emails re: stores to be assigned
              Taylor, Mark C.                                 CB13              0.10 hrs.              $ 57.00

  08/27/19    Revise and finalize order on DIP financing
              Taylor, Mark C.                                 CB12              0.10 hrs.              $ 57.00

  08/27/19    Revise motion to assume and assign
              Taylor, Mark C.                                 CB13              0.10 hrs.              $ 57.00

  08/27/19    Review DIP agreement and order, and prepare for filing
              Taylor, Mark C.                             CB12                  0.20 hrs.             $ 114.00

  08/27/19    Draft motion to expedite motion to assume and assign Yummy Holdings'
              contracts to Tajay and Yummy Seafoods
              Atkinson, Evan J                              CB13          0.20 hrs.                    $ 54.00

  08/27/19    Revise bid procedures motion, order, and exhibits
              Atkinson, Evan J                               CB13               0.40 hrs.             $ 108.00

  08/27/19    Draft motion to expedite bid procedures motion
              Atkinson, Evan J                               CB13               0.10 hrs.              $ 27.00

  08/27/19    Attention to finalizing and filing agreed judgment
              Nix, William R.                                  CB14             0.60 hrs.             $ 198.00

  08/28/19    Numerous emails re: motion to assume and assign
              Taylor, Mark C.                             CB13                  0.20 hrs.             $ 114.00

  08/28/19    Review and finalize sale motion
              Taylor, Mark C.                                 CB12              0.10 hrs.              $ 57.00

  08/28/19    Revise and finalize motion to assume and assign
              Taylor, Mark C.                               CB13                0.10 hrs.              $ 57.00

  08/28/19    Revise bid procedures motion/order/exhibits and prepare for filing
              Atkinson, Evan J                               CB13               0.10 hrs.              $ 27.00

  08/28/19    Review and revise motion re: assumption and assignment of leases and
              contracts, motion for bidding procedures and motions for emergency
              hearing on same
              Jezisek, Ann Marie                            CB13             0.40 hrs.                 $ 68.00

  08/28/19    Revise full service list and amended matrix filings
              Jezisek, Ann Marie                                CB13            0.40 hrs.              $ 68.00

  08/29/19    Emails with counsel for A&W
              Taylor, Mark C.                                 CB13              0.10 hrs.              $ 57.00

  08/29/19    Emails with client and professionals
              Taylor, Mark C.                                 CB13              0.10 hrs.              $ 57.00




                                                                                                 EXHIBIT C-3
                                                                                                Page 22 of 34
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 126
                                      of 138
                                      WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036717.97147                                                                                      September 13, 2019
   Invoice # 10732509                                                                                                       Page 9


  08/29/19    Emails with A. Jezisek and M. Taylor re: service requirements of bid
              procedures motion
              Atkinson, Evan J                                CB13             0.10 hrs.                                     $ 27.00

  08/29/19    Review order granting motion to extend deadline to assume or assign
              leases and calendar new deadline re: same
              Jezisek, Ann Marie                            CB13             0.10 hrs.                                       $ 17.00

  08/29/19    Work on full master service list
              Jezisek, Ann Marie                                              CB13                   0.10 hrs.               $ 17.00

  08/29/19    Draft certificates of service for filings
              Jezisek, Ann Marie                                              CB13                   0.10 hrs.               $ 17.00

  08/29/19    Draft notice of hearing on motion to assume and assign contracts and
              motion for bidding procedures
              Jezisek, Ann Marie                             CB 13            0.10 hrs.                                      $ 17.00

  08/30/19    Emails with S. Roberts
              Taylor, Mark C.                                                 CB12                   0.10 hrs.               $ 57.00

  08/30/19    Conference call with professionals and client re: sale and assignment
              issues
              Taylor, Mark C.                                  CB12            0.20 hrs.                                    $ 114.00

  08/30/19    Emails with E. Tyler, E. Taube, 0. Misleh re: drafting rejection notice
              Atkinson, Evan J                                 CB13               0.10 hrs.                                  $ 27.00

  08/30/19    Review list of stores to reject
              Atkinson, Evan J                                                CB13                   0.10 hrs.               $ 27.00

              Total Fees for Professional Services .......................................... .................. ..      $ 11,011.50



                                                       Summary of Fees

               Timekeeper                                       Rate I Hr                 Hours               Amount

               Burke, Cleve R.                               395.00                         0.60            $ 237.00
               Taube, Eric J.                                665.00                         4.90          $ 3,258.50
               Taylor, Mark C.                               570.00                         7.60          $ 4,332.00
               Nix, William R.                               330.00                         2.40            $ 792.00
               Atkinson, Evan J                              270.00                         7.60          $ 2,052.00
               Jezisek, Ann Marie                            170.00                         2.00            $ 340.00

               TOTAL                                                                       25.10        $ 11,011.50



                                                         Disbursements

  08/12/19    VENDOR: digATX (Sandaflor Enterprises LLC) INVOICE#: 3532                                                      $ 44.31
              DATE: 8/12/2019 Copy and mailout service




                                                                                                                       EXHIBIT C-3
                                                                                                                      Page 23 of 34
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 127
                                      of 138
                                      WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036717.97147                                                                                     September 13, 2019
   Invoice# 10732509                                                                                                      Page 10


  08/12/19    VENDOR: digATX (Sandaflor Enterprises LLC) INVOICE#: 3525                                                    $ 90.75
              DATE: 8/12/2019 Mailout services

  08/16/19    Air Courier Service - (std rate) - Oklahoma City, OK 08/08/19                                                $ 20.25

 08/16/19     Air Courier Service - (std rate) - Clinton, OK 08/08/19                                                      $ 21.31

  08/16/19    Air Courier Service - (std rate) - Oklahoma City, OK 08/08/19                                                 $ 5.46

 08/22/19     VENDOR: digATX (Sandaflor Enterprises LLC) INVOICE#: 3543                                                   $ 135.73
              DATE: 8/22/2019 Copy and mailout service

 08/27/19     Air Courier Service - (std rate) - Broken Arrow, OK, 08/08/19                                                 $ 6.61

  08/28/19    VENDOR: Jack H.W. Ray INVOICE#: 010035944314 DATE: 9/3/2019                                                  $ 60.33
              U.S. Bankruptcy Court - Filing fee for motion to sell assets

              Photocopies - 32 @ 0.20                                                                                       $ 6.40

              Online Researches                                                                                             $ 1.43

              Total Disbursements ...........................................................................             $ 392.58

              Total Fees and Disbursements on This Invoice                                                             $ 11,404.08
              Plus: Previous Balance Outstanding                                                                        $47,493.17

              PLEASE REMIT TOTAL AMOUNT DUE                                                                            $ 58,897.25




                                                                                                                     EXHIBIT C-3
                                                                                                                    Page 24 of 34
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 128
                                      of 138
                     WALLER LANSDEN DORTCH & DAVIS, LLP
                                        100 CONGRESS AVENUE, SUITE 1800
                                              AUSTIN, TEXAS 78701
                                                 512-685-6400
                                               FEDERAL ID No. XX-XXXXXXX




 Yummy Seafoods, LLC                                                               September 13, 2019
 Omar Misleh                                                                       Invoice 10732508
 Via Email:                                                                        Page 1
 om@am pexbrands. com                                                              Bill Through 08/31/19
                                                                                   Billing Atty: E. Taube




            Prior Balance Brought Forward                                            $16,346.50
            Less Payments Received                                                    $7,634.80
            Net Forward Balance                                                       $8,711.70

  Our Matter#     036451.96139

                  Bankruptcy - Chapter 11



 08/01/19       Review and respond to email from S. Roberts and R. Hersch re:
                Mastodon retention and revisions to engagement
                Taube, Eric J.                               CB15             0.10hrs.                 $ 66.50

 08/01/19       Review of claim filed by IRS
                Taube, Eric J.                                      CB14         0.10 hrs.             $ 66.50

 08/01/19       Review revised DIP motion and order, and emails re: same
                Taylor, Mark C.                              CB12                0.30 hrs.            $ 171.00

 08/01/19       Emails with J. Stern and clients re: sales taxes
                Taylor, Mark C.                                  CB12            0.10 hrs.             $ 57.00

 08/01/19       Emails with S. Roberts, and review revised engagement letter for
                Mastodon
                Taylor, Mark C.                               CB15               0.10 hrs.             $ 57.00

 08/01/19       Draft notice of rejection
                Atkinson, Evan J                                    CB13         0.30 hrs.             $ 81.00

 08/01/19       Draft motion to extend assumption/rejection deadline for nonresidential
                leases
                Atkinson, Evan J                               CB13              0.30 hrs.             $ 81.00

 08/02/19       Attend telephone conference with R. Hersch, E. White, B. Patterson re:
                status of information to Committee, lease assumption/rejection schedules
                and DIP financing
                Taube, Eric J.                                 CB13              0.20 hrs.            $ 133.00




                                                                                               EXHIBIT C-3
                                                                                              Page 25 of 34
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 129
                                      of 138
                               WALLER LANSDEN DORTCH & DAVIS, LLP
  Our Matter# 036451.96139                                                                September 13, 2019
  Invoice# 10732508                                                                                  Page2


 08/02/19    Review emails re: 13 week cash flow
             Taube, Eric J.                                  CB12             0.10 hrs.              $ 66.50

 08/02/19    Review email re: DIP financing agreement and issues re: third party loans
             Taube, Eric J.                                CB12              0.20 hrs.              $ 133.00

 08/02/19    Emails re: Mastodon retention
             Taylor, Mark C.                                 CB15             0.10 hrs.              $ 57.00

 08/02/19    Review motion to extend time to assume or reject, and emails re: same
             Taylor, Mark C.                               CB13               0.20 hrs.             $ 114.00

 08/02/19    Conference call with E. Taube, E. White, E. Tyler, R. Hersch, and B.
             Patterson re: status of DIP
             Atkinson, Evan J                                CB 12            0.10 hrs.              $ 27.00

 08/02/19    Emails with E. Taube, M. Taylor, R. Hersch, and S. Roberts re: Mastodon
             engagement letter
             Atkinson, Evan J                               CB 15            0.10 hrs.               $ 27.00

 08/04/19    Review and revise bills for month of July
             Taube, Eric J.                                  CB15             0.30 hrs.             $ 199.50

 08/05/19    Review of information on loans and collection of outstanding amounts
             Taube, Eric J.                                  CB12            0.20 hrs.              $ 133.00

 08/05/19    Review emails re: finalization of DIP and timing of hearing
             Taube, Eric J.                                   CB12            0.20 hrs.             $ 133.00

 08/05/19    Conference call with 0. Malish, A. Singh and Harney re: intercompany
             and shareholder receivables
             Taylor, Mark C.                                CB12             0.20 hrs.              $ 114.00

 08/05/19    Work on finalizing DIP
             Taylor, Mark C.                                 CB12             0.10 hrs.              $ 57.00

 08/05/19    Work on finalizing lease rejections
             Taylor, Mark C.                                 CB13             0.10 hrs.              $ 57.00

 08/05/19    Emails re: finalizing Mastodon retention
             Taylor, Mark C.                                 CB15             0.10 hrs.              $ 57.00

 08/05/19    Draft agreed order for approval of Mastodon retention
             Atkinson, Evan J                               CB15              0.20 hrs.              $ 54.00

 08/05/19    Emails with M. Taylor and E. Taube re: filing DIP motion
             Atkinson, Evan J                                 CB12            0.10 hrs.              $ 27.00

 08/05/19    Revise DIP motion
             Atkinson, Evan J                                CB12             0.10 hrs.              $ 27.00

 08/06/19    Correspond with B. Schroeder of Commercial Funding, Inc., 0. Misleh,
             and R. Hersch re: potential postpetition financing
             Burke, Cleve R.                                  CB 12        0.10 hrs.                 $ 39.50




                                                                                              EXHIBIT C-3
                                                                                             Page 26 of 34
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 130
                                      of 138
                         WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036451.96139                                                                September 13, 2019
   Invoice # 10732508                                                                                 Page 3


  08/06/19    Review email re: amounts owed by insiders, sale date and DIP
              agreement
              Taube, Eric J.                                CB12               0.20 hrs.             $ 133.00

  08/07/19    Email to Harney and Mastodon teams re: rejection notice
              Atkinson, Evan J                              CB13               0.30 hrs.              $ 81.00

  08/08/19    Review email from B. Patterson re: 13 week cash flow information to
              Committee
              Taube, Eric J.                                CB12              0.20 hrs.              $ 133.00

  08/08/19    Review email from S. Roberts
              Taube, Eric J.                                 CB13              0.10 hrs.              $ 66.50

  08/08/19    Review email from R. Hersch
              Taube, Eric J.                                 CB13              0.10 hrs.              $ 66.50

 08/08/19     Review and finalize rejection notices
              Taylor, Mark C.                                CB13              0.10 hrs.              $ 57.00

 08/08/19     Telephone conference with B. Barron re: Coffeyville store, and review
              termination notice
              Taylor, Mark C.                               CB13               0.10 hrs.              $ 57.00

 08/08/19     Email to Harney and Mastodon teams re: rejection notice
              Atkinson, Evan J                              CB 13              0.10 hrs.              $ 27.00

 08/08/19     Revise rejection notice
              Atkinson, Evan J                                CB13             0.10 hrs.              $ 27.00

 08/09/19     Emails re: Coffeyville lease
              Taylor, Mark C.                                CB13              0.10 hrs.              $ 57.00

 08/09/19     Numerous emails re: DIP financing motion, cash needs and hearing
              Taylor, Mark C.                               CB12            0.30 hrs.                $171.00

 08/09/19     Finalize DIP motion and Order
              Atkinson, Evan J                                CB12             0.10 hrs.              $ 27.00

 08/09/19     Draft motion to expedite
              Atkinson, Evan J                                CB13             0.10hrs.               $ 27.00

 08/11/19     Review objection filed by Committee to DIP financing
              Taube, Eric J.                                 CB12              0.10 hrs.              $ 66.50

 08/11/19     Review cash forecast and report from Harney
              Taylor, Mark C.                                 CB12             0.10 hrs.              $ 57.00

 08/12/19     Telephone conference with S. Roberts and M. Taylor re: objections
              Taube, Eric J.                               CB12               0.20 hrs.              $ 133.00

 08/12/19     Review email from S. Roberts re: Committee objection to DIP
              Taube, Eric J.                               CB12                0.10 hrs.              $ 66.50




                                                                                                EXHIBIT C-3
                                                                                               Page 27 of 34
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 131
                                      of 138
                               WALLER LANSDEN DORTCH           & DAVIS,   LLP
  Our Matter# 036451.96139                                                                  September 13, 2019
  Invoice# 10732508                                                                                    Page4


 08/12/19    Emails with court and Committee counsel re: hearings
             Taylor, Mark C.                               CB12                 0.10 hrs.              $ 57.00

 08/12/19    Conference call and emails with clients and Harney
             Taylor, Mark C.                                CB12                0.20 hrs.             $ 114.00

 08/12/19    Telephone conference with Committee counsel
             Taylor, Mark C.                             CB12                   0.10 hrs.              $ 57.00

 08/12/19    Review Committee's objection to DIP motion
             Atkinson, Evan J                                 CB12              0.20 hrs.              $ 54.00

 08/12/19    Revise DIP agreement
             Atkinson, Evan J                                 CB12              0.10 hrs.              $ 27.00

 08/12/19    Review leases to determine which have been rejected, are pending
             rejection, and have not been rejected
             Atkinson, Evan J                             CB13             0.10 hrs.                   $ 27.00

 08/13/19    Review email from S. Roberts re: timing of 363 sale and
             assumption/assignment of leases
             Taube, Eric J.                                 CB13                0.20 hrs.             $ 133.00

 08/13/19    Review email from E. White re: assumption/rejection
             Taube, Eric J.                                CB13                 0.10 hrs.              $ 66.50

 08/13/19    Emails re: DIP motion
             Taylor, Mark C.                                  CB12              0.10 hrs.              $ 57.00

 08/13/19    Prepare for hearings
             Taylor, Mark C.                                  CB12              0.20 hrs.             $ 114.00

 08/13/19    Revise list of leases that have been rejected, are pending rejection, and
             have not been rejected
             Atkinson, Evan J                                 CB13              0.10 hrs.              $ 27.00

 08/13/19    Review invoices for monthly fee statement
             Jezisek, Ann Marie                               CB15              0.20 hrs.              $ 34.00

 08/14/19    Correspond with M. Taylor, E. Taube, E. Atkinson, and Oklahoma City
             landlord Economy Square, lnc.'s counsel L. Price re: rejection of lease for
             Store No. 31506
             Burke, Cleve R.                                CB 13               0.20 hrs.              $ 79.00

 08/14/19    Review of revised motion to extend assumption/rejection deadline and
             email to counsel for Committee re: extension
             Taube, EricJ.                                 CB13              0.10 hrs.                 $ 66.50

 08/14/19    Conference with S. Roberts re: extension
             Taube, Eric J.                                   CB13              0.10 hrs.              $ 66.50

 08/14/19    Conference with E. White, 0. Misleh, R. Hersch, M. Taylor re: sale
             process, motion and timing
             Taube, Eric J.                                 CB13              0.20 hrs.               $ 133.00




                                                                                                EXHIBIT C-3
                                                                                               Page 28 of 34
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 132
                                      of 138
                         WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036451.96139                                                                 September 13, 2019
   Invoice# 10732508                                                                                   Page 5


  08/14/19    Conference with S. Roberts re: sale process, motion and timing
              Taube, Eric J.                                CB13             0.20 hrs.                $ 133.00

  08/14/19    Attend status conference
              Taube, Eric J.                                  CB12              0.20 hrs.             $ 133.00

 08/14/19     Telephone conference call re: DIP financing of sale issues
              Taylor, Mark C.                                 CB12              0.20 hrs.             $ 114.00

  08/14/19    Prepare for and attend status conference
              Taylor, Mark C.                                 CB12              0.30 hrs.             $ 171.00

 08/14/19     Revise motion to extend deadline to assume/reject unexpired leases
              Atkinson, Evan J                              CB13             0.20 hrs.                 $ 54.00

  08/14/19    Revise chart tracking which stores have been rejected or are pending
              rejection
              Atkinson, Evan J                               CB13             0.20 hrs.                $ 54.00

 08/15/19     Review email from S. Roberts re: DIP agreement
              Taube, Eric J.                               CB12                 0.10 hrs.              $ 66.50

 08/15/19     Review response from R. Hersch
              Taube, Eric J.                                  CB12              0.10 hrs.              $ 66.50

 08/15/19     Review email from E. White
              Taube, Eric J.                                  CB12              0.10 hrs.              $ 66.50

 08/15/19     Review default and termination letters received from various landlords to
              determine whether certain leases had been terminated prepetition
              Atkinson, Evan J                                CB13             0.30 hrs.               $ 81.00

 08/15/19     Emails with 0. Misleh, E. Tyler, and M. Taylor re: damages arising from
              terminated/rejected leases
              Atkinson, Evan J                                 CB13            0.10 hrs.               $ 27.00

 08/15/19     Research case law concerning availability of administrative expense
              claims for a property possessed by debtor postpetition but that was
              terminated prepetition
              Atkinson, Evan J                               CB14               0.40 hrs.             $ 108.00

 08/15/19     Begin preparing monthly fee statement for July
              Jezisek, Ann Marie                             CB15               0.30 hrs.              $ 51.00

 08/15/19     Upload order to expedite hearing on DIP financing motion and email to
              courtroom deputy re: same
              Jezisek, Ann Marie                             CB12            0.10 hrs.                 $ 17.00

 08/16/19     Review Real Estate Acquisitions KJE, LLC's motion for administrative
              expense claim
              Atkinson, Evan J                             CB 14             0.1 O hrs.                $ 27.00

 08/16/19     Attention to service of order granting expedited hearing on DIP motion
              and prepare certificate of service re: same
              Jezisek, Ann Marie                               CB 12           0.10 hrs.               $ 17.00



                                                                                                EXHIBIT C-3
                                                                                               Page 29 of 34
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 133
                                      of 138
                         WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036451.96139                                                                September 13, 2019
   Invoice# 10732508                                                                                  Page 6



  08/19/19    Emails with R. Hersch re: store closings and rejections
              Taylor, Mark C.                                 CB13             0.10 hrs.              $ 57.00

  08/19/19    Review Real Estate Acquisitions KJE, LLC's motion for administrative
              expense claim
              Atkinson, Evan J                             CB14              0.10 hrs.                $ 27.00

 08/20/19     Review IRS notices re: untiled tax return for 2018, untiled ESRPs for
              2016 and 2017, and fax from IRS employee S. Rodriguez re: same
              Burke, Cleve R.                                  CB12            0.10 hrs.              $ 39.50

 08/20/19     Confer with 0. Misleh and IRS employee Hernandez re: notice of untiled
              tax return for 2018 and ESRPs due for 2016 and 2017
              Burke, Cleve R.                               CB12            0.30 hrs.                $ 118.50

  08/20/19    Confer and correspond with 0. Misleh and M. Taylor re: proposed A&W
              termination agreements
              Burke, Cleve R.                              CB13              0.10 hrs.                $ 39.50

 08/20/19     Review email from S. Roberts re: agreement with Lojon
              Taube, Eric J.                                CB12               0.20 hrs.             $ 133.00

 08/20/19     Review email re: allocation of administrative expenses
              Taube, Eric J.                                   CB12            0.10hrs.               $ 66.50

 08/20/19     Review email and budget from E. White
              Taube, Eric J.                                  CB12             0.20 hrs.             $ 133.00

 08/20/19     Emails with S. Roberts re: leases
              Taylor, Mark C.                                 CB13             0.10 hrs.              $ 57.00

 08/20/19     Emails with client and professionals
              Taylor, Mark C.                                 CB12             0.10hrs.               $ 57.00

 08/20/19     Review Committee revisions to DIP financing order
              Taylor, Mark C.                               CB12               0.10 hrs.              $ 57.00

 08/20/19     Emails with creditors committee counsel re: DIP financing
              Atkinson, Evan J                               CB12              0.10hrs.               $ 27.00

 08/21/19     Review email re: DIP budget
              Taube, Eric J.                                  CB12             0.30 hrs.             $ 199.50

 08/21/19     Review monthly operating reports and emails re: same
              Taylor, Mark C.                               CB13               0.20 hrs.             $ 114.00

 08/21/19     Telephone conference with client and professionals re: status
              Taylor, Mark C.                               CB13               0.20 hrs.             $ 114.00

 08/21/19     Review DIP agreement
              Taylor, Mark C.                                 CB12             0.30 hrs.             $171.00

 08/21/19     Telephone conference and emails with S. Roberts
              Taylor, Mark C.                              CB12                0.30 hrs.             $ 171.00



                                                                                               EXHIBIT C-3
                                                                                              Page 30 of 34
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 134
                                      of 138
                         WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036451.96139                                                                September 13, 2019
   Invoice # 10732508                                                                                 Page 7



  08/21/19    Conference call with M. Taylor and members from Harney and Mastodon
              to discuss Committee's changes to DIP agreement
              Atkinson, Evan J                              CB12          0.20 hrs.                   $ 54.00

  08/21/19    Revise DIP agreement
              Atkinson, Evan J                               CB12              0.20 hrs.              $ 54.00

  08/21/19    Review letters from IRS re: forms to be completed, locate forms on IRS
              website, and calendar deadlines re: same
              Jezisek, Ann Marie                             CB13              0.10 hrs.              $ 17.00

  08/22/19    Correspond with 0. Misleh re: fax received from IRS, forms related to
              ESRPs for 2016 and 2017, and submittal of request for business
              information for each debtor
              Burke, Cleve R.                                CB13              0.10 hrs.              $ 39.50

  08/22/19    Telephone conference and emails with S. Roberts
              Taylor, Mark C.                             CB12                 0.20 hrs.             $ 114.00

  08/22/19    Review lease analysis
              Taylor, Mark C.                                CB13              0.10 hrs.              $ 57.00

 08/22/19     Emails with clients re: assignment issues
              Taylor, Mark C.                                CB13              0.10 hrs.              $ 57.00

 08/22/19     Email with Committee counsel re: DIP agreement
              Atkinson, Evan J                            CB12                 0.10 hrs.              $ 27.00

  08/23/19    Correspond with 0. Misleh re: discussions with IRS re: ESRPs for 2016
              and 2017
              Burke, Cleve R.                                CB13            0.10 hrs.                $ 39.50

 08/23/19     Review LJS and Committee's objection to DIP financing
              Taylor, Mark C.                               CB12               0.10 hrs.              $ 57.00

 08/23/19     Emails with client and professionals
              Taylor, Mark C.                                 CB12             0.10 hrs.              $ 57.00

  08/23/19    Draft motion to establish bid procedures and accompanying exhibits
              Atkinson, Evan J                               CB13            1.70 hrs.               $ 459.00

 08/26/19     Review responses to IRS's requests for business information and
              correspond with 0. Misleh re: same
              Burke, Cleve R.                               CB 13             0.10 hrs.               $ 39.50

 08/26/19     Emails with counsel for Committee
              Taylor, Mark C.                                 CB12             0.20 hrs.             $ 114.00

 08/26/19     Emails with counsel for Committee
              Taylor, Mark C.                                 CB12             0.20 hrs.             $ 114.00

 08/26/19     Emails with tax authorities re: DIP order
              Taylor, Mark C.                                 CB12             0.10 hrs.              $ 57.00




                                                                                               EXHIBIT C-3
                                                                                              Page 31 of 34
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 135
                                      of 138
                                WALLER LANSDEN DORTCH          & DAVIS,   LLP
   Our Matter# 036451.96139                                                                 September 13, 2019
   Invoice # 10732508                                                                                  Page 8


  08/26/19    Emails with counsel for lender
              Taylor, Mark C.                                CB12               0.10 hrs.              $ 57.00

  08/26/19    Emails re: sales procedures and assumption and assignment issues
              Taylor, Mark C.                              CB12             0.10 hrs.                  $ 57.00

  08/26/19    Draft motion to assume and assign Yummy Holdings' contracts/leases to
              Yummy Seafoods
              Atkinson, Evan J                           CB13               0.60 hrs.                 $ 162.00

  08/27/19    Review email from R. Hersch re: timeline for sale process
              Taube, Eric J.                                  CB13              0.10 hrs.              $ 66.50

  08/27/19    Review of order on approval of DIP
              Taube, Eric J.                                 CB12               0.10 hrs.              $ 66.50

  08/27/19    Revise motion to assume and assign
              Taylor, Mark C.                                CB13               0.10 hrs.              $ 57.00

 08/27/19     Prepare for and attend hearings
              Taylor, Mark C.                                CB12               0.40 hrs.             $ 228.00

 08/27/19     Confer with counsel for Committee
              Taylor, Mark C.                                CB12               0.10 hrs.              $ 57.00

 08/27/19     Emails re: stores to be assigned
              Taylor, Mark C.                                CB13               0.10 hrs.              $ 57.00

 08/27/19     Revise and finalize order on DIP financing
              Taylor, Mark C.                                CB12               0.10 hrs.              $ 57.00

 08/27/19     Review DIP agreement and order, and prepare for filing
              Taylor, Mark C.                             CB12                  0.20 hrs.             $ 114.00

 08/27/19     Draft motion to expedite bid procedures motion
              Atkinson, Evan J                               CB13               0.10 hrs.              $ 27.00

 08/27/19     Draft motion to expedite motion to assume and assign Yummy Holdings'
              contracts to Tajay and Yummy Seafoods
              Atkinson, Evan J                              CB13          0.10hrs.                     $ 27.00

 08/27/19     Confer with M. Taylor re: revisions to make to bid procedures timeline
              Atkinson, Evan J                                 CB13            0.10 hrs.               $ 27.00

 08/27/19     Revise bid procedures motion, order and exhibits
              Atkinson, Evan J                               CB 13              0.40 hrs.             $ 108.00

 08/28/19     Review email from S. Roberts re: motion to assume and assign
              Taube, Eric J.                                CB13           0.20 hrs.                  $ 133.00

 08/28/19     Review response from M. Taylor
              Taube, Eric J.                                 CB13               0.20 hrs.             $ 133.00

 08/28/19     Numerous emails re: motion to assume and assign
              Taylor, Mark C.                             CB13                  0.20 hrs.             $ 114.00



                                                                                                EXHIBIT C-3
                                                                                               Page 32 of 34
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 136
                                      of 138
                         WALLER LANSDEN DORTCH & DAVIS, LLP
  Our Matter# 036451.96139                                                                                     September 13, 2019
  Invoice # 10732508                                                                                                      Page 9



 08/28/19    Review and finalize sale motion
             Taylor, Mark C.                                                CB12                   0.10 hrs.               $ 57.00

 08/28/19    Revise and finalize motion to assume and assign
             Taylor, Mark C.                               CB13                                    0.10 hrs.               $ 57.00

 08/28/19    Revise assumption/assignment motion/order and prepare for filing
             Atkinson, Evan J                            CB 13               0.10 hrs.                                     $ 27.00

 08/28/19    Revise bid procedures motion/order/exhibits and prepare for filing
             Atkinson, Evan J                               CB13               0.10 hrs.                                   $ 27.00

 08/28/19    Review and revise motion re: assumption and assignment of leases and
             contracts, motion for bidding procedures and motions for emergency
             hearing on same
             Jezisek, Ann Marie                            CB13             0.40 hrs.                                      $ 68.00

 08/28/19    Revise full service list and amended matrix filings
             Jezisek, Ann Marie                                CB13                                0.40 hrs.               $ 68.00

 08/29/19    Emails with counsel for A&W
             Taylor, Mark C.                                                CB13                   0.10 hrs.               $ 57.00

 08/29/19    Emails with client and professionals
             Taylor, Mark C.                                                CB13                   0.10 hrs.               $ 57.00

 08/29/19    Emails with A. Jezisek and M. Taylor re: service requirements of bid
             procedures motion
             Atkinson, Evan J                                CB13             0.10 hrs.                                    $ 27.00

 08/29/19    Work on full master service list
             Jezisek, Ann Marie                                             CB13                   0.10 hrs.               $ 17.00

 08/29/19    Draft notice of hearing on motion to assume and assign contracts and
             motion for bidding procedures
             Jezisek, Ann Marie                             CB 13            0.10 hrs.                                     $ 17.00

 08/29/19    Draft certificates of service for filings
             Jezisek, Ann Marie                                             CB13                   0.10 hrs.               $ 17.00

 08/30/19    Conference call with professionals and client re: sale and assignment
             issues
             Taylor, Mark C.                                  CB12             0.20 hrs.                                  $ 114.00

 08/30/19    Emails with S. Roberts
             Taylor, Mark C.                                                CB12                   0.10 hrs.               $ 57.00

 08/30/19    Emails with E. Tyler, E. Taube, 0. Misleh re: drafting rejection notice
             Atkinson, Evan J                                 CB13               0.10 hrs.                                 $ 27.00

             Total Fees for Professional Services ............................................................. .      $ 10,767.50




                                                                                                                     EXHIBIT C-3
                                                                                                                    Page 33 of 34
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 137
                                      of 138
                                      WALLER LANSDEN DORTCH & DAVIS, LLP
   Our Matter# 036451.96139                                                                                        September 13, 2019
   Invoice # 10732508                                                                                                        Page 10


                                                        Summary of Fees

               Timekeeper                                         Rate I Hr                  Hours               Amount

               Burke, Cleve R.                                395.00                           1.10            $ 434.50
               Taube, Eric J.                                 665.00                           5.20          $ 3,458.00
               Taylor, Mark C.                                570.00                           7.80          $ 4,446.00
               Atkinson, Evan J                               270.00                           7.80          $ 2,106.00
               Jezisek, Ann Marie                             170.00                           1.90            $ 323.00

               TOTAL                                                                          23.80         $ 10,767.50


                                                          Disbursements

  08/12/19    VENDOR: digATX (Sandaflor Enterprises LLC) INVOICE#: 3525                                                       $ 90.75
              DATE: 8/12/2019 Mailout services

  08/12/19    VENDOR: digATX (Sandaflor Enterprises LLC) INVOICE#: 3532                                                       $ 44.31
              DATE: 8/12/2019 Copy and mailout service

  08/16/19    Air Courier Service - (std rate) - Clinton, OK 08/08/19                                                         $ 21.31

  08/16/19    Air Courier Service - (std rate) - Oklahoma City, OK 08/08/19                                                   $ 20.25

  08/16/19    Air Courier Service - (std rate) - Oklahoma City, OK 08/08/19                                                    $ 5.47

  08/22/19    VENDOR: digATX (Sandaflor Enterprises LLC) INVOICE#: 3543                                                      $ 135.73
              DATE: 8/22/2019 Copy and mailout service

  08/27/19    Air Courier Service - (std rate) - Broken Arrow, OK, 08/08/19                                                    $ 6.61

  08/28/19    VENDOR: Jack H.W. Ray INVOICE#: 010035944314 DATE: 9/3/2019                                                     $ 60.33
              U.S. Bankruptcy Court - Filing fee for motion to sell assets

              Photocopies - 32 @ 0.20                                                                                          $ 6.40

              Online Researches                                                                                                $ 1.43

              Total Disbursements .......................................................................... .               $ 392.59

              Total Fees and Disbursements on This Invoice                                                                $ 11, 160.09
              Plus: Previous Balance Outstanding                                                                           $ 8,711.70

              PLEASE REMIT TOTAL AMOUNT DUE                                                                               $19,871.79




                                                                                                                        EXHIBIT C-3
                                                                                                                       Page 34 of 34
19-70067-tmd Doc#237 Filed 10/15/19 Entered 10/15/19 16:01:19 Main Document Pg 138
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                                                                       Page 1 of 1
